       USCA11 Case: 24-13671                   Document: 10   Date Filed: 11/29/2024    Page: 1 of 178


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                >   ' ^            v ■*<   ?

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                          >« rVfjM<®r
                                               ED STATES COURT OF APPEALS
           *

                             FOR THE ELEVENTH CIRCUIT


      MACK WELLS and MAURICE SYMONETTE                                        4# ...P

      PLAINTIFF                                                      CASE# 24-13671 ~C>
                                                                  %r-
*
    • V.
      U.S. BANK NA. JOSE E. MARTINEZ, DISTRICT

      JU^E OF THE UNITED STATES DISTRICT COURT
      FO^THE SOUTHERN DISTRICT OF FLORIDA,
           »*
      EDWARDO SANCHEZ
                             . i
      DEFENDANTS                                                    f




                                               NOTICE OF APPEAL

      We got this out in 30 days, but the Judge wouldn't
*
      respond. And we sent it Informa Pauperis and the
      JiKlge would not accept it. We don't have the money
      because they're trying to make us run out of money
           .i
      b\Snot allowing us to file in forma Pauperus.
      Also the Judge has a Conflict of Interest with 11.S.
      Bank in the amount of $250,000.00. I'm filing this
      Notice of appeal against the Judges Order
*

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                 ■X
                USCA11 Case: 24-13671       Document: 10       Date Filed: 11/29/2024   Page: 2 of 178
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          Dismissing Plaintiffs complaint with Prejudice in
          violation of FI. Stat. 78. Federal Rule 12 (a)(1)(A) and
        » Rule 1002 and 1001. See order exh. A.

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    *

                                      CERTIFICATE OF SERVICE
                I I^EREBY CERTIFY that a true an correct copy of the
                forgoing has been furnished by U.S. Mail to
                                 .. i
                                                                      ►




                                                           Mack Wells
        %
        »
                                                     15020 S. River Dr.
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    %
                                                     Miami FI. 33167
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                 ♦4
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                                  «
                                                     Maurice Symonette                      m

                                                     15020 S. River Dr.
                                                      Miami FI. 33167
        *                                                                                                /

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                                                              11/29/2024    Page:Page
                                                                                  3 of 1178
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                                                                                      Exln- A
*
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
          %
                                     MIAMI DIVISION

         t&ACK WELLS and
         MAURICE SYMONETTE,

                Plaintiff,   - i




         v.                                         Case No.: l:24-cv-23015-SC

         U.S. BANK N.A. ETAL.,

                      Defendants.
    i
                                        OPINION AND ORDER

                Before the Court are two Motions to Dismiss. One is filed by Judges

         Spencer Eig and Vivianne Eel Rio (“State Defendants”). (Doc. 4).       A second is

         filed by Judges Jose E. Martinez and Eduardo Sanchez as well as Mary Ann
          -.1
         C.*sale, and AUSA Jonathan Bailyn (“Federal Defendants”).                (Doc. 7).
                             '*                                                   #
         Defendant U.S. Bank, N.A. (Doc. 10) and Defendant Juan Fernandez .Barquin

         (Doc. 19) join both Motions. Plaintiffs, proceeding pro se, have failed to respond

         to either Motion timely.

    \           Plaintiffs’ Complaint consists of mostly jumbled ramblings, so it is hard

         to pinpoint exactly what they are alleging occurred. But from what the Court
*
         can gather, this action is just another in a string of frivolous cases brought by
                                    *
         Pontiffs. In short, Plaintiffs wish to void a foreclosure sale of real property

         tft'at took place almost a year ago. Plaintiffs first tried and failed at the state

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     USCA11   Case: 24-13671
         l:24-cv-23015-SC     Document:
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                                               on FLSD   11/29/2024    Page:Page
                                                                10/04/2024   4 of 2178
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     court to accomplish 4his goal. When that failed, they concocted a narrative
                                                                                         •v

     about how the state court judiciary and various other parties are in the pockets

     of U.S Bank, and that all those involved conspired to take Plaintiffs’ property.

     Given this purported conspiracy, Plaintiffs brought an action in federal court

     against U.S. Bank and its “co-conspirators” in another attempt to void the

     foreclosure. See Wells etal. v. U.S. Bank, N.A. etal., l:23-cv-22640-JEM. They

     have been unsuccessful to date.1 However, Plaintiffs are not ones to give up.
     I^their view, the adverse rulings by U.S. District Judge Jose Martinez and
      ¥
     ui>. Magistrate Judge Eduardo Sanchez meant only one thing: these judges
       ■f


     muse also be part of the conspiracy. So they now bring this case2 s<*eking to

     void the foreclosure alleging fraud and conspiracy involving, among others,

     U.S. Bank, two federal judges, two state judges, a court reporter, the Miami-

     Dade County Clerk of Court, and an Assistant United States Attorney.

            This is not a unique case for Plaintiffs. To the contrary, they are serial

     filers of frivolous lawsuits, and their modus operandi appears to be actions

     seeking to either preventer reverse a foreclosure. See Symonette et al. v. Auora
      %
      ¥
     1 'J^his case is still open, but it is stayed. Before the stay, the court denied Plaintiffs’
     Emergency Motion to Void Foreclosure Sale in Violation for Sanctions Against U.S. Bank for
     Violating Federal Stay and Willful Contempt in Violation of 28 U.S. Code SS 1446(d) and to
     Void Sale Because of Forgery and Fraud, Emergency Motion for to Void Sale for Violation of
     Notice of Removal Stay Using Forgery and Fraud, and Emergency Motion for to Void Sale for
     Violation of Notice of Removal Stay Using Forgery and Fraud. See Wells et al. v. U.S. Bank,
     N.A. et al., l:23-cv-22640-JEM, Docs. 55, 63.

     2 Plaintiffs originally filed in state court, but the Federal Defendants removed it here under
     28 U.S.C. §§ 1442(a)(1) and (3).

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        Case      Case: 24-13671Document
             l:24-cv-23015-SC      Document: 10 Date
                                         26 Entered     Filed:Docket
                                                    on FLSD   11/29/2024    Page:Page
                                                                     10/04/2024   5 of 3178
                                                                                         of 8




         Loan Services, LLC, l:12-cv-21980-MGC, Doc. 39 (S.D. Fla. Aug. 1, 2012)

    r    (dismissing case involving foreclosure proceeding for repeated failure to comply

         with court orders); Symonette et al. v. Boss Grp. Ministries, l:13-cv-23017-UU,

         E|jc. 4 (S.D. Fla. Aug. 26, 2013) (dismissing plaintiffs’ shotgun pleading that
          4
         “sterns to entail the same transaction (foreclosure) at issue in an earlier-filed
           ‘4
           *
         suit dismissed by this Court”); Wells et al. v. Am. Horn Mortg. Services, Inc. et
                                                              .                      •
         al. l:13-cv-23240-WJZ (S.D. Fla. Nov. 20, 2013) (recommending dismissal of

         plaintiffs’ attempt to prevent foreclosure of property on Younger abstention

         grounds); Symonette et al. v. JP Morgan Chase Bank, 0:13-cv-61554-JIC, Doc.
s
         47 (S.D. Fla. Jan. 15, 2014) (dismissing case involving “a lengthy and oft-

    *    delayed foreclosure proceeding” on shotgun pleading grounds); Symonette et al.

         v. JP Morgan Chase Banji, 0:13-cv-60834-RNS, Docs. 5, 8 (S.D. Fla. February

         2^| 2014) (dismissing complaint seeking to halt an ongoing foreclosure process
          4
         injjstate court under the Younger abstention and Rooker-Feldman doctrines);

         Symonette et al. v. Aurora Loan Services, LLC, l:13-cv-24142-PCH,^Doc. 25

         (S.D. Fla. July 1, 2014) (dismissing case seeking to attack foreclosure judgment

         and observing “Plaintiffs’ history of abusive litigation tactics” and “apparent

         lack of validity to any of Plaintiffs’ claims”); Symonette et al. v. Littlejohn, 1:13-
I
         cv-23220-MGC, Doc. 22 (S.D. Fla. Sept. 30, 2014) (dismissing claims “related

9        to a state court foreclosure judgment” under the Rooker-Feldman doctrine);

         Symonette et al. v. Indy Mac Bank et al., l:18-cv-23615-CMA, Doc. 9 (S.D. Fla.


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                                                on FLSD   11/29/2024    Page:Page
                                                                 10/04/2024   6 of 4178
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     ^^)t. 28, 2018) (dismissing “quintessential shotgun pleading” that was “replete

      •i
     w’Jfh conclusory and vague facts” and “a rambling incoherent grouping of
                                *
     claims against a state court judge, state court clerk of court, and several banks

     and financial institutions, regarding the foreclosure of Plaintiffs’ property”);

     Wells et al. v. U.S. Bank, N.A. et al., l:23-cv-22640-JEM, Docs. 55, 63 (S.D. Fla.

%    July 2, 2024) (rejecting plaintiffs’ attempts to void the foreclosure sale); Wells

     et al. v. U.S. Bank, N.A., l:24-cv-22532-RAR, Doc. 6 (S.D. Fla. July 8, 2024)

     (dismissing complaint that alleges conspiracy involving the Governor and the

     Miami-Dade County Clerk of Court on shotgun pleading grounds and lack of

     jurisdiction).3 Given Plaintiffs’ extensive litigation history, one would expect
      *•4I
     tb*ey are now well-versed in the pleading standards. Not so.
                            ■   *                                                       #



             Although the Motions to Dismiss raise multiple bases for dismissal, the

     Court focuses on one: shotgun pleading. Together, Rules 8 and 10 lay out the

     minimum pleading requirements. A complaint must have “a short and plain

i    statement of the claim showing that the pleader is entitled to relief.” Fed. R.

     Civ. P. 8(a)(2). And each “party must state its claims or defenses in numbered

     paragraphs, each limited as far as practicable to a single set of circumstances.”
                                    *
     Fed. R. Civ. P. 10(b). Violations of these rules sometimes create confusing

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     3 To state the obvious, this list does not delve into the various state-court cases*Plaintiffs
     have filed over the years.


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                                                    on FLSD   11/29/2024    Page:Page
                                                                     10/04/2024   7 of 5178
                                                                                         of 8
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          complaints, known as “shotgun pleadings.”             Weiland v. Palm Beach Cnty.

          Sheriffs Office, 792 F.3d 1313, 1322-23 (11th Cir. 2015).

                       The Eleventh Circuit has identified four categories of shotgun pleadings:

          (1) a complaint “containing multiple counts where each count adopts the
     9
%
          allegations of all preceding counts”; (2) a complaint that is “replete with
                                          9

          c^nclusory, vague, and immaterial facts not obviously connected to any

          particular cause of action”; (3) a complaint that does not separate each cause
           -.1
          olfaction or claim for relief into a different count; and (4) a pleading which
               ,   -                 ''       .                  ..                    •
          asserts “multiple claims against multiple defendants without specifying which

          of the defendants are responsible for which acts or omissions, or which of the

          defendants the claim is brought against.” Id. at 1321-23. Ultimately, the

          common theme of all shotgun pleadings is that “they fail in one degree or

          another, and in one way or another, to give the defendants adequate notice of
     9
*
          the claims against them and the grounds upon which each claim rests.” Id. at
                                          9


          1^3. Such is the case here.

            .          The Complaint is made up of incoherent, ambiguous, and unorganized

          ramblings about how various state and federal officials are being paid off by            .
                                     *                           *          ......     •
          U.S. Bank (and several other banks that are not party to the case) simply to

          deprive Plaintiffs of their property. At other points, Plaintiffs go on unhinged

          tangents about unrelated matters, such as that Plaintiff Symonette is a prince

          because his grandfather was the first Black Prime Minister of the Bahamas;

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                                                    on FLSD    11/29/2024    Page:
                                                                     10/04/2024    8 of6178
                                                                                 Page    of 8
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    9    that they have conducted fundraisers for Republican politicians on their four-

         story, eighty-foot yacht; »that some Defendants are plotting to kill them; and
         t^kt Wachovia Bank
                                    is a “slave master of black people.” (Doc. 1-3 at 30, 31, 33,
          ¥
         3*4-   The Complaint is not broken into separate paragraphs and largely
           *
         consists of run-on sentences. And while there are buzzwords throughout, such

         as “conspiracy” and “fraud,” there is no actual cause of action or claim asserted

         against any Defendant. Put simply, there is no way that the Defendants could

         be expected to formulate a response to such mumbo jumbo. See Beckwith u.

         BellSouth Telecommunications Inc., 146 F. App’x 368, 371 (11th Cir. 2005)

         (“The failure to identify claims with sufficient clarity to enable the defendant

         to frame a responsive pldhding constitutes a ‘shotgun pleading.”’).

                No doubt Plaintiffs’ Complaint is a shotgun pleading. But the question
          *
         relnains whether the Court should grant them leave to amend. On the one

         hand, courts hold the pleadings of pro se litigants, like Plaintiffs, *o a less

         stringent standard than pleadings drafted by attorneys.               Tannenbaum v.

         United States, 148 F.3d 1262,1263 (11th Cir. 1998). And courts normally grant

%        leave to amend when there is a chance the pro se litigant can allege a plausible

         claim for relief. See Bell v. Fla. Highway Patrol, 325 F. App’x 758, 760 (11th

         Cir. 2009). But this leniency has its limits. For instance, “where a litigant has

         a history of bringing vexatious, or unmeritorious litigation, a court may

         consider that history in assessing whether a claim should be dismissed and
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                                                       on FLSD   11/29/2024    Page:Page
                                                                        10/04/2024   9 of 7178
                                                                                            of 8
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              leave to amend should be granted.” Clervrain u. Lee, No. 6:21-MC-108-WWB-
                   * '                                           *                   *
              LRH, 2022 WL 2306847, at *3 (M.D. Fla. Jan. 19, 2022), report and

              recommendation adopted sub nom. 2022 WL 2306725 (Mar. 29, 2022) (citing

              Miller v. Donald, 541 F.3d 1091, 1101 (11th Cir. 2008)). Such is the case here.
     I
     *                   As discussed earlier, plaintiffs are no strangers to federal court or

<*       *    litigation. In fact, they file practically the same case repeatedly—to void a

              state foreclosure action based on fraud and conspiracy. Their cases have been
              fi^quently dismissed on shotgun pleading grounds. This one is no different.
               *
              G^en Plaintiffs’ borderline vexatious-litigation history and their recurring
                *
              inability to craft a coherent pleading, Plaintiffs’ claims are dismissed with

              prejudice.        Cf. Smith v. DeSantis, No. 4:22-CV-176-AW-MAF, 2022 WL

              2806549, at *4 (N.D. Fla. June 9, 2022), report and recommendation adopted

              as modified, 2022 WL 2803654 (July 18, 2022); Emrit v. Universal Music Grp.,
     I
              No. 8:19-CV-2562-T-33SPF, 2020 WL 4751446, at *7 (M.D. Fla. Aug. 17, 2020),
         9
*             affd, 833 F. App’x 333 (11th Cir. 2021).

                         Accordingly, it is nf)w

                         ORDERED:
               *
                *I       1.    Defendants Judge Spencer Eig and Judge Vivianne Del Rio’s

                               Motion fo Dismiss (Doc. 4) is GRANTED.                «




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             Case      Case: 24-13671Document
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                                                                          10/04/2024   10 of8178
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     *                2.   Defendants Judge Jose E. Martinez, Judge Eduardo Sanchez,

         9                 Mary Ann Casale, and AUSA Jonathan Bailyn’s Motion to Dismiss
*

                           (Doc. 7) is GRANTED.

                      3.   Plaintiffs’ Complaint is DISMISSED with prejudice.
               *
                           The Clerk is DIRECTED to deny all pending motions as moot,
                    i 4
                •f
                           terminate any deadlines, and close the case.
                                                                                       «
                      DONE and ORDERED in Miami, Florida on October 4, 2024.




     i                                                     UNITED STATES DISTRICT JUDGE
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              Copies: All Parties of Record
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            USCA11 Case: 24-13671                      Document: 10        Date Filed: 11/29/2024              Page: 11 of 178
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                                                       Motion for Permission to
        *
*
                                        Appeal In Forma Pauperis and Affidavit
                                      United States Court of Appeals for the Eleventh Circuit


              jpcWOiS
            V. .1
                                                                                       Court of Appeals No.
                                                                                       District Court No.
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                                                         NOV Z 9 ^
             l/s. Bank A                                                                                                   #
            Instructions: Complete all questions™*^                           on sign it. Do not leave any blanks: if the answer to a
            question is “0,” “none,” or “not applicable (N/A),” vmte in that response. If you need more space to answer a question or
            to explain your answer, attach a separate sheet of paper identified with your name, your case’s docket number, and the
            question number.
            Affidavit in Support of Motion
            I swear or affirm under penalty of perjury that, because of my poverty, I cannot prepay the docket fees of my appeal
            or post a bond for them. I believe I am entitled to redress. I swear or affirm under penalty of perjury under United
    i       States laws that my answers on this form are tine and correct. (28 U.S.C. § 1746; 18 U.S.C. § 1621.)

            Date:    \\/M/2Q                                        Signed:

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            1. My issues on appeal are:   _ Ct\ur flpfa (A_M.
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            USCA11 Case: 24-13671                       IDocument: 10                Date Filed: 11/29/2024            Page: 12 of 178
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            2.          both you and your spouse, estimate the average amount of money received from each of the following
                   ‘burces during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
                    qemiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
                   for taxes or otherwise.
                                                t
                                                                                               IS                             I
                 Income Source                                                   Average monthly amount            Amount expected next
                                                                                 during the past 12 months         month



                                                                                                                        m >m
                                                                                       You              Spouse          You                Spouse

                 Employment                                                      $   m m            $              $
                 Self-employment                                                 $   m              $              $                   $

    i            Income from real property
                  (such as rental income)
                                                                                 ■ UlA              $              $                   $


«
        m
                 Interests and dividends                                         $   U/A            $              $                   $



                                                                                      m
                 Gifts                                                           $                  $              $                   $
                                                        »
                 Alimony                                                         $                  $              $                   $
                 Chub support                                                    $                  $              $                   $
                  0'
                 Reiitement (such as Social Security, pensions, annuities,       $                  $              $                   $
                 instance)
                    *
                 Disability (such as Social Security, insurance payments)        $ LOO.06 $                        $_   L&0.00 $
                 Unemployment payments                                           $                  $                                  $
                 Public-assistance (such as welfare)                             $Al£ $                            %/viA $__
                 Other (specify):_________________                               $ ni&G $                          $   y^s:oo$ (
                       Total monthly income:                                     $                  $M             $

    £       3.      List your employment history for the past two years, most recent employer first. (Gross monthly pay is before
                    taxes or other deductions.)

            Employer                                   Address                               Dates of Employment         Gross Monthly
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            4.      Mst your spouse’s employment history for the past two years, most recent employer first, (Gross monthly pay is
                   'liefor^ tqxejother deductions.)
                        or^t^xe^^                          A ///l                         a //a
                    <*                                                                              M              / /

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            5.      How much cash do you and your spouse have? $.

                                                                             2


    s                                                                                                                         American LegalNet, Inc.
                                                                                                                              www.Form.sWorkFlow.com
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            USCA11 Case: 24-13671                      Document: 10          Date Filed: 11/29/2024               Page: 13 of 178


                Below, state any money you or your spouse have in bank accounts or in any other financial institution.

            Financial Institution                Type of Account                      Amount you have             Amount your
    i                                                                                                             spouse has
            [uMlS                              QieckiNG                         $_                           $
                                                                                $.                           $        /
        r
*                                                                                                            $

            If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must attach a
            statem.ent certified by the appropriate institutional officer showing all receipts, expenditures, and balances
            during the last six months in your institutional accounts. If you have multiple accounts, perhaps because you
            had^ been in multiple institutions, attach one certified statement of each account.

            6. *mst the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
                household furnishings.
                                          4
            Home (Value)                      Other Real Estate (Value)              Motor Vehicle #1 (Vahie)         f
            $-3SO,ooo.6n                                  N/h                        Make & Year:
                                                                                     Model:_____
                                                                                     Registration #:              W.
            Other Assets (Value)              Other Assets (Value)                   Motor Vehicle #2 (Value)

              4^                                          Jm.                        Make & Year       A//


f
        w           i                                                                Model:
                                                                                     Registration #:

            7. -State every person, business, or organization owing you or your spouse money, and the amount owed.
                                                   »
            Person owing you or your
            spolke money            _                         Amount owed to you                       Amount owed to your spouse
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            USCA11 Case: 24-13671                        Document: 10          Date Filed: 11/29/2024         Page: 14 of 178
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            8. State the persons who rely on you or your spouse for support.
            Name [or, if under 18, initials only] *   Relationship                                 Age

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                 «r
            9.   4Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
                  spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
                  monthly rate.            *
                                                                                  *                             #
                                                                                                You                   Your Spouse
             For home-mortgage payment (include lot rented for mobile home)                    $                     $
                            Are real-estate taxes included? □ Yes £?fNo                        $         ft          $

                            Is property insurance included? t^Yes □ No                         $         n           $

             Utilities (electricity, heating fuel, water, sewer, and telephone)                $    1                $
    l        Home maintenance (repairs and upkeep)          .L                                 $ l£AO $
        9
             Food                                                                              $ O noon $
             Clothing                                                                          $   50.00             $
             Laundry and dry-cleaning                »                                                               $
             Mtj^cal and dental expenses                                                                             $
             TjH|;sportation (not including motor vehicle payments)                            $ ^DOrjQ             $
             Rotation, entertainment, newspapers, magazines, etc.
                                                                                               $
                                                                                                        4           $
                *
             Insurance (not deducted from wages or included in mortgage payments)
                                              4
                                                                                               $         £          $
                            Homeowner’s or renter’s                                   h
                                                                                               $          QL      *$
                            Life
                            Health
                                                                                               $
                                                                                               $
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                                                                                                        z
                            Motor Vehicle                                                      $                    $
                            Other:                                                                                  $
    l        Taxes (not deducted from wages or included in
                 mortgage payments) (specify):________                                        $                     $

    9
             Installment payments                                                             $                     $
*
                           , Motor Vehicle                                                                          $
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                                   Credit card (name):                                        $         A
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                                                                                                                    $

                                   Department store (name):                                   $                     $
                 If
                                   Other:                                                     $          50         $
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            USCA11 Case: 24-13671                        Document: 10         Date Filed: 11/29/2024      Page: 15 of 178
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             Alimony, maintenance, and support paid to others                                   $    £
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                                                                                                                 * $
             Regular expenses for operation of business, profession, or farm (attach detailed   $                   $
             statement)

             Other (specify):                                                                   $                   $


    i,
                                                   Total monthly expenses                       $        $2c6       $      m
            10. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
                next 12 months?

        w        □ Yes          No         If yes, describe on an attached sheet.
«

            11." Have you spent - or will you be spending - any money for expenses or attorney fees in connection with this
                 lawsuit?              7VjA-y

                    Yes □ No               If yes, how much: $


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            12. Provide any other information that will help explain why you cannot pay the docket fees for your appeal.

               CAM Kin A ‘ fr-CGQf) Cdf? jfe&ALC^
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        9   13. State the city and state of your legal residence.
*

                Your daytime phone number: (                 1
               .Your age:            (oA                 Your years of schooling:      /a
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    Case      Case: 24-13671Document
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                                                   FLSD 11/29/2024      Page:Page
                                                          Docket 11/08/2024   16 of1178
                                                                                     of 2
      *

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          *                    UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION                          f

     MACK WELLS and
     MAURICE SYMONETTE,

              Plaintiff,
i
     v.                                        Case No.: l:24-cv-23015-SC

     U.S. BANK N.A. ETAL,

                    Defendants. *
      %

      *                                  ORDER

      \       Before the Court is Plaintiff Mack Wells’ Applications to Proceed In

     District Court Without Prepaying Fees or Costs (Docs. 28, 31), which Ae Court

     construes as a motion for leave to appeal in forma pauperis.           Wells and

     Symonette filed a pro se Notice of Appeal (Doc. 30), seeking to appeal this

     Court’s dismissal of their Complaint (Doc. 26).

              An individual seeking to appeal in forma pauperis must submit a

     statement of good faith on the issues he appeals. Fed. R. App. P. 24(a)(1)(C)

     (“The party must attach an affidavit that...states the issues that the party
      1
     intends to present on appeal.”). The statement lets the district court decide

     whether the appeal is frivolous or not taken in good faith.
                           '                                                 #,
              Wells failed to submit any such statement And even when reading his

     filings liberally, the Court identifies no good faith issues to be appealed. The



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                 l:24-cv-23015-SC      Document: 10 Date
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                                                                  Docket 11/08/2024   17 of2178
                                                                                             of 2




             Court thus finds Wells has presented no meritorious issues to raise on appeal

    s        and is not taking the appeal in good faith. Because the Court certifies the
    *
             appeal is not taken in good faith, any request to proceed in forma pauperis
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             must be sent directly to the Eleventh Circuit Court of Appeals. See Fed. R.
                                            »
                   ip. P. 24(a)(5).

                       Accordingly, it is
              ■J
               *       ORDERED:
                                                                  ..                 *
                       1.     Mack Wells’ motions for leave to appeal in forma pauperis (Doc.

                              28, 31) are DENIED.

                       2.     The Clerk is DIRECTED to send a copy of this Order tc the Clerk
    s                         for the Eleventh Circuit Court of Appeals.

    *                 DONE and ORDERED in Miami, Florida on November 8, 2024.
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             Copies: All Parties of Record
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             USCA11 Case: 24-13671             Document: 10       Date Filed: 11/29/2024    Page: 18 of 178


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                I
                . I      THE UNITED STATES COURT OF APPEALS
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                                    FOR THE ELEVENTH CIRCUIT

                      Mack Wells & Maurice Symonette,
                            Defendant/Counter-Plaintiff,               Case No.: 24-13671
                      Vs.
    S                 U.S. BANK NATIONAL ASSOCIATION,
                            Plaintiff7Counter-
                      Defendant.
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             CERTIFICATE OF GOOD FAITH CONFERENCE: CONFERRED BUT UNABLE TO RESOLVE THE ISSUES
             PRESENTED IN THE APPEAL
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                *4
             Pursuant to Local Rule 7.1 (a)(3)(A), I hereby Certify that Counsel for the Movant has conferred
             with all parties or non-parties who may be affected by the relief sought in this motiqp in a good
                                                                                                   -
             faith effort to resolve the issues but has been unable to resolve the issues.




                                                             MACK WELLS
    \>                                                     15020 S. RIVER DR.
    4                                                      MIAMI FL. 33167

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                                                   ft lAURICE SYMONETTE
                                                           15020 S. RIVER DR.
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                        USCA11 Case: 24-13671                   Document: 10           Date Filed: 11/29/2024               Page: 19 of 178


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V                                                               E UNITED STATES COURT OF APPEALS
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                                                                          FOR THE ELEVENTH CIRCUIT
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                          MACK WELLS and MAURICE                                        i
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                          SYMONETTE                                                                                                        ;                                    4


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                                                 Plaintiff,
                           v.                                             t
                                                                                                        Case No.: 24-13671
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                    ‘     U.S. BANK NA. JOSE E. MARTINEZ,
                                                                I                               *
                          DISTRICT JUDGE OF THE UNITED
                          &ATES DISTRICT COURT FOR THE

                          SpUTHERN DISTRICT OF FLORIDA,                                                                                         ;
                                                                                                            “•



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                          mWARDO SANCHEZ
                          DEFENDANTS                                              i
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                                                Defendant.                                                                                          :
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            1                                       CERTIFICATE OF INTERESTED PERSONS                                                  i


             ...
            »                        I MACK WELLS hereBy disclose the following pursuant to thi§ Court’s Order on

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                           Interested Persons:                                              ?                                                   t
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                                     1.      The name of edch person, attorney, association of persons, firm, law firm,
                                                    «                                                                                                           ■




                                i*tnership, and corporation that has or may have an interest in a party to this action or in the
                0

                                tcome of this action, including subsidiaries, conglomerates, affiliates, related to a party:
                                1                       1                                                                         M
                                     listed in Exhibit A. Members cf The Appellant’s Party are a|so listed in
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                           Exhibit A.
        ♦                                                                                                                                                               i

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                      USCA11 Case: 24-13671                        Document: 10       Date Filed: 11/29/2024       Page: 20 of 178
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                                              The Appellant is Appealing Judge Sheri Chapelle’s Order to Dismiss our Case
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                        with Prejudice, Because a wrrfof Replevin Case is not Supposed to be Dismissed because
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                        According to Stat. 78* U.S. Bank has to have prpof that they Own the Note of wjiich they
                                                                                                                       •                               *


                        have Consistently proven that they don’t have. Not to mention that the Judge Ruling on

                              is Case has Conflict of Interest with U.S. Bank in the Amount of $250,000 Exh.B
                              A


                                              Finally, how can it be ignored that. Clerk of Courts JUAN FERNANDEZ-

                        BARQUIN, Federal Judge JOSE E. MARTINEZ, and Federal j^lagjstrate

                        EDUARDO SANCHEZ all have no say in Filing Motions or Documents in this
          I                                                        -                                           .                           i

                         Case because they haye.no right to file documents period according to Florida                                                     l
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              \         Rules of Court 2.420 (6) which says “Filer” means any person who files a
                                                                       a
                         document in court record^, except, “filer” does not include the Clerk of Court or
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                         designee of the Clerk, a Judge, Magistrate, Hearing Officer, or Designee of a
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                         Jidge, Magistrate or Hearing Officer. They’re in total violation of this rule and#
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                         til his motions and any other Documents filed are Null and Void.)
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                                              2.    Check one of the following:
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                                        _ a. I certify that I am unaware of any actual or potential conflict of interest                                       i
                         involving the District Judge and Magistrate Judge assigned to this case and wifi immediately
                         notify the Court in writing upon learning of any such conflict.
              1                                                           -or-
                                         X b. I certify that I am aware of a conflict.or basis of recusal of the District
                         Judge or Magistrate Judg$ as follows: (explain) Judge Sheri Chappelle has a Conflict of
  I           9
                         Interest with U.S. Bank in the amount of $250,000 with U.S. Bank See Exh. B *
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                                                                       CERTIFICATE OF SERVICE


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                                     I HEREBY CERTIFY ihat on this 19th day of Nov. 2024, I electronically filed the
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                         fegoing with the Clerk of the Court by using the CM/ECF system, which will sehd a notice
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                         'electronic filing.
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                                                                                          MAURICE SYMONETTE a
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              9                                                                           15020 S. RIVER DR.               m

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         I                                          EXHIBIT A - INTERESTED PERSONS                                                                                                           i

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                            MACK WELLS AND MAURICE                                                            ?                                             I



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                             EXHIBIT A - APPELLEE’S                          AFFILIATED ATTORNEYS OR
                             INTERESTED PERSONS                                  OTHER PROFESSIONALS
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             a           .S. BANK N.A.
                                                                                 Eve Alexis Cann
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                                                                                 Baker Donelson
                                                                                 200 Ekst Broward Blvd.     ♦
                                                                                                                  f
                                                                                 Suite 2000
                                                                                 Fort Lauderdale, FL 33301                «
                                                                                 954-768-1612
                                                                         i
                                                                                 Email: ecann@bakerdonelson.com
                                                                                 LEAD ATTORNEY
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        i.                                                  I                  Spencer Devin Leach
                                                       fc
                                                                               Baker, Donelson, Bearman, Caldwell
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I        »                                                                     and Berkowitz, PC
                                                                             * 100 S.E. Third Avenue
                                                                                                               i
                                                                               Suite 1620
                                                  1t                           Fort Lauderdale, FL 33394
                                                                               (954) 768-1615
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                                         I                                     Email: sleach@bakerdoneIson.com
                         4                                                     LEAD ATTORNEY
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                                         .I                                      Eve Alexis Cann
                        FEDERAL JUDGE JOSE
                        E. MARTINEZ                                  i
                                                                                 (See ajbove for address)
                                                                                 ATTORNEY TO BE NOTICED *
                                                                                                                  t
                                                                                 H. Ron Davidson                          ♦



                                                                         \       United States Attorney's Office
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                                                                                 99 NE 4 Street             Sj-

                                                                                 Miami, FL 33132
        S                                                                        305-961-9405
                                                                                 Fax: 305-536-4699
        i.                                                  i                    Email: h.ron.davidson@usdoj.gov
                                              9        fc                        ATTORNEY TO BE NOTICED
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                                                  tI                             Eve Alexis Cann
                                                                                 (See above for address)
                                         «                                       ATTORNEY TO BE NOTICED
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                        Magistrate                                               H. Ron Davidson
                        DUARDO SANCHEZ                                           (See above for address)
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                                OFFICIAL COURT
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                                REPORTER MARY
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                                ANN CASALE                                               H. Ron Davidson
                                                                        i                (See above for address)
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                                     ASSISTANT UNITED
                                     [TATES ATTORNEY                                 H. Ron Davidson
                                                                                     (See above for address)
                                     □NATHAN BAILYN
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        v*
                                         s.        .I                                Eve Alexis Cann
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                                                                                     ATTORNEY TO BE NOTICED ♦
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                                JUDGE SPENCER EIG                               ‘Christopher Michael Sutter
                                                                                 Florida Office of the Attorney General
                     $                                                           110 SE 6th Street
                                                                                 10th Floor
                                                                        »        Fort Lauderdale, FL 33301
                                                        .<?        6
                                                                                 (954) 712-4600
             I           9                                                       Fax: (954) 527-3702
                                                                                 Email:
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                                                                                 christopher.sutter@myfloridalegal.com
                                                              I9                 LEAD ATTORNEY
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                                                                                      Christopher Michael Sutter
                  JUDGE VIVIANNE DEL RIO
                                                                                      Florida Office of the Attorney General
         I                                                                            110 SE 6th Street
         l.                                                                           10th Floor1
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                                                                                      Email: christopher.sutter@myfEve Alexis
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                                                                                      Cann
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                  CLERK OF COURTS COMPTROLLER                                       Isabelle Marie Carbajales
                  JUAN FERNANDEZ-BARQUIN                                            Holland and Knight LLP
         $                                                                          701 Brickell Ave
         l.                                                                         Unit 3300
»                                                         A
                                                                                    Miami, FL 33131         A

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                                                                                    Email: isabelle.carbajales@hklaw.com
                                          I                                         LEAD ATTORNEY
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                        A                                                             Jose Angel Casal
                                                                                      Holland & Knight
              >                                                                       701 Brickell Avenue
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                                                                                      Suite 3300
                                    .1                                                Miami, FL 33131
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                USCA11 Case: 24-13671      Document: 10          Date Filed: 11/29/2024       Page: 26 of 178
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                 FEDERAL JUDGE KATHLEEfa .                                                                              '

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                 FEDERAL JUDGE RODOLFO A.. RUIZ              i
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                 FEDERAL JUDGE DARRIN P.‘

                 GAYLES

     I          FEDERAL JUDGE JOHNATHAN
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                FEDERAL JUDGE SHERI POL’STLR
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                 ISABELLE MARIE CARPBAJALES
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                 JOSE ANGEL CASAL
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                 FLORIDA ATTY. GENERAL SEFJVICE                                           *
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USCA11 Case: 24-13671        Document: 10      Date Filed: 11/29/2024     Page: 27 of 178
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
MACK WELLS



Plaintiff

                                                             CASE NO: 24-CV-23015

V.


U.S. BANK, NATIONAL ASSOCIATION,
AS TRUSTEE FOR RASC
2005AAHL3,



Defendants,



            MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL VACATION OF ORDERS AND
                                 MEMORANDUM OF LAW


Pursuant to Florida Stat. 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil
Procedure Rule 60, Plaintiff MACK WELLS hereby files this Motion for Relief &
Recusal and Supporting Memorandum regarding the Oct. 4th 2024 Judge Sheri
Chappell review of the record and Final Judgement Order, ExhibitJ. based on the
following facts,     new information, just terms, judicial misconduct, fraudulent
grounds and discovered conflict of personal investment interests on Financial
Disclosures of Judges and officers of this Court (Exhibits # B) Attached- u.s. BANKSpecial
Situation Property Funds Account Page 42JFRS 2018 Tables 9-13, SEC Filings- u.s.
bank Florida   Subsidiaries, these 5     Federal judges who have the same conflicts of
Interest must Recuse themselves for the same reason that this Judge must Recuse
herself Sheri Chappell Financial Interests & Property Disclosures). Exh. Z4


Florida Rule 2. 1 60 (H) Savx A .hidop mav Vacate, his orders for Conflict of Interest. Theodore R.
Bundv V. Judoe John A. Rudd FI. Rule 2.160 (D) (1) FL Code Jud. Conduct. Canon 3F(1) A Jud&e
USCA11 Case: 24-13671             Document: 10         Date Filed: 11/29/2024         Page: 28 of 178
shall disqualify herself where impartiality miylit reasonably he questioned Rule 2.160 (7)) (l\ grounds
to disqualify is party fears Judge is Biased FI. Statue 112.312 (H) Judge can’t have a conflict of
Interest /


Judge Sheri Chappell must Recuse herself for an open obvious Conflict of Interest because She's doing business with

US Bank and helping them to make money so that She can make money by foreclosing and taking

(stealing) our property while acting as the Judge on the case on our property, not on case's Merits but

for to make her and them money Illegally. Here's proof: In her Form 6. from Tallahassee called FULL

AND PUBLIC DISCLOSURE OF FINANCIAL, form 6 for 2022 it Says on Page 4 line 4 that she got

$250,000 with Morgan Stanley, Exh. D. Which is U.S. Bancorp Exh.E and U.S. Bancorp is U.S. Bank Exh.

F Who has ruled in favor of US BANK. This is a Horrible Conflict of Interest against us and there's more. I have

found that our case was directed to other Judges in this sess Pool all with the same Conflict of interest like Judge

Valerie manno Schurr a Judge we had never met jumping into our case after Judge Zabel dismissed U.S Banks
Lawsuit against me with Prejudice because they never had or owned the Note and then one year later Judge

Valerie Manno Schurr got $995,000 from U.S. Bank according to her Form 6 Financial Disclosure Affidavit, Exh. I.

And then suddenly inserted herself into our case without ever meeting us and dismissed the case with Prejudice
like Judge Zabel did, Exh. K. So as to avoid the Law which says another Judge cannot change another Judges order

in the same Circuit Court so she made the same Order so she could change her own Order to dismiss without

Prejudice and got another $1 million dollar plus $400,000 dollar money asset from GMAC which is U.S. Bank and

then she changed her own Order to Dismissed without Prejudice Exh. N. And then received a $2.4 million money
asset from Wells Fargo/Wachovia plus a $400,000 dollar money Asset from GMAC which is U.S. Bank Exh. L. The

same Conflict of Interest that Judge Chappell has, which is why she Recused herself Exh. R, as did Vivianne Del Rio

Exh. S and they along with Judge Schlesinger violated FI. Rule 2.160 (H)-(J) and did not answer their Motion to

Recuse Exh. U, V & W within 20 days which means that our Motion to Recuse is automatically granted and all of

their Orders have been removed & reverted back the Original Judge Zabel's Order of Dismissal with Prejudice.

According to her form 6 Financial Affidavit to circumvent Judge Zabel's Dismissal with Prejudice! Exh. M. I and two

other Witnesses saw Judge Zabel sign theJ)ismissal with Prejudice Exh.X,Yand Z and the 2007rl2407rCA01Case

was dismissed Exh.Zl and Z2 in 2009 the Clerk of Courts removed theludges dismissanA/ith" Prejudice off the

Docket because the Clerk of Courts have the same $ Conflicts of Interest as Judge Valerie Manno Schurr

according to his Form 6 Full and Public Disclosure of Financial Interest he has a money Conflict of Interest with

Wells Fargo which is US Bank Exh. Z3 in the amount of $315,000 which is why the Clerk of Courts removed the

evidence off the Docket. And then these wicked Lawyers Foreclose without notice to us and we went threw a 10

year fight see the Docket for the 2010 case which had no notice no assignments, no Note and no Mortgage

Correctly to U.S. Bank from Axiom Bank see Exh. O. then Maurice Symonette did a Quite Title Suit and after 10

years Judge Valerie Manno Schurr shows up again and I showed her the Evil which she had done by taking money

($995,000) From GMAC/U.S. Bank to steal our property even though we were making the payments. This is Home
    USCA11 Case: 24-13671            Document: 10        Date Filed: 11/29/2024        Page: 29 of 178
    Title Fraud in its utmost and when she saw she was caught from her own Form 6 Affidavit and evil Judgments she

    Recused herself especially after we paid for News paper, ads and Radio TV Commercials Exh. T Telling on her and

    knowing that we have turned her over to the FBI as Sheri Chappell must do because she has the same conflict of

    Interest So she must recuse herself and vacate her Order. So Sheri Chappell you must Recuse YOUR SELF and not

    ORDER against us.




                                                    FACTS


    1. On Dec. 19, 2017, Defendant Judge Valerie Schurr issued a final Judgment order Exhibit. A against Plaintiff
   Pursuant to Florida Stat. 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
   Plaintiff MACK WELLS hereby files this Motion for Relief & Recusal and Supporting Memorandum
   regarding the Oct.. 4th. 2024 Sheri Chappell review of the record and Final Judgement Order, Exhibit.J.
   based on the following facts, new information, just terms, judicial misconduct, fraudulent grounds and
   discovered conflict of personal investment interests on Financial Disclosures of Judges and officers of this
   Court (Exhibits # B) Attached- U.S. BANK Special Situation Property Funds Account Page 42, IFRS
   2018 Tables 9-13. SEC Filings- U.S. BANK Florida Subsidiaries, Judge Alan Fine Financial Interests &
   PropertyDisclosures).


   Florida Rule 2.160 (H) Says A Judge mav Vapate his orders for Conflict of Interest Theodore. R.
   Bundv V. Judge John A. Rudd FI. Rule 2.160 (D) (1) FI. Code Jud. Conduct. Canon 3Ffl) A Judge
   shall disqualify herself whise impartiality might reasonably he questioned Rule 2.160 (D) (l) grounds
   to disqualify is party fears Judge is Biased FI. Statue 112.312 (R) Judge ran V have a conflict of
   Interest £



   Judge Sheri Chappell must Recuse herself for an open obvious Conflict of Interest

___because-she-s doing-business with^tlS^Ba'nk and helping them to make money so
   that she can make money by foreclosing and taking (stealing) our property while

   acting as the Judge on the case on our property, not on case's Merits but for to
   make his and them money Illegally. Here's proof.



                                           FACTUAL BACKGROUND
   USCA11 Case: 24-13671               Document: 10           Date Filed: 11/29/2024           Page: 30 of 178

         reasonable person would question the judge’s impartiality.
         Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160 (A) (H), Fla. Statute 112.312 (8) and Section 455(b) he shall also
         disqualify herself in the following circumstances.

   (4)   He knows that he, individually or as afiduciary, or his spouse or minor child residing in his
   household, has a financial interest in the subject matter in controversy or in a party to the
   proceeding, or any other interest that could be substantially affected by the outcome of the
   proceedings

    (d)(4) "financial interest ” means ownership of a legal or equitable interest, however small




                                           CONCLUSION

         This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
   based on new facts, related to a whistle blower’s information, willful blindness, fraud, misconduct,
   and discovered evidence unknown at the time of the original Complaint filing Plaintiff could not
   reasonably know the financial dealings with Defendants of a yet to be assigned judge before the
   original Complaint filing As previously displayed by his Dismissal Order, due to cited improper
   financial conflicts of interest, Judge Sheri Chappell was incapable of impartially and without
   animus against Pro-Se Plaintiff or to exercise unbiased judicial duties required for due process
   justice in this case.

         Judge Sheri Chappell has creditor loan history and business with Defendant U.S BANK MERS
   and JPMorgan that caused preferential Quid Pro Quo treatment by her .sua sponte review and
   Final Judgment Order. Judge Sheri Chappell has significant exposed investor financial interests in
   the subject matter in controversy and with Defendant U.S. BANK that will be substantially
   negatively affected by the outcome of that proceedings when the Plaintiff “ultimately prevails
   and promotes in paid for adds in themedia. Because people can’t win when the Judge is on the
__ side of the Banksters to steal property and money off their Prey!

       Example of Judges who already recused themselves from U.S. BANK
   HE RECUSED HERSELF BECAUSE HE HAD A MONEY CONFLICT OF INTEREST
   IN 131 FEDERAL JUDGES JUST GOT FOUND GUILTY OF CONFLICTS OF
    INTEREST GOOGLE NEW YORK TIMES ARTICLE BY ADAM LIPTAC.

 1. JUDGE DARRIN P. GAYLES Exhibit, P.
 2. THOMAS WILLIAMS Exhibit, Q.
  USCA11 Case: 24-13671 Document: 10 Date Filed: 11/29/2024                         Page: 31 of 178
3. JUDGE VALERIE MANNO SCHURR’S RECUSAL Exhibit, R


                                  REQUIRED RELIEF

       Pursuant to Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2,160 (A) (H), Fla. Statute
 112.312 (8) and Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the June.
 17. 2023 Final judgment Order TExhibitJ. based upon the stated facts, just terms, cited misconduct,
 Rule 60 grounds and newly discovered banking real estate fraud by court officers.
       Said Reopening Relief would require the vacating of his order and Recusal of Judge
 Valerie Schurr from this and any future related U.S. BANK banking real estate cases in this
 District. The Dismissal Order Relief also requires that all parties be reinstated to their prior
 positions in this action (Dismissal with Prejudice) requiring Clerk issuance of Summons upon the
 Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
 and reasons state.
USCA11 Case: 24-13671         Document: 10       Date Filed: 11/29/2024       Page: 32 of 178


         MACK WELLS
         15020 S. River Dr.
          Miami, fla. 33167

                     CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on 12th day of Feb., 2020 a true and correct copy of the
  foregoing was provided via this Court’s electronic filing system to the attorneys of record

   for amounts due arid owing on same mortgage that was dismissed with Prejudice in former

  case no: 07-12407CA01 where U.S. BANK could never produce the promissory Note though they
  were asked by the Judge several times but never did bring it forth, Exhibit. I. A judge cannot
  change another Judge's ORDER! And also on Jme, 25 2010, Judge Valerie Schurr issued a Judgment

  order acting as a quasi-defense attorney for U.S. BANK his personal investment Partner to make

  money together. Defendant MACK WELLS has now subsequently provided the United States
  Department of Justice (DOJ) on specific newly discovered whistle blower information and
  records regarding millions of dollars in exposed fraudulent foreclosure claims made by the

  Defendants U.S. BANK, Clerks and Court officers in this action. Exhibit, O. GMAC Also

  does not own


                         CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on 12th day of Feb., 2020 a true and correct copy of the
  foregoing was provided via this Court’s electronic filing system to the attorneys of record




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USCA11 Case: 24-13671         Document: 10       Date Filed: 11/29/2024       Page: 33 of 178




                                                                         *'




             MACK WELLS
            15020 S. River Dr.
            Miami, fla. 33167


                           CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on 12th day of Feb.,        2020 a true and correct
    copy of the foregoing was provided via this Court's electronic filing system to the
    attorneys of record




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USCA11 Case: 24-13671     Document: 10    Date Filed: 11/29/2024      Page: 34 of 178




                             AFFIDAVIT OF OATH




I MACK WELLS SWEAR THAT I CANNOT AFFORD TO PAY THE COURT FILING FEES TO THE
DISTRICT COURT OF THE SOUTHERN DISTRICT OF FLORIDA WHERE I AM TRYING TO FILE A
NOTICE OF APPEAL




                                                  MACK WELLS
                                                 15020 S. RIVER DR.
                                                 MIAMI FL. 33167
USCA11 Case: 24-13671     Document: 10    Date Filed: 11/29/2024   Page: 35 of 178




                                 AFFIDAVIT OF OATH




I MAURICE SYMONETTE SWEAR THAT I CANNOT AFFORD TO PAY THE COURT FILING FEES TO
THE DISTRICT COURT OF THE SOUTHERN DISTRICT OF FLORIDA WHERE I AM TRYING TO FILE A
NOTICE OF APPEAL




                                            MAURICE SYMONETTE
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    Page 4 of 6                         Chappell, Sheri P.                                                                                                                               04/13/2023



VII. INVESTMENTS and TRUSTS -- income, value, transactions (Includes those of spouse and dependent children; see Guide to Judiciary Policy, Volume

2D, Ch. 3, § 310 Reporting Thresholds for Assets; § 312 Types of Reportable Property; § 315 Interests in Property; § 320 Income; § 325 Purchases, Sales, and Exchanges; § 360 Spouses

and Dependent Children; § 365 Trusts, Estates, and Investment Funds.)

'         ;     NONE (No reportable income, assets, or transactions.)
                                 A                                                B                           c                                                    D
                        Description of Assets                                Income during            Gross value at end                          Transactions during reporting period
                       (including trust assets)                          reporting period            of reporting period
                                                                     0)               (2)              0)           (2)             0)             (2)         (3)        (4)
                     Place "(X)" after each asset                  Amount          Type (e g ,       Value         Value        Type (e g ,       Date       Value       Gain
                    exempt from prior disclosure                   Code 1          div , rent,       Code 2       Method         buy, sell,      mm/dd/yy    Code 2     Code 1
                                                                    (A-H)           orint)            (J-P)       Code 3       redemption)                    (J-P)     (A-H)
                                                                                                                  (Q-W)

    1.        Bank of America (Cash Checking) (Money                     A          Interest            K           T
              Market Savings)
    2.        Vanguard Institutional Index Fund                          A         Int./Div.            K           T


    3.        Bank of America - (IRA)(1)                                 A          Interest            K           T


    4.        Morgan Stanley Institutional Fund Growth                   A         Int./Div.           M            T
              Portfolio
    5.        Florida Prepaid College Fund                                           None               J           T


    6.        Bank of America (IRA) (2)                                  A          Interest            J           T


    7.        Cypress 401(K) Plan - Vanguard Wellington                  A         lnt./Div.            J           T
              Adm
    8.


    9.


    10.


    11.


    12.


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    14.


    15.


    16.


    17.




     1 Income Gain Codes:                A =$ 1,000 or less                     B =$1,001 - $2,500                 C =$2,501 - $5,000               D =$5,001 -$15,000               E =$15,001 -$50,000
       (See Columns B1 and D4)           F =$50,001 -$100,000                   G =$100,001 -$1,000,000            HI =$1,000,001 - $5,000,000      H2 =More than $5,000,000
     2 Value Codes                       J =$15,000 or less                     K =$15,001 - $50,000               L =$50,001 -$100,000             M =$100,001 -$250,000
       (See Columns Cl and D3)           N =$250,001 - $500,000                 O =$500,001 -$1,000,000            PI =$1,000,001 - $5,000,000      P2 =$5,000,001 - $25,000,000
                                         P3 =$25,000,001 - $50,000,000                                             P4 =More than $50,000,000
     3 Value Method Codes                Q =Appraisal                           R =Cost (Real Estate Only)         S =Assessment                    T =Cash Market
       (See Column C2)                   U =Book Value                          V =Other                           W =Eslimaled
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USCA11 Case: 24-13671   Document: 10   Date Filed: 11/29/2024   Page: 40 of 178
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              Chase &Co. raised their price objective
              on shares of U.5. Bancorp from $55.50 to
              $58.00and gave the company a “neutral"
              rating in a research note On Monday,
              November 4th. Citigroup lowered shares


              a “sell" rating and decreased their price
              target for the stock from $54.00to
              $49.00in a research report on Tuesday^-
              October8th.MorganStanleVrestateda .
              ■Wfrating and issued aS^OGrprice^^
              target (up previously from $6100) on
              shares of US. Bancorp in a research
              report on Monday, November 18th.
              Credit Suisse Group restated a“hold"
              rating and issued a $55.00 price target on
              shares of US. Bancorp in a research
              report on Thursday, September 12th.
              Finally, UBS Group lifted their price
              target on shares of U.S. Bancorp from
              $56.00to $58.00and gave the stock a
              “neutral* rating in a research report on
              Monday, October 21st Four investment
              analysts havCTSrtiettbwweirwith a sell
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USCA11 Case: 24-13671    Document: 10         Date Filed: 11/29/2024                        Page: 41 of 178
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             principal amount of 3.200% senior notes due 2029.                                        &xluf>L
             in addition, Equinix completed a concurrent tender
             offer for any and all of its outstanding 5.375% senior
             notes due 2022,5.375% senior notes due 2023, and
             5.750% senior notes due 2025, which were paid for
             with the proceeds from the senior notes offering.
             Go13fnfln Sdchs & Co. LJLO, SofA SdGunOds, Inc.,
       |     Citigroup Global Markets Inc., J.P. Morgan Securities ’
       |     LLC, Barclays Capital Inc., Morgan Stanley S Co. ec'
           LLC, MUFG Securities Americas Inc.. R8C Capital
           Markets, LLC, SMBC Nikko Securities America, fete.,
           TD Securities (USA) LLC, Deutsche Bank Securities
           Inc., ING Financial Markets LLC, BNP Paribas
           Securities Corp., HSBC Securities (USA) Inc., Mizuho
           Securities USA LLC, Wells Fargo Securities, LLC,
       i   PNC Capital Markets LLC, Scotia Capital (USA) Inc.,
       V^snd U.S. Bancorp Investments, Inc. are ail the
         \ underxriters kivotved in the offering. /      '

            Equirtix, an American multinational company
            headquartered in Redwood City, Caiifbmia, connects
            more than 9,800 companies directly to their
            customers and partners inside the workfs most
            interconnected data centers. Today, businesses
            leverage the Equinix interconnection platform in 52
           _strategic markets across the Americas, Asia-Pacific,
            Europe, the Middle East and Africa.
             The Davis Potk corporate team included partners
             Alan F. Denenberg (Picture) and Emily Roberts and
             associates Afi DeGolia and Cardin Moyles Cunnane.
             Partner Rachel D. Kleinberg provided tax advice and
             associate J. Taytor Arabian provided 1940 Ae* advice.
             Involvsd fees earner: Taylor Arabian - Davis Potk &
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    USCA11 Case: 24-13671          Document: 10        Date Filed: 11/29/2024            Page: 42 of 178
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                LagJn
                About U S. Bank
                tUS* Bancorp(NYSE: USB) te the parent company of UJ$. Banfe^
                 one of the largest commercial banks m the United States, and its
                 subskftarft^frU S Bank WeaMh Management and US, Bancorp
                -hivesbTienS/tnc. .Thecompany operatesmore than 3.000
                 banking offices and nearly 5,000 ATMs, and provides a
                 comprehensive line of banking, brokerage, insurance, investment,
                 mortgage, trust and payment-services products to consumers,
                ^businesses and Institutions.   ____________

                                                                                                 i.

                  Investment products and services are:
                   Net a Deposit • Net FDiC Insured • May Lose Value •                           •   ■




                   Not Bank Guaranteed « Not Insured by any Federal
                   Government Agency
                L-u.                                                           -M.




                NrUAflsifc
                CsJ Earn) Housing tender. Credit products are offered by U S. Sank National
                Association aivl sut^ to noonal cre<W approval- Deposit product* offered by
                U S. Bank National Association. Member FOiC. LeynMore
                U S. Bank te not raaponsibla for and does not guarantee the products, services
                or performance of U.S Bancorp Investments

                Fpr U.S. Bancorp tnveatmanta:
                Investment products and services are available through U.S. Bancorp
                investments, the marketing name for U.S. Bancorp Ihveaimerto, ln^
                FfNBAand SIPG. an investment advtaer and a brokeragesubsidiary of US.
                Bancorp and aflHtate of U.S. Bank.




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USCA11 Case: 24-13671        Document: 10     Date Filed: 11/29/2024   Page: 43 of 178
 Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 1 of 8


                                                                   Exh.J pg.1
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION

  MACK WELLS and
  MAURICE SYMONETTE,

        Plaintiff.

  v.                                          Case No.: l:24-cv-23015-SC

  U.S. BANK N.A. ET AL.,

              Defendants.


                              OPINION AND ORDER

        Before the Court are two Motions to Dismiss. One is filed by Judges

  Spencer Eig and Vivianne Del Rio (“State Defendants”). (Doc. 4).       A second is

  filed by Judges Jose E. Martinez and Eduardo Sanchez as well as Mary Ann

  Casale, and AUSA Jonathan Bailyn (“Federal Defendants”).                 (Doc. 7).

  Defendant U.S. Bank. N.A. (Doc. 10) and Defendant Juan Fernandez-Barquin

  (Doc. 19) join both Motions. Plaintiffs, proceeding pro se, have failed to respond

  to either Motion timely.

        Plaintiffs’ Complaint consists of mostly jumbled ramblings, so it is hard

  to pinpoint exactly wha11hey are al 1 egi              . But from what the Court

  can gather, this action is just another in a string of frivolous cases brought by

  Plaintiffs. In short, Plaintiffs wish to void a foreclosure sale of real property

  that took place almost a year ago. Plaintiffs first tried and failed at the state
'


    USCA11 Case: 24-13671          Document: 10         Date Filed: 11/29/2024       Page: 44 of 178       1



    Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 2 of 8                        t




                                                                                   Exh.J pg.2
                                                                                                               ■

                                                                                                               <
      court to accomplish this goal When that failed, they concocted a narrative
                                                                                                           i
      about how the state court judiciary and various other parties are in the pockets

      of U.S Bank, and that all those involved conspired to take Plaintiffs’ property.                     i
                                                                                                               :
      Given this purported conspiracy. Plaintiffs brought an action in federal court

      against U.S. Bank and its “co-conspirators” in another attempt to void the

      foreclosure. Sec Wells et al. v. U.S. Bank, N.A. el al., 1:23-CV‘22640*JEM. They
                                                                                                           i
      have been unsuccessful to date.1 However, Plaintiffs are not ones to give up.

      In their view, the adverse rulings by U.S. District Judge Jose Martinez and

      U.S. Magistrate Judge Eduardo Sanchez meant only one thing: these judges

      must also be part of the conspiracy. So they now bring this case2 seeking to                         ;
                                                                                                           i



      void the foreclosure alleging fraud and conspiracy involving, among others,

      U.S. Bank, two federal judges, two state judges, a court reporter, the Miami*

      Dade County Clerk of Court, and an Assistant United States Attorney.
                                                                                                           j
             This is not a unique case for Plaintiffs. To the contrary, they are serial

      filers of frivolous lawsuits, and their modus operandi appears to be actions
                                                                                                           ;

      seeking to either prevent or reverse a foreclosure. See Symonette et al. v. Auora
                                                                                                           \
                                                                                                           i
                                                                                                           i
      + This—ease-issti 11 open, but it is stayed. Before the stay, the court denied Plaintiffs’
      Emergency Motion to Void FoiecIosureSnle in Violation for Sanctions Against U.S. Bank for
      Violating Federal Stay and Willful Contempt in Vioiation^F2SlXsrCode^S~1446fd)-aiid-ta-          --- 1
      Void Sale Because of Forgery and Fraud, Emergency Motion for to Void Sale for Violation of
      Notice of Removal Stay Using Forgery and Fraud, and Emergency Motion for to Void Sale for
      Violation of Notice of Removal Stay Using Forgery and Fraud. Sec Wells et al. v. U.S. Bank,
      N.A. et al., l:23-cv-22640-JEM. Docs. 55. 63.                                                        ‘




      - Plaintiffs originally filed in state court, but the Federal Defendants removed it here under
                                                                                                           t
      28 U.S.C. §§ 1442(a)(1) and (3).
                                                                                                           I

                                                    2                                                      i




                                                                                                           i
USCA11 Case: 24-13671        Document: 10      Date Filed: 11/29/2024    Page: 45 of 178
Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 3 of 8


                                                                        Exh.J pg.3
 Loan Services, LLC, l:12-cv-219S0-MGC, Doc. 39 (S.D. Fla. Aug. 1, 2012)

 (dismissing case involving foreclosure proceeding for repeated failure to comply

 with court orders): Symonette et al. v. Boss Grp. Ministries, l:13-cv-23017-UU,

 Doc. 4 (S.D. Fla. Aug. 26, 2013) (dismissing plaintiffs’ shotgun pleading that

 “seems to entail the same transaction (foreclosure) at issue in an earlier-filed

 suit dismissed by this Court”); Wells et al. v. Am. Horn Mortg. Services, Inc. et

 al. l:13-cv-23240-WJZ (S.D. Fla. Nov. 20, 2013) (recommending dismissal of

 plaintiffs’ attempt to prevent foreclosure of property on Younger abstention

 grounds); Symonette et al. v. JP Morgan Chase Bank, 0:13-cv-61554-JIC, Doc.

 47 (S.D. Fla. Jan. 15. 2014) (dismissing case involving “a lengthy and oft-

 delayed foreclosure proceeding” on shotgun pleading grounds); Symonette et al.

 v. JP Morgan Chase Bank, 0:13-cv-60834-RNS, Docs. 5, 8 (S.D. Fla. February

 21, 2014) (dismissing complaint seeking to halt an ongoing foreclosure process

 in state court under the Younger abstention and Rooker‘Feldman doctrines);

 Symonette et al. v. Aurora Loan Services, LLC, l:13-cv-24142-PCH, Doc. 25

 (S.D. Fla. July 1, 2014) (dismissing case seeking to attack foreclosure judgment

 and observing “Plaintiffs’ history of abusive litigation tactics” and “apparent

 lack of validity to any of Plaintiffs’ claims”); Symonette et al.~v. Littlcjohn, l:l3-

 cv-23220-MGC, Doc. 22 (S.D. Fla. Sept. 30, 2014) (dismissing claims “related

 to a state court foreclosure judgment” under the Rooker-Feldman doctrine);

 Symonette et al. v. Indy Mac Bank et al., l:18-cv-23615-CMA, Doc. 9 (S.D. Fla.


                                           3
 1           USCA11 Case: 24-13671          Document: 10          Date Filed: 11/29/2024      Page: 46 of 178
         i     Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 4 of 8
                                                                                                                  I
 !ii                                                                                          Exh.J pg.4
                                                                                                                      i
                Sept. 28, 2018) (dismissing ‘"quintessential shotgun pleading” that was “replete

                with conclusory and vague facts” and “a rambling incoherent grouping of                          1
         !
 M
                claims against a state court judge, state court clerk of court, and several banks                     '
i!              and financial institutions, regarding the foreclosure of Plaintiffs’ property”);
 I
 !
i
                Wells el al. v. U.S. Bank, N.A. et al., l:23-cv-22640-JEM, Docs. 55, 63 (S.D. Fla.
         i
                July 2, 2024) (rejecting plaintiffs’ attempts to void the foreclosure sale); Wells

                et al v. U.S. Bank, N.A., l:24-cv-22532-RAR, Doc. 6 (S.D. Fla. July 8, 2024)

                (dismissing complaint that alleges conspiracy involving the Governor and the

                Miami-Dade County Clerk of Court on shotgun pleading grounds and lack of

                jurisdiction).:i Given Plaintiffs’ extensive litigation history, one would expect                I

                they are now well-versed in the pleading standards. Not so.

                       Although the Motions to Dismiss raise multiple bases for dismissalr-the_^

                Court focuses on one: shotgun pleading. Together, Rules 8 and 10 lay out the

     i          minimum pleading requirements. A complaint must have “a short and plain

                statement of the claim showing that the pleader is entitled to relief.” Fed. R.

                Civ. P. 8(a)(2). And each “party must state its claims or defenses in numbered                    (
                                                                                                                 H

                paragraphs, each limited as far as practicable to a single set of circumstances.”
  )
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1I
                Fed. R. Civ. P. 10(b). Violations of these rules sometimes create confusing                      i1
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                3 To state the obvious, this list does not delve into the various state-court cases Plaintiffs
                have filed over the years.


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          USCA11 Case: 24-13671          Document: 10       Date Filed: 11/29/2024          Page: 47 of 178
           Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 5 of 8


                                                                                           Exh.J pg.5
                complaints, known as “shotgun pleadings.”         Weiland v. Palm Beach Cnty.
                                                                                                                                                                              i
                Sheriffs Office, 792 F.3d 1313, 1322-23 (11th Cir, 2015),

                      The Eleventh Circuit has identified four categories of shotgun pleadings:
                                                                                                                                                                              %
                                                                                                                                                                                  5

                (1) a complaint “containing multiple counts where each count adopts the                                                                                           .<
                                                                                                                                                                              ■




                allegations of all preceding counts”; (2) a complaint that is “replete with                                                                                   -

                conclusory, vague, and immaterial facts not obviously connected to any                                                                                             >
                                                                                                                                                                                      :
                                                                                                                                                                              1
                particular cause of action”; (3) a complaint that does not separate each cause                                                                                1j:

                of action or claim for relief into a different count; and (4) a pleading which                                                                                I,
                                                                                                                                                                              l
                asserts “multiple claims against multiple defendants without specifying which
                                                                                                                                                                              ■




                of the defendants are responsible for which acts or omissions, or which of the                                                                                ■




                defendants the claim is brought against.” Id. at 1321-23. Ultimately, the
                                                                                                                                                                              i
                common theme of all shotgun pleadings is that “they fail in one degree or
                                                                                                                                                                                  ;
                another, and in one way or another, to give the defendants adequate notice of

                the claims against them and the grounds upon which each claim rests.” Id. at                                                                                  i


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                                                                                                                                                                              I
                1323. Such is the case here.
                                                                                                                                                                              i



                                                                                                                                                                              ;
                      The Complaint is made up of incoherent, ambiguous, and unorganized                                                                                      .

                ramblings about how various state and federal officials are being paid off by

                U.S. Bank (and several other banks that are not party to the case) simply to

                deprive Plaintiffs of their property. At other points, Plaintiffs go on unhinged

                tangents about unrelated matters, such as that Plaintiff Symonette is a prince

                because his grandfather was the first Black Prime Minister of the Bahamas;


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USCA11 Case: 24-13671         Document: 10           Date Filed: 11/29/2024   Page: 48 of 178
 Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 6 of 8


                                                                              Exh.J pg.6
  that they have conducted fundraisers for Republican politicians on their four-                     ■




                                                                                                     \
  story, eightv-foot yacht; that some Defendants are plotting to kill them; and

  that Wachovia Bank is a “slave master of black people.” (Doc. 1-3 at 30, 31, 33,

  34).   The Complaint is not broken into separate paragraphs and largely

  consists of run-on sentences. And while there are buzzwords throughout, such

  as “conspiracy” and “fraud,” there is no actual cause of action or claim asserted
                                                                                                 '
  against any Defendant. Put simply, there is no way that the Defendants could                  I
                                                                                                 !

  be expected to formulate a response to such mumbo jumbo. See Beckwith v.                          i


  BellSouth Telecommunications Inc., 146 F. App’x 368, 371 (11th Cir. 2005)
                                                                                                    ■:




  (“The failure to identify claims with sufficient clarity to enable the defendant              ■




                                                                                                    1
  to frame a responsive pleading constitutes a ‘shotgun pleading.”’).

         No doubt Plaintiffs’ Complaint is a shotgun pleading. But the question
                                                                                                I
  remains whether the Court should grant them leave to amend. On the one
                                                                                                ?

  hand, courts hold the pleadings of pro se litigants, like Plaintiffs, to a less               I
                                                                                                §
  stringent standard than pleadings drafted by attorneys.                 Tanncnbaum v.

  United States. 148 F.3d 1262,1263 (11th Cir. 1998). And courts normally grant

  leave to amend when there is a chance the pro se litigant can allege a plausible
                                                                                                :■




  claim for relief. See Bell v. Fla. Highway Patrol, 325 F. App’x 758, 760 (11th
                                                                                                vr




  Cir.                                                              , w                 as

  a history of bringing vexatious, or unmeritorious litigation, a court may

  consider that history in assessing whether a claim should be dismissed and


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USCA11 Case: 24-13671      Document: 10       Date Filed: 11/29/2024   Page: 49 of 178           .1


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 Case l:24-cv-23015-SC Document 26 Entered on FLSD Docket 10/04/2024 Page 7 of 8
                                                                                                 i


                                                                       Exh.J pg.7                ■1

                                                                                             i,!i
  leave to amend should be granted.” Clervrain v. Lee, No. 6:21-MC-108-WWB-                  !f
                                                                                             I j;

  LRH, 2022 WL 2306847, at *3 (M.D, Fla. Jan. 19, 2022), report-and
                                                                                                     i

  recommendation adopted sub nom. 2022 WL 2306725 (Mar. 29, 2022) (citing
                                                                                             I*
  Miller v. Donald, 541 F.3d 1091, 1101 (11th Cir. 2008)). Such is the case here.

        As discussed earlier, plaintiffs are no strangers to federal court or
                                                                                             !i
  litigation. In fact, they file practically the same case repeatedly—to void a

  state foreclosure action based on fraud and conspiracy. Their cases have been

  frequently dismissed on shotgun pleading grounds. This one is no different.                t
                                                                                             )
  Given Plaintiffs’ borderline vexatious-litigation history and their recurring

  inability to craft a coherent pleading, Plaintiffs’ claims are dismissed with                      i
                                                                                                 i
  prejudice.   Cf. Smith v. DeSantis, No. 4:22-CV-176-AW-MAF, 2022 WL
                                                                                                 i
                                                                                                 i
  2806549, at *4 (N.D. Fla. June 9, 2022), report and recommendation adopted

  as modified, 2022 WL 2803654 (July 18, 2022); Emrit v. Universal Music Grp.,

  No. 8:19-CV-2562-T-33SPF, 2020 WL 4751446, at *7 (M.D. Fla. Aug. 17, 2020),                    ■




  affd, 833 F. App’x 333 (11th Cir. 2021).

       Accordingly, it is now

        ORDERED:

        1.     Defendants Judge Spencer Eig and Judge Vivianne Del Rio’s

               Motion to Dismiss (Doc. 4) is GRANTED.                                    i


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             USCA11 Case: 24-13671      Document: 10    Date Filed: 11/29/2024   Page: 50 of 178


     :         Case l:24-cv-23015-SC   Document 26 Entered on FLSD Docket 10/04/2024 Page 8 of 8


                                                                                 Exh.J pg.9
                      2.    Defendants Judge Jose E. Martinez, Judge Eduardo Sanchez,

                            Mary Ann Casale. and AUSA Jonathan Bailyn’s Motion to Dismiss
         !
                            (Doc. 7) is GRANTED.

                      3.    Plaintiffs’ Complaint is DISMISSED with prejudice.

                      4.    The Clerk is DIRECTED to deny all pending motions as moot,

                            terminate any deadlines, and close the case.
 f
                      DONE and ORDERED in Miami, Florida on October 4, 2024.



                                                         ' SHERI POLSTERCHAPPEbW-' '
                                                           UNITED STATES DISTRICT JUDGE

                Copies: All Parties of Record



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         USCA11 Case: 24-13671             Document: 10       Date Filed: 11/29/2024        Page: 51 of 178

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                                                              FOR DADE COUNTY, FLO; UDA
                                                             GENERAL JURISDICTION W rTSON
                                                                                            CA
                                                                      CASE NO: 2OO7-I2407< i

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                     ORDER o&disu ssaj, with prejudice s
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             Served on April 11.2008. Tie coot Eads that (1) notice prescribed by tide 1.40 «)
             Wao served on April 11,200 3; (2) thefr was no record activity for the year pnceti ig
             Sorvioeofthe foregoing notoe; (3) ao May h«s boon boned or approved by foecrmt
             And (4) no P«iy bit shown good cum idy this action fount* remain pendfag,
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              IT IS ORDERED Tbit thfe action Is Dfcnbaod for lack afftasecutMttwkbPhriiiifa
              DONE AND ORDERED 11 chambers, or Miami, dado county, Florida this 3Hb day of
              March , 2010.
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      fab Mragaomt Corporation
      PAL 3oe 3t#K ffi* W 095200027




         Satisfaction Of Mortgage
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      CHASE MANHATTAN MORTGAGE CORPORATION,
      owns end hoMar of th» AM, barsby dictett that On 8m of said mortgage it ferew discharged and satisfied.
      Orifnol Hortfipc CHHttAL RESBENTUL MORTGAGE CORPORATION
      Origiul Mortflpor. JOHN SCHLE9N6EIL MAMLVNMUAN
      RecorM in Ostia County, Raritio, m lOYTCKBS as Inst. I8WZ0253 on Bosk 16962 on Pago 3797
      To* 10:09411800401 TO
      Oats si nwlswc tOflNOO AnMM «f mafto^K 133400000
      DATE 05 SATISFACTION: 07/02(04

      NOW THEREFORE, the recorderor dark of said county b hereby instructed to record ft it instrument and to
      cereal retest, aad tfitdsirss tbs mortals* in Kcordanca with the ragulaiions of uid stats and county.
      DATED: 07M 5/2004
      CHASE MANHATTAN MORTGAGE CORPORATION
                     RESIDENTIAL MORTGAGE CORPORATION
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      Stats sf Nevada
      County of Washes
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      Jamifar WMtet, persomly known) to me to be the parson that executed the foregoing inttrumant. ani
      acknowledged that she it Vico President of
      CHASE MANHATTAN MORTGAGE CORPORATION.
      ind that she executed On forego«Q instrument pursuant to a resolution of
      Its board of dtetori and tbit such eneutte was done as tha fret act and stood of
      CHASE MANHATTAN MORTGAGE CORPORATION.
                                                                                                 STEVEN R. CARSON
                                                                                              Nol«y WUUto. «Nt»«f Mw*
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USCA11 Case: 24-13671
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                                                                i    53 of 178


           Quora
            Are JP Morgan and Chase the                            S'h/^
            same?


            What are some simple steps I can take to
            protect my privacy online?
            Many people believe that they can't do anything to
            protect their privacy online, but that's not true.
            There actually are simple...

                                                               \
                             Continue Reading



            1 Answer


                   Dan Mahoney, Executive Director at
                   JPMorgan Chase (■■-present)


            The basic answer is yes. JPMorgan Chase is one
            big company. Different names are used for branding
            purposes. The JP Morgan name is used for higher
            end LOB and products like investment banking, the
            largest corporate relationships and private banking
            for the wealthy. Chase is used for lower end
            products retail branch banking, business banking
            (less than $20M in sales) and commercial banking
            (annual sales less than $500M).
                                                                            • :•

USCA11 Case: 24-13671 .**. Document:
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                                  Quora                              Open in Ap.o      Sign In I

                                   Are the roots of Morgan Stanley
                                   and JPMorgan Chase the same
                                   (i.e. JPMorgan& Co.)? What are
                                   their histories?

                                   Ad by DucWOuckGc
                                   What are some simple steps t can take to
                                   protect my privacy online?
                                   Many people believe that they can't do anything to
                                   protect their privacy online, but that's not true.
                                   There actually are simple...

                                                         Continue Reading                      >



                                   3 Answers


                                            Shreyans Malani, studied at London
                                            School of Economics and Political
                                            Science
                                            Answered Jut ?. 2015

                                   JPMorgan Chase & Co. is the parent holding
                                   company of Cha$e(Commerical Sank) and
                                   JPMorgan (investment Bank).

                                   John Pierpont Morgan (J.P. Morgan) founded J.P.
                                   Morgan & Co., which is the predecessor to Morgan
                                   Stanley and JPMorgan Chase.
                                   As a result of the Glass-Stegall Act of 1933, J.P.
                                   Morgan & Co. was broken up, it spun off its
                                   investment banking activities into Morgan Stanley.

                                   J.P. Morgan & Co. continued to operate as a
                                   commercial bank. However, in the 1990‘$ it started
                                   to rebuild Its investment banking operations. In
                                ----‘ hs- n-j.y.g Map!                              ft a ay,




                                   RELATED QUESTIONS (MORE ANSWERS BELOW)


                                   What is the history of JP Morgan Chase as
                                   a merchant bank?
                                   533 Views


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                                Case l:18-cv-22211-DPG Documents Entered on FLSD Docket06/24/2019 Page 8 of 8




                                          Complaint - Department of Justice

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                                              )) THE STATE OF ALASKA.) 1031W. 4 th. Avenue, Ste.... 420
                                              Montgomery Street Front... Virginia, end the District of Columbia by end through their
                                              undersigned attorneys...


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USCA11 Case: 24-13671             Document: 10               Date Filed: 11/29/2024                   Page: 56 of 178
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           Case l:18-cv-22211-UU Documents Entered on FLSD Docket 07/01/2019 Page l of 1



                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                            Case No. 18-CV-22211-GAYLES
           CARL ERICKSON

                  Plaintiff.
           v.

           RALPH W. CONFREDA, JR.,« al.,

                  Defendants.


                                                ORDER OF RECUSAL

                  PURSUANT to 28 U.S.C. § 455, the undersigned Judge to whom the above-styled cause is

           assigned hereby recuses himself and refers the case to the Clerk of the Court for reassignment.

                  DONE AND ORDERED in Chambers at Miami, Florida this 28th day of June, 2019.




                                                               DARRIN P. GAYLES
                                                               UNITED STATES Dll               JUDGE




                                                                                                              •
USCA11 Case: 24-13671                        Document: 10               Date Filed: 11/29/2024
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                     Case l:18-cv-22211-DPG Documents Entered on FLSD Docket08/24/2019 Page lots.__




                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OP FLORIDA
                                                                                          Case No. lS-cv-22211-GAYLES
                          CARL ERICKSON,
                                       Plaintiff,
                          v.
                          RALPH W. CONFREDA. JR,                                            FILED BX/.               .c.
                          US BANK NATIONAL
                          JP MORGAN CHASE BANK                                                    JUN 2 4 2019
                          CARL A. LUBETSKY
                          ALAN WASER STEIN
                          KENNETH ERIC TRENT
                                                                                                  •ssseisgte
                                                                                                  8.0.OFm - MIAMI
                          TERRANCE W. ANDERSON et aL,
                                           Defendants,

                                       • MOTIONS FOR RELIEF A RECUSAL AND MEMORANDUM OF LAW
                                Pursuant to Federal Rules of Civil Procedure Rule 60, Plaintiff Call Erickson hereby files
                          this Motion for Relief ft Recusal and Supporting Memorandum regarding the June 26*, 2016
                          Judge Danin Gayles stta sporae review of the record and Dismissal Order [Document #4] based
                          on the following Rets, new information, just terms, judicial misconduct, fraudulent grounds and
                          discovered conflict of personal investment interests on Financial Disclosures of Judges and
                          officers of this Court (Exhibits Attached-JP Morgan Chase Special Situation Property Funds FRS
                          Account Page 42. FRS 2018 Tables 9-13, SEC Filings-US Bank Florida Subsidiaries. Gayles
                          Financial Interests ft Property Disclosures)
                                                              FACTUAL BACKGROUND
                               1. On June 4tt, 2018. Plaintiff Carl Erickson filed a civil action Complaint [Document #1}
                          dtiqg Fraud causes of action for violations of Federal tort laws, banking real estate security
                          assets regulation violations and racketeering statutes.
                               L The Complaint was based upon precedent USDC related filings accepted by non-biased
                          professional jurists that contained verbatim (I) a short and plain statement of the grounds for the
                          corn's jurhdieftoo: (2) a short and plain statement of the claim showing that the pleader is
                          entitled to it&ef; and (3) a demand for the relief sought under Fed. R Civ p. 8.
                               3. On June 26th 2018, Judge Gayles issued and Dismissal Order a sua spunte review of the

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USCA11 Case: 24-13671          Document: 10   Date Filed: 11/29/2024       Page: 58 of 178
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 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
 IN AND FOR MIAMI-DADE COUNTY, FLORIDA

 CIRCUIT CIVIL DIVISION

 CASE NO. 2019*4)30415-CA-01
 SECTION: CA20
                                                ffEASSlGNEP^BV gliW
 JAMES BUCKMAN                                                                                                                    <•
      Plaintiffs),                               PER ORDER OR ADM. JUDGE V                                                :
 VS.
 LANCASTER MORTGAGE CO                                                                                                                i

     Defendants). -                                                                                                   :
                                                                                                                      ■:




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                                                                                                                                  !:
                                                                                                                                  i
                                     ORDER OF RECUSAL
                                                                                                                                  r;
        THIS CAUSE, came before the Court sua sponte, and the Court bein^ fully advised in                                        r.

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 the premises, it is hereby:                                                       , 1 .>
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        ORDERED AND ADJUDGED                                                                 O
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        1. That the undersigned Circuit Court Judge hereby recusesfiiffcsklf |g>m further                                         ;
           consideration of this case.                            /\*              g
                                                                                                 mt              •   •i           i
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                                                                                                                                  }
        2. This case shall be reassigned to another section of the Circuit Civ& Division inf                                      \
                                                                                           i
           accordance with established procedures.                                                                                >
                                                                                                                     1
                                                                                                                                  *
 DONE AND ORDERED in chambers, at Miami, Dade County, Florida, this 17th day of
                                                                                                                                  V



 October, 2019.


                                               William Thomas
                                               CIRCUIT COURT JUDGE r        Them*
                                                                                                                                  i
                                                                 ^Circuit Court Juoga
 Mailing Service List: ___
                                                                                                                                  c.
 JAMES BUCKMAN, 1977 NE H9TH ftDrMIAMI^FL 33181                                                                                   1.
 MAURICE SYMONETTE, 4711 LJ PARKWAY, UNIT 4208, SUGARLAND7TX 77479
 LANCASTER MORTGAGE CO
 ONE WEST BANK
 EMC MORTGAGE BANKERS LLC
 MORTGAGE ELECTRONIC REGISTRATION SYSTEM
 DEUTSCHE BANK NATL TR CO
 MERS
 SERVICING AGREEMENT SERIES RAST 2006 A 8
 RESIDENTIAL ASSET SECURITIZATION TR 2006 A8 +                                                                                    i

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                                                                                                                                  i
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     USCA11 Case: 24-13671                        Document: 10               Date Filed: 11/29/2024                     Page: 59 of 178




    FORM 6                      FULL AND PUBLIC DISCLOSURE OF                                                                              2008
                                   I FINANCIAL INTERESTS
                                                                                                                          COMHSSKMONETHCS
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                                                                                                 USE ONLY:
                                                                                                                                    J (i 7009
           Hon Valerie R. Manno Sctxjrr
           Circuit Judge                                                                                     ID Code!
           Judicial Circuit (HTh>
           Erected ConaWuttonal Officer
           Dade County Cogrthosue Rm 1105
                                                             PROCESSED                                       ID No
           73 W Flagler St                                                                                                     210380
           Miami, FL 33130-1731
                                                                                                             Conf.Code

                                                                                                             P. Re<| Code

                                                                                                          Manno Schunr, Valerie R.
CHECK IF THIS IS A FILING BY A CANDIDATE          □

                                                             PART A-NET WORTH
Please order iha value at your net worths* or Oeoember 31,2000. or a more current dale. (Note: Net worth le r>o< caieulateo by euMracdng your reported
HeMWes from your reported asset*, so pteese see die mevudtons on page 3.)                                 -                ^
                        Mv net worth at of                       C 3( .                                                         . OO*



                                                                PARTS-ASSETS
HOUSEHOLD GOODS AND PERSONAL EFFECTS.
 Household qaode end parson<lo<adsffiay be reported ft> a lump sum II their aggregate vtos eaceedetl jOOQ. Thie category InciMdes any ottMtaHwaing,
 M not held lor investment purpoose: jayway: coaociont of tempi, guns, and numismatic Perm: art otyecte; household equipment and IVmMhinft, ckdhlng,
 other household Seme; end vehicles Ibr personal use.

    The aggregate value of my household good* end personal assets (dssctfced sbovsi le $      iSb.06p.rn
ASSETS HHMVKJilALLY VALUED AT OVER I1.SOC
_____________ DESCRIPTION OP ASSET {apocHIcdsacrllptlonia/eqjMlisd* sea lnatru6llonap.4l                                         VALUE OP ASSET
Momg \n0ab£ ia iAAeo»I _TWfo (                                                      foatfllipACV )                           700,006.70
     fcflflJbC /i VUpnLL. -Dfldk (                                                     ^                                     3,HfyQCQ,GP.
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       MK.             a           t                                                                                        * mismjn
\              Qi
                    <n                        A<h rh L
                                                            PART C - LIABILITIES
UAEfLIDES IN EXCESS OF *1 jOO*
              NAME AND ADDRESS OF CREDITOR                                                                                    AMOUNT Of LIABILITY

                              ftlM                      t.Q.fecx^oo 11(9, Leu(I?. g~                                         II H3MX>
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                                                  ~~                        SOlS/lf bal lfj> f fji                             Mmpjb.
                                                                                                                                                 OP
                       L LIABILITIES NOT REPORTEO ABOVE:
           i        NAME AND ADDRESS Of CREDITOR                                                                              AMOUNT OP UABAfTY




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       USCA11 Case: 24-13671            Document: 10      Date Filed: 11/29/2024          Page: 60 of 178


       X
                                                               fN THE CIRCUIT COURT OF THE
                                                               1 *JUDICIAL CIRCUIT IN AND
                                                             __FOR DADE COUNTY. FLORIDA

                                                             GENERAL JURISDICTION DIVISION                        .!

                                                                        CASE NO’ :007.i:40T-cal


                US Bank .N.A.                                   April 1.2010                                     :1
                       Plaintiff! s)

                 Vs.
                                                                                                                  *
                Leroy Williams
                        Defendant! s>


                           ORDER OR DISMISSAL WITH PREJUDICE

                   This action was heard on the defendants motion to dismiss for lack of prosecution
                Served on April 1 L2008. The court finds that (1) notice prescribed by rule 1.40 (e)
                W as served on April 11.2008; (2) their was no record activity for the year preceding
                Service of the foregoing notice; {3> no stay has been issued or approv ed b> the court
                .And (4) no party has shown good cause why this action should remain pending.
                 Accordingly,
                  IT IS ORDERED That this action is Dismissed for lack of Prosecution with Prejudice
                  DONE AND ORDERED in chambers, at Miami, dade county . Florida this 31 th day of
                 March. 2010.


                                APR 06 2C*        APR 06
                                                                        CIRCUIT COURT JUDGE


                                                                                    VALERIEMANNO SCHURR
                                                                                    CIRCUIT COURT JUDGE




      QC - A' l Dp-lL             N \




                                                                STATE CfaORIDA.CvWY & ttlt&yCtZs


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                                                                                     *0NA BRUNO #79806
Bk 27244 Pg 4193 CFN 20100237159 04/09/2010 12:47:17 Pg 1 of 1 Mia-Dade Cty. FL
      USCA11 Case: 24-13671                        Document: 10            Date Filed: 11/29/2024                 Page: 61 of 178
                                                                                                                        -f\h
    FORM 6                       FULL AND PUBLIC DISCLOSURE OF                                                                             2009
                                    I FINANCIAL INTERESTS
                                                                                                 FOR OFFICE
                                                                                                 USE ONLY'                 \ -•3a :M


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                                                                                                              ro Code
         Hon Valerie R Manno Schurr
         Circuit Judge
                                                                PROCESSED
         Judicial Circuit (1 Uh)                                                                              ID NO               210380
         Elected Constitutional Officer
         73 W FLAGLER ST DADE COUNTY COURTHOSUE RM
                                                                                                             Conf. Cooe
         1105
         MIAMI, FL 33130                                                                                      P Reo Code


                                                                                                           Manno Schurr. Valerie R.
 CHECK IF THIS IS A FILING BY A CANDIDATE          □

                                                              PART A - NET WORTH
 P.e«e ante*     *** of your od wocfo as of December 31 2009 or a more current date (Note Net wonh is not calculated by subtracting your reported
 hatohoes from your reported assets, so please seethe instructions on page 3 ]                   *j                —       -~j-
                         Mv net worth as of \JtX V- u \tl k                  l__ . 20 0^ was $ ( ^ ^             J,^




                                                                 PART B - ASSETS
 HOUSEHOLD GOOOS AMD PERSONAL EFFECTS
   Household goods and personal effects may be reported in a lump sum if trier aggregate value exceeds 51 000 Thts category mduoes any of me tot owing
   g no( beid for investment purposes jewelry, collections o( stamps guns and num-vnsUc items art objects nuuseboid ecutpmen; and furnishings ctoditng
   other horse note) items, and vehicles for personal use

   The aggregate varue of my household goods and oe'scnaf effects (described above i is $      itf.CCC .(T
 ASSETS INDIVIDUALLY VALUED AT OVER 11.000:
               DESCRIPTION OF ASSET (specific deecnptlon la required - see instrucUpo* p.4)_______ .                             VALUE OF ASSET

                                       I V\ IG (VI. - \Ih> ci£L                             I f^J.                           0 ScIafCTil.fi)
             vet \   i
\vA-L;—LD V. CK vv.                           A lA'Ht )UL                                                                        a^irOOLOC
V:nnlC r*\t       \(: i                         t \j\l kCcct^f.-^ l\CCu^S?                                                       /v5T>,GC£-C
 -*v C K •      I * • ; i > CJ                 "        _______________ ___________l                                             1/4 Qcf)-0O


                                                            PART C - LI ABILITIES
LIABILITIES IN EXCESS OF $1,000:
                NAME AND ADDRESS OF^REOfTOR                                                                                   AMOUNT OF UA84LITY

                                 f-L ■ tt X      ^ i>    V■ T A                                                               c:-"iuXdcrctr
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\Avfc\\<>Vfr iry     i'L TU.X./U nt r l'L lixi, ~*V,i.6S : X-_______                                                         /A CtETiT
 -          tn < t * . w',XvL I t up/r      • rVy 7S;C4> /                                                                    J9.-ggh.tt:
JOINT AND SEVERAL LIABILITIES NOT REPORTEO ABOVE
   .__________ NAME AND ADORESS OF CREDITOR                                                                                  AMOUNT OF LIABILITY
 NOoc: —


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 USCA11 Case: 24-13671           Document: 10            Date Filed: 11/29/2024          Page: 62 of 178




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                                                                          JLiCSDKTIO^ DIVISION
                                                                 CfcSi^                                              #•
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                Tbis action was hura jsj the. fcuthots mtfirr' - ^niss for Jck of pnwwooo
              Serw^ on April 11J2008. fbe co^r? (w,‘ '-           iofcr? presentedby ruik i*4C *’
              Wfe sm eJ ,-r         ’ 1.2008; i2, 2eir      ~ record activity for the
              Scrvioeof the icr;^xrg notier, 13) jt !=s ben and or «prwm^c b ireeoun                               %m*¥-
              And (4) no party has ibc* - * ,;ond cause why thfc aci-n ^* V lsit         iw*-
              Accordingly.                                       __
               rr IS ORDERED That this                  .X.p:-           ^ >-^:fek» »»?h Frcyudkt
               DONE A>© ORDEREDinchaoxr „ *                        fee* cx?r^                        d** if
               M«c*< Tooe^

                            *;



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• &&    WlfcC!«C0MD4«WV-***^                     **
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    USCA11 Case: 24-13671                  Document: 10               Date Filed: 11/29/2024                  Page: 63 of 178


   3
                         IN THE C1RCI IT COl RT OE THE ELEVENTH Jl DICLL CIRCUIT                             *
                                 !N and FOR MUMI-DADE COUNTY. FLORIDA
                                                CIVIL ACTION

             I S Bank. N.A..
                    Plaintiff.

                                          CASE NO.           200%12407-CA
            vs.                           DIVISION           32

                                                                                             I
                                                                                             I
                                                                                             snct K)RR£CO


            LEROY WILLIAMS; MARK WELLS; FRANKLIN
            CREDIT MANAGEMENT CORPORATION; CITY
            OF NORTH MIAMI;                                                                                                  cT
                              Defendant(s).
                                                                                                                             -c
                                                                                                                                    o
                                                                                                                              CP    o
             FINAL ORDER DISMISSING.CaSF.. CANCELING FORECLOSURE SALE. CANCELING                                                    or
                us PFsnrNS A\n sfttinc. A^inr f4Xal summary judgment and
                                                            photostatic cowes


                    THIS CAUSE having come on before the Court. e\ pane, pursuart to the Motion filed by the plaintiff. pursuant

            to Section 702.07 Florida Statures (2005). and the Court being otherwise fully advised :n the premises, it is.

                    ORDERED AND ADJUDGED as follows
                                                                                                                                               I
                    1.       The case be and the same hereby is dismissed, but without prejudice !c the future rights of the PlaintiH to

            bring an action to foreclose the mortgage which is the subject matter of the instant cause

                    2        All Counts of the Complaint against Defendants: LEROY WILLIAMS. MARK WELLS;

            FRANKLIN CREDIT MANAGEMENT CORPORATION; CITY OF NORTH MIAMI, are hereby dismissed.




                   3.        Any scheduled foreclosure sale is canceled.




                                                                                   Ser;aT 1366E522
            EILE^-NUMBER FQ7CM2148

                                                                                   tl




Bk 27343 Pg 949 CFN 20100451678 07/06/2010 15:32:32 Pg 1 of 3 Mia-Dade Cty. Ft
                                                                                                                                           f
         USCA11 Case: 24-13671                      Document: 10             Date Filed: 11/29/2024                  Page: 64 of 178




                      4.         The Notice of Lis Pendens filed by Plaintiff and recorded in the public records of lAMI-DADE.
                                                                                                                 4


             County, Florida, regarding the below-described property
                                  LOT 105, B ISC AVNE GARDENS SECTION F PART 1, ACCORDING TO
                                  THE PLAT THEREOF. AS RECORDED IN PLAT BOOK 44, PAGE 46. OF
                                  THE PUBLIC RECORDS OF MIAMI-DADE COUNTY. FLORIDA.


             be and same hereby is canceled, vacated, discharged and shall be of no further force or effect, and the Clerk is hereby

             directed to record this Order to reflect same.

                     5           The Final Summary Judgment heretofore entered on August 09, 2007. be and the same hereby is set

             aside and shall be of no further force or effect

                         6.     The Plaintiff requests that the original Note and Mortgage be returned to the Plaintiff and
             photostatic copies shall be substituted in their place.

                     DONE AND ORDERED in Chambers in M1AMI-DADE County. Florida, this                                            day of
             _______________________ 2010                                                            (/,
                                                                       ,v
                                                                       ■1
                                                                            IR-mV i\\%s  -v I • '
                              JUN 2 3 2010                             VALERIER. MANNOSCHURR
                                                                       Circuit Court ludge
            Copies furnished to:
            Florida Default Law Group. P.L
            P.O.Box 25018
            Tampa, Florida 33622-5018
            All parties on the attached service list.
            F070i:i4*-.V101050:
            GMAC-C'ONV—abiven




Bk 27343 Pg 950 CFN 20100451678 07/06/2010 15:32:32 Pg 2 of 3 Mia-Dade Cty, FL                                                            f
         USCA11 Case: 24-13671                          Document: 10            Date Filed: 11/29/2024                        Page: 65 of 178




         uir//y*un                 service Keiurn ror           event
                                   Unknown Party

    57   01/25/2011                Service Return for           Event   LEROY WILLIAMS
i                                  Unknown Party

         01/25/2011                Service Return for           Event
                                   Unknown Party

         01/25/2011                Summons Returned -           Event   Parties: Williams Hoke
i                                  No Service

         01/25/2011                Summons Returned -           Event   Parties: Williams Leroy
i                                  No Service

         01/25/2011                Summons Returned -           Event   Parties: Littlejohn James
i                                  No Service

         12/27/2010                Answer                       Event   ATTORNEY 00301991 TO THE COMPLAINT
i                                                                       Parties: Miami Dade County

         12/09/2010   27515:1498   Lis Pendens                  Event   8:27615 P: 1498
i
         12/06/2010                Verification                 Event
i
         12/06/2010                Plaintiff's Certificate of   Event
i                                  Settlement Authority

         12/06/2010                Certificate Regarding        Event
i                                  Original Note

         12/06/2010                Summons Issued               Event   Parties: Williams Leroy; Littlejohn James; Williams Hoke; Deutsche Bank (na) (tr); Wells Fargo Bank (na);
                                                                        Wachovia Bank (na)

         12/06/2010                Filing Fee For Mortgage      Event   $ 1906.00
i                                  Foreclosure

         12/06/2010                Complaint                    Event
i
         12/06/2010                Civil Cover                  Event
i
USCA11 Case: 24-13671          Document: 10                Date Filed: 11/29/2024                    Page: 66 of 178

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                                       II.HTED STATES DISTRICT COCRT
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              mupttd ktnfoy rcu«i hiimrlf aud men iPp uk *jj #* L'Ark of the Loan for 'wnifi im

                    DONE AND OKDntKD a Oaiften el Miami, Honda lUt Mtk day «/ W XiV



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USCA11 Case: 24-13671           Document: 10           Date Filed: 11/29/2024            Page: 67 of 178




                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT                        . £xh;t,~b <p /
                 IN ANO FOR MIAMI-OADE COUNTY, FLORIDA
                CIRCUIT CIVIL DIVISION

               CASE NO 2019-030415-CA-01
               SECTION. CA 20

               JAMES BUCKMAN
                        Plaintiff!*),                              P*A$?5 N£0 BV Buvo
               v*.                                                                      CAoX
               LANCASTER MORTGAGE CO                               *»r   <
                   Deftnrtantfs).

                                                              /                 v

                                                    ORDER OF RECUSAL
                      THIS CAUSE,
                                        came before me Cou't wja
             the premises t is hereby                              5Bor: - 3ra >'8 .cut be,
                                                                                              °9 My idv^ea m
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                                                                                                    a
                     ORDERED AND ADJUDGLD
                                                                                              5
                     1 Thai the undersigned C ifcun
                       consideration of th»s case     Coun Judge hereby                     VJ
                                                                         recast's hanself -^pm further
                     2 This
                        •— case snail be reassigned to another section, cf :*o Ciratft CntfOvtilBn
                                                                                          *!»       in
                       accordance wtth established procedures
            DONE AND ORDERED n chambers
                                        at Marr> D»de County >1^
            October. 2015.                                       d« mis i?{> day of

                                                                                        '—•>

                                                           William Thomas
                                                           CIRCUIT COURT JUDGE
           Mailing Service Let
           JAMES 8UCKMAN 1977 NE 11STW RD MIAMI FL 33161
           MAURiCE SYMONETTE 4711 L J PARKWAY. UNIT 4238. SUGADlAND
           LANCASTER MORTGAGE CO
           rtuc WEST BANK
           ONE         - •                                          IX 77479
          EMC MORTGAGE BANKERS LLC
          MORTGAGE ELECTRON,C REGISTRATION SYSTEM
          DEUTSCHE BANK NATL TR CO
          MERS
          SERVICING AGREEMENT SERIES RAST 2006 A 8
          RES DENTIAL ASSET SECuRnjZAllORTR2006
                                                 A8-+
   USCA11 Case: 24-13671                 Document: 10         Date Filed: 11/29/2024                 Page: 68 of 178
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         IN THE CIRCl IT COl'RI OK THE ELEN ENTH JUDICIAL
         CIRCUIT IN AND FOR MLVMI-DADE COUNTY. FLORIDA

         CASE NO; ‘iO',l-OIOS26-CA-Ql
         SECT ION: CA25
         JUDGE: Valerie R. Manno Schurr

         MAURICE SYMONETTE
         Piainlillis)

       • VS.


         U.S. BANK N ATIONAL ASSOCIATION (IR) et at
         Defendant! s)


                                                 ORDER OF RECUSAI.

             THIS CAUSE. came before the C ourt Mia spontc. and the Court being fulK ad\ ised in the
         premises, it is hereby:


                ORDERED AND ADJUDGED

               1. That the undersigned Circuit Court Judge hereby recuses herself from further consideration
                  of this case.
               2. This case shall be reassigned to another section ol the Circuit C i\ i) Di\ ision in accordance
                  with established procedures.

        DONE and ORDERED in Chambers at Miami-Dude County. Florida on this 21 st dav of
        January . 2022.


                                                                   --'•>^1           t A . it   o|         i i r i /v

                                                                   \Jcxp.jla+x> on
                                                                   2021 -01 US26-CA^lLaLab44£^)^
                                                                        JHon \Iaiei4e4^AfatitKrSdiUTT

                                                                             CIRCUIT COURT JUDGE
                                                                             Electronically Signed




  Case No 202MH0X26-CA-0I                                                                                          Page I of 2
                                                                                                                                 (
Filing # 172928996 E-Filed 05/11/2023 11:02:02 AM
         USCA11 Case: 24-13671             Document: 10        Date Filed: 11/29/2024       Page: 69 of 178


        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
        CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO: 2010-061928-CA-01
        SECTION: CA05
        JUDGE: Vivianne Del Rio

        U S Bank (na)
        Plaintiff(s)
        vs.

        Williams, Leroy
        Defendant(s)


                                                ORDER OF RECUSAL

        Docket Index Number:
        Or
        Efiling Number:                Date Filed: 05/11/2023
        Full Name of Motion: Order of Recusal

               THIS CAUSE, came before the Court sua sponte, and the Court being fully advised in the
        premises, it is hereby:

               ORDERED AND ADJUDGED

              1. That the undersigned Circuit Court Judge hereby recuses himself/herself from further
                 consideration of this case.

              2. This case shall be reassigned to another section of the Circuit Civil Division in accordance
                 with established procedures.




   Case No: 2010-061928-CA-01                                                                              Page 1 of3
      USCA11 Case: 24-13671       Document: 10     Date Filed: 11/29/2024   Page: 70 of 178



     DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 11th dav of Mav.
     2023.




                                                       2010-061928-CA-01 05-11-2023 10:49 AM
                                                         Hon. Vivianne Del Rio
                                                            CIRCUIT COURT JUDGE
                                                            Electronically Signed




       No Further Judicial Action Required on THIS MOTION

       CLERK TO RECLOSE CASE IF POST JUDGMENT


     Electronically Served:
     Altanese Phenelus, yvaldes@miamidade.gov
     Carlos Calle, mrstreetsproductions@gmail.com
     Carlos Calle, mrstreetsproductions@gmail.com
     Carlos Calle, mrstreetsproductions@gmail.com
     Giuseppe Salvatore Cataudella, FLeFileTeam@brockandscott.com
     Giuseppe Salvatore Cataudella, FL.CourtDocs@brockandscott.com
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    Jossie Zuniga, jzuniga@judl 1 .flcourts.org
    Julie Anthousis, FLeFileTeam@brockandscott.com


Case No: 2010-061928-CA-01                                                              Page 2 of 3
      USCA11 Case: 24-13671         Document: 10      Date Filed: 11/29/2024     Page: 71 of 178


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     Kara Leah Fredrickson, FLeFileTeam@brockandscott.com
     Kara Leah Fredrickson, FL.CourtDocs@brockandscott.com
     Kara Leah Fredrickson, CourtXpress@firmsolutions.us
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     maurice symonette, bossl@clerk.com



     Physically Served:




Case No: 2010-061928-CA-01                                                                   Page 3 of 3
USCA11 Case: 24-13671                        Document: 10         Date Filed: 11/29/2024                 Page: 72 of 178




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USCA11 Case: 24-13671          Document: 10         Date Filed: 11/29/2024         Page: 75 of 178
               IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                                             IN AND FOR
                       MIAMI DADE COUNTY FLORIDA CIVIL ACTION


          MAURICE SYMONETTE

          Plaintiff

                                                                          CASE NO: 2021-
                                                   10826-CA01
          v.

          U.S. BANK, NATIONAL ASSOCIATION,
          AS TRUSTEE FOR RASC
          2005AAHL3, MERS, FRANKLYN
          CREDIT MANAGEMENT CORP and
          AXIOM FINANCIAL SERVICES

          Defendants,



                        MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL.
                        VACATION OF ORDERS AND MEMORANDUM OF
                                         LAW


      Pursuant to Florida Stat. 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil
      Procedure Rule 60, Plaintiff MAURICE SYMONETTE hereby files this Motion for
      Relief & Recusal and Supporting Memorandum regarding the June 25 2010 Valerie
      Manno Schurr Freview of the record and Final Judgement Order, Exhibit. J because it
      injured us. based on the following facts, new information, just terms, judicial
      misconduct, fraudulent grounds and discovered conflict of personal investment
      interests on Financial Disclosures of Judges and officers of this Court (Exhibits # B)
      Attached- U.S. BANK Special Situation Property Funds Account Page 42. IFRS 2018
      Tables^l3,SECEilings^U^S^BANKnoridaSubsidiariesTJudgeVaIerie^Manno
      Shurr Financial Interests & Property Disclosures).

      Florida Rule 2.160 (H) Says A Judge
      must Vacate her orders for Conflict of
      Interest like the orders judge valerie
USCA11 Case: 24-13671       Document: 10       Date Filed: 11/29/2024      Page: 76 of 178

      MANNO SHURR DID IN THE ILLEGAL EXPARTE
      HEARING 06/25/2010 WHERE SHE CHANGED
      THE ORDER OF DISMISSAL WITH PREJUDICE
      TO DISMISSAL WITHOUT PREJUDICE MR
      RETURN THAT BACK TO DISMISSED WITH
      PREUDICE AND ALL HER OTHER ORDERS SHE
      DID IN THE NEW CASE 2022. Theodore R. Bundy V.
      Judee John A. Rudd. FI. Rule 2.160 (D) (1). FL Code Jud.
      Conduct Canon 3E (1) A Judee shall disqualify herself where
      impartiality mieht reasonably be questioned Rule 2.160 (D)
      (1) and grounds to disqualify is a party fears that the Judge is
      Biased, FL Statue 112.312 (8) and Judee can’t have a conflict
      of Interest!

      Judge Valerie Schurr must Recuse herself for an open obvious Conflict of
      Interest because she's and was doing business with US Bank, GMAC and
      OCWEN and helping them to make money so that she can make money
      by foreclosing and taking (stealing) our property while acting as the
      Judge on the case on our property, not on case's Merits but for to make
      her and them money Illegally. Here's proof.


 NOW I'M REPORTING IUDGE SHURR TO THE
 ADMINISTRATIVE IUDGE WHO APPOINTS IIJDGKS TO CASES.
 GOVERNOR PE SANTIS. THE IOC. THE BAR. THE IJS DPI. THE
 FBI. THE FEORIDA STATE ATTONF.Y AND MEDIA FOR
 OBVIOUS RACIST MISCONDUCT. BY TOTALLY IGNORING
 FEORIDA STATUTES-RIII.ES AND FOR GRA7.Y OBVIOUS
 CONFLICTS OF INTEREST
USCA11 Case: 24-13671   Document: 10   Date Filed: 11/29/2024   Page: 77 of 178

  Because something strange has Happened out of nowhere! Judge Valerie

 Manno Schurr's SIGNATURE and NAME shows up on the DISMISSAL WITH

 PREJUDICE that was done by Judge ZABEL's Order of Dismissal With

  PREJUDICE 04/07/2010 THE YEAR AFTER Judge Valerie Manno Shurr

  BECOMES JUDGE RIGHT BEFORE SHE mistereouly dose another Dismissal with

 Prejudice 04/07/2010 exactly one year after Judge label's      /   /     Order

 of Dismissal With Prejudice to take over our case to save U.S. BANK FROM US

 and save JUDGE ZABEL, THEIR LAWYERS FROM THE WRATH OF THEIR BOSS

  GMAC (US BANKJWHO HAD ALREADY PAID THEM TO SAVE U.S. BANK

 FROM US. JUDGE VALERIE MANNO SHURR is who we're just now finding out

 that THE BANKS PAID HER TO TRICK US INTO BELIEVING THAT WE WERE SAFE

 FROM US BANK WITH THE DISMISSAL WITH PREJUDICE AND THEN THREE

 MONTHS LATER JUDGE VALERIE MANNO SHURR CHANGES IT TO DISMISSAL

 WITHOUT PREJUDICE IN AN ILLEGAL EXPARTE HEARING WITHOUT US

 KNOWING SO THAT US BANK COULD AND START THE SAME CASE OVER

 WITHOUT NOTICE TO US! WHY DID GMAC (US BANK) PAY JUDGE

 VALARIE MANNO SHURR TO AKE OVER OUR CASE WAS BECAUSE JUDGE ZABEL

 DISMISSED WITHPREJUDICE US BANK'S CASE          7^2009 AS SEEN13 N THE

 DOCKET CASE NUMBER 2007-12407-CA-01 LINE 10, Exh. C. And FORD MOTOR

 CO. V. CALLOWAY SAYS A JUDGE CAN'T CHANGE ANOTHER JUDGE'S ORDER SO,

 JUDGE VALARIE MANNO SHURR FILED HER DUPLICATE DISMISSAL WITH

 PREJUDICE SAMPLE ZABEL 'S ORDER FILED       /   /      AND SHURR'S
USCA11 Case: 24-13671   Document: 10    Date Filed: 11/29/2024   Page: 78 of 178

  DUPLICATE ORDER FILED 04/07/2010 AS SEEN ON THE DOCKET CASE NUMBER

  2007-12407-CA-01 LINE 10 AND 11, Exh. C. ALL DONE SO THAT SHE COULD IN

  AN ILLEGAL EXPARTE HEARING IN VIOLATION OF FLORIDA STAT. 702.07 WITH

  THE PLAINTIFF US BANK CHANGE HER OWN ORDER TO DISMISSAL WITHOUT

  PREJUDICE, Exh. F. TO HELP GMAC (US BANKK STEAL SO THEY CAN

  ALL MAKE MONEY OFF OF HELPLESS BLACKS. USING BIG BAD JUDGES

  AND LAWYERS!The Proof that JUDGE VALARIE MANNO SHURR made MONEY

 to help them is on her Form 6 FULL AND PUBLIC DISCLOSURE OF FINANCIAL

  INTEREST SWORN AFFIDAVIT OATH of 2008 that shows on Part C. Liabilities

  section that alShe has $995,000.00 and $91,498.00 from GMAC which is the

  Servicer and owner RESIDENTIAL FUNDING CORPORATION in their notice of

 transfer said they were controlling our payments as Servicer from at least

  1/1/2007 on the Mortgage Payment Coupon at the bottom of the Transfer

 Letter, Exh.S. and $129,000,00 from Wells Fargo which is US BANK NATIONAL

 ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3, Exh.(DD). And Judge Shurr

 has $129,000,00 from Wells Fargo which is US BANK NATIONAL ASSOCIATION

 AS TRUSTEE FOR RASC 2005 AHL3, Exh.(DD ) then in 2009 form 6 it shows

 GMAC MORTGAGE of $410,000.00 and Credit line with GMAC. and $ 128,000

 Wachovia which is Wells Fargo which is US BANK, Exh.(EE) and then she allows

 an Illegal Ex parte Hearing with US Bank National Attorneys to change her

 order which is really Judge ZabeTs Order from DISMISSED WITH PREJUDICE in

 April 6th, 2010 Exh. (F3) to change the Dismissed with Prejudice 3 months later
USCA11 Case: 24-13671      Document: 10    Date Filed: 11/29/2024   Page: 79 of 178

  in June 27th 2010 into DISMISSED WITHOUT PREJUDICE In this Ex Parte

  hearing Exh.(F). which is only supposed to be done with only the Defendants

  that are about to lose their home to the Foreclosure Sale and this must be done

  before the sale of the House according to FI. Statute 107.07, (during the interim

  GMAC also had a Florida Default Letter as the Servicer) and after that

  wonderful gift Judgement to US Bank National Association and helping Judge

  Zabel out of the mess for doing a Judgment without a Docketed Complaint, Note,

  Allonge, Mortgage or an Assignment from the Records which was literally

  Criminal, Thievery of our house. Then suddenly In her 2010 Form 6 Disclosure

  of Financial Interest, Exh.(FF), it shows a $400,000.00 gift from GMAC and

  shows $1,000,000.00 from Wells Fargo which is US Bank, Exh. (EEE). All of this

  is pay to Play RICO Conspiracy to Steal Black Peoples Houses which they're also

  doing to White European Gentiles! US BANKS only lawful Remedy was to Appeal the

  Dismissal with Prejudice within 30 days according to Florida Appelate Rule 4

  (a)(1)(A). But now a case that was Dismissed with Prejudice was given life again by

 Judge Valerie Marino Schurr's illegal Ex parte hearing and changing the Dismissal

 with Prejudice to Dismissal without Prejudice which allowed US BANK to secretly file

 another Foreclosure Case against the House at 15020 South River Drive Miami

 Florida 33167 and US Bank did file another case which was a continuance of the

 same Case from 2007 which is called Case Number 2007-12407-CA01 that was

 Dismissed with Prejudice and Secretly changed to Dismissed without Prejudice and

 without any notice to us in 2010 called Case number 2010-61928-CA01 this 2010
USCA11 Case: 24-13671      Document: 10      Date Filed: 11/29/2024    Page: 80 of 178

 was also done without the Original Mortgage, Assignment and Docs. Original of the

  Note, Allonge to the Note, and the second Allonge from Fannie Mae or

 indemnification info that indemnifies Fannie Mae and there must be the Loan

  Number, Date and the printed name of the Signer as required by Federal Fannie Mae

  Rules B8-3-04 for Fannie Mae of which none of this is on the copy of the Allonge

 recorded on the Docket, Exh. LL. And JUDGE VALERIE MANNO SHURR has taken my

 new Case again to finish what she started by Ruling in favor of US BANK and GMAC

 with worst Conflicts of Interests that she's trying to hide so that she can Rule in the

 Bank's Favor to illegally. Because in her FORM 6 - 2019 and 2020 Financial

 Disclosure Affidavit she has over 11,192,000.00 million, plus on line 5 she states that

 she has a $400,000.00 Mortgage with City National Bank that is Royal Bank of

 Canada which is Wells Fargo, Exh. SS. and Wells Fargo is US Bank the Bank Judge

 Valerie Manno Shurr is helping to illegally Foreclose on us, Exh. TT. The other conflict

 is Shurr's $400,000.00 Mortgage Holder City National Bank that is Royal Bank of

 Canada Which is Morgan Stanly/ JP MORGAN, Exh. VW, which is US BANCORP/ US

 BANK, Exh. W. and Exh. X. all this is CITY NATIONAL BANK Exh. SS, Who Merged with

 Wachovia Bank who admitted the were SLAVE MASTERS OF BLACK PEOPLE, Exh.UU.



 judge accumulated 11 million dollars on a JUDGE'S SALLARY, I Demand to see where

 all that money This is the BANK that was served my law suite by an official Servicer

 acknowledge by US BANK which by Florida Statute they hod only 20 days to answer

 but they never answered for six months while we trying to Default them the whole
USCA11 Case: 24-13671     Document: 10     Date Filed: 11/29/2024    Page: 81 of 178

 time, yet JUDGE VALERIE MANNO SHURR with her millions of dollars of Conflicts of

 interest helped US Bank by not ever Defaulting them no matter what the laws and

 rules say I Really don't stand a chance in this fight because the referee (JUDGE

 SHURR) is being paid by my Opponents to Rule only in their (US BANK'S-GOLIATH'S)

 favor I AM Detroyed and CRUCIFIED by these Wicked Animals who break all the

 Laws and kill BLACK PEOPLE and hold themselves not GUILTY by these CROOKED

 EVIL JUDGES like JUDGE VALERIE MANNO SHURR and I know they are Plotting to

 KILL me right now, K.J.V. BIBLE= ZECHARIAH 11:5!!!!! Axiom Financial

 Services now refered to as (AFS) is the Bank the Note was done with and (AFS)

 sold the Note with the MIN. Account number 100176105062733203{M at the

 bottom of each page of the adjustable rate Note Exh.fNN) with the Cusip Number

 315912873 to Fidelity Strategic Real Return Fund according to the CUSIP search

 bv CUSIPONE EXPERT CUSIP search service as stated bv The Expert Witness

 Affidavit of Fact Wesley Tarvis. Trustee for CUSIPONE Trust. Exh. (00). The fAFSl

 Note was sold by fAFS) 9/7/2005 three months after Leroy Williams signed the

 (AFS) Note and is with Fidelity Strategic Real Return Fund until this day according

 to The CUSIPOne Expert Witness Exh. fPPl So the (AFS1 Note never went to US

 BANK NATIONAL ASSOCIATION AS TRUSTEE FOR RASC 2005 AHL3 now referred

 to as (USB). So (USB) cannot Foreclose on this (AFS) Note nor anyone of the above

 stated Defendants because they don't own the Note and even Fidelity Strategic

 Real Return Fund cannot Foreclose because fUSB) in 2007 did a Publigation to

 Foreclose on the fAFSl Note and Fidelity Strategic Real Return Fund did not Object
USCA11 Case: 24-13671         Document: 10       Date Filed: 11/29/2024        Page: 82 of 178

  or Intervene within 30 days of the publication of the Foreclosure of 2007 of

  Fidelity Strategic Real Return Fund standing to Foreclose according to FI. Stat. f)

  Exh, fpp) or any Interest in the Note and therefore they have no standing And

  according to the SEC - FASB GAAP Rules once a Note is sold on the Market it must

  be burned and Destroyed because a Note cannot exist at the same time that a stock.

  bond or fund exist because that is Double Dipping using the Fund and the Note

  ILLEGALLY. 6.PIaintiff has had exclusive, complete, actual, open, notorious, hostile,

  and continuous possession of the Property adverse to defendants for more than 17

 years. Plaintiff has made and paid for all repais and upkeep, on the property for the

  past 17 years..

       Judge Valerie Manno Schurr says that GMAC BANK on her form 6 full and public
       disclosure of Financial interests is a Bank she's doing business with, because
       she's doing business with GMAC/ U.S. BANK and helping them to make money
       so that she can make money by foreclosing and taking our property proof: In her
       Form 6. from Tallahassee called FULL AND PUBLIC DISCLOSURE OF
       FINANCIAL, form 6, Exh. A. Says on line 5 and 6: Judge Valerie Schurr is
       Doing Business with GMAC with a Mortgage from GMAC for $91,438.00 and
       $995,000.00, And GMAC BANK is U.S. BANK, Exh. El. and E2. Because in her
       FORM 6 - 2019 and 2020 Financial Disclosure Affidavit she has over
       11,192,000.00 million, plus on line 5 she states that she has a
       $400,000.00 Mortgage with City National Bank that is Royal Bank of
       Canada which is Wells Fargo. Exh. SS. and Wells Fargo is US~ Bank the
       Bank Judge Valerie Manno Shurr is helping to illegally Foreclose on us,
       Exh. TT. The other conflict is Shurr's $400,000.00 Mortgage Holder
       City National Bank that is Royal Bank of Canada Which is Morgan
       Stanly/ JP MORGAN, Exh. VW, which is US BANCORP/ US BANK, Exh.
       W. and Exh. X. all this is CITY NATIONAL BANK Exh. SS, Who Merged
       with Wachovia Bank who admitted the were SLAVE MASTERS OF
USCA11 Case: 24-13671        Document: 10         Date Filed: 11/29/2024         Page: 83 of 178


      BLACK PEOPLE, Exh.UU. to All of this is a major Conflict of Interest. She and
      other Judges who have the same conflict of interest has ruled in favor of, U.S.
      Bank, EXH. C F. of these Conflict of Interest against us and there's more. I have
      found that our case was directed to her and other Judges in this Pool, So she
      must recuse herself and vacate her Order, Exh. F, So Valerie Schurr you must
      Recuse YOUR SELF VACTE ALL YOUR ORDERS NOW! AND I PRAY THAT YOU
      DON'T SPACE FOR ANNOTHER JUDGE TO ORDER THA T YOUR ORDER TO
      DISMISS WITHOUT PREJUDICE IS ILLEGALLY BE UPHELD!



                                 FACTUAL BACKGROUND


          1. Judge Zabel got very angry with U.S. Bank and decided to
         dismiss the case with Prejudice between 2007 and 2008 but
         Judge Valerie Manno Shurr some how ended up being the Judge
         who signed the Order On APRIL6,2010 Judge Valerie Schurr issued a
         final Judgment order Exhibit.A IN FAVOR of Leroy Williams to dismiss
         the Foreclosure case against him with Prejudice whose property is
         now Quitclaimed to Plaintiff Maurice Symonette in the former case
         no: 07-12407CA01 where U.S. BANK could never produce the
         promissory Note though they were asked by the Judge several times
         but never did bring it forth, Exhibit. I. and then after three months
         and GMAC doing business fPavoffl ludge Valerie Manno Shurr ! on
         tune 25 2010. issued a Issued another Order that changed Zabel and
         Valerie Manno Schurr's Order from dismissed with Prejudice to
         suddenly dismissed without Prejudice in an illegal Ex Parte hearing with
         her and her Business Partner's U.S. Bank/GMAC and Judge Valerier
         Manno Schurr is now the same^|udge with4-he-same^CQnfliets of4nterest-
         rulling on the same case and property with the same business partners
         against Maurice Symonette concerning the same property this is wide
         open Crazy! And Sad! That this Court is Strong Arming,. Bullying and just
         taking our house like gangsters with the Full strength of the Police
         against the helpless these gangster ways has her now gone and went
         from a few Million Dollars to now over $20 million Dollars with the same
         business Partners as a quasi-defense attorney for U.S. BANK her
USCA11 Case: 24-13671           Document: 10         Date Filed: 11/29/2024           Page: 84 of 178




            personal investment Partner to make money together. Plaintiff
            MAURICE SYMONETTE has now subsequently provided the
            United States Department of Justice (DOJ) on specific newlv
            discovered whistle blower information and records regarding
            millions of dollars in exposed fraudulent foreclosure claims made by
            the Defendants U.S. BANK, Clerks and Court officers in this action.
            Exhibit, 0. GMAC does not own the Note.




                                   MEMORANDUM OF LAW



                The Defendants maintains timely Constitutional due process civil
            rights for Florida Rule 2.160 (H) and Federal Rule 60 Relief to close
            this case with the original Dismissal with Prejudice in our Defendants
            favor with requirement of Valerie Schurr Recusal based on exposed
           financial conflicts of interests Fla. Stat.l 12.312 (8V9L

            Rule 2.160 (H) and FRCP Rule 60, relieffiom .Judgment Or Order
       and to Vacate Order .

            There is to be no conflict of interest with the Judge and the Plaintiff
           against DEFENDANTS. LIKE


   (!) mistake, inadvertence, surprise, or excusable neglect;

   (2) newly discovered evidence that, with reasonable diligence, could not have been discovered in
   time to move for a new trial under Rule 59(b);



           3. Fraud whether previously called intrinsic or extrinsic, misrepresentation
              or misconduct by an Opposing party



                 A Judge is expected to Recuse herself according to Fla. Code Jud.
           Conduct, Canon 3E (1), Fla. Rule 2.160 (A) (H), Fla. Statute 112.312
           (8) and pursuant to 28 U.S, C. § 455 Under § 455(a), Recusal is
           mandatory in “any proceeding in which Judge’s impartiality might
           reasonably be questioned.” Under Fla. Code Jud. Conduct, Canon 3E (1)
 USCA11 Case: 24-13671          Document: 10       Date Filed: 11/29/2024        Page: 85 of 178

                  and § 455(b), a judge is expected to disqualify herself whenever
             any of the five statutorily prescribed criteria can be shown to exist in
             fact; even if no motion or affidavit seeking such relief has been filed,
             and regardless of whether a reasonable person would question the
            judge’s impartiality,

  Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160 [A) (H), Fla.
 Statute 112.312 (8} and Section 455(b) he shall also disqualify himself
 in the following circumstancess.
(4) He knows that he, individually or as afiduciary, or his spouse or minor child residing in his
household, has a financial interest in the subject matter in controversy or in a party to the
proceeding, or any other interest that could be substantially affected by the outcome of the
proceedings

(d)(1) “financial interest" means ownership ofa legal or equitable interest however small
                                            CONCLUSION

                 This Motion for Relief by Vacating Order Judgments Florida Rule
            2.160 (H)    and Recusal is based on new facts, related to a whistle
            blower’s information,     willful blindness,   fraud, misconduct, and
            discovered evidence unknown at the time of the original Complaint
            filing Plaintiff could not reasonably know the financial dealings with
            Defendants of a yet to be assigned judge before the original Complaint
            filing As previously displayed by his Dismissal Order, due to cited
            improper financial conflicts of interest, Judge Valerie Schurr was
            incapable of impartially and without animus against Pro-Se Plaintiff or
            to exercise unbiased judicial duties required for due process justice in
            this case^ knowingly-because nobody forgets how and whv they get
            $995TOOOTOOatlheti me that we asked THE ACTUAL JUDGE, JUDGE
            ZABEL to Dismiss our case With Prejudice. So that JUDGE VALERIE
            MANNO SHURR was paid to and would change the Order to
            DISMISSAL WITHOUT PREJUDICE!!!

                 Judge Valerie Schurr has creditor loan history and business with
            Defendant U.S BANK MERS and GMAC that caused THIS
USCA11 Case: 24-13671           Document: 10        Date Filed: 11/29/2024          Page: 86 of 178

                  preferential Quid Pro Quo treatment by her .sua sponte review and
         Final Judgment Order. Judge Valerie Shurr has significant exposed
         investor financial interests in the subject matter in controversy and with
         Defendants U.S. BANK that will be substantially negatively affected by
         the outcome of that proceedings when the Plaintiff “ultimately prevails
         and promotes in paid for adds in the media. Because people can’t win
         when the Judge is on the side of the Banksters to steal property and
         money off their Prey!

                  Example of Judges who already recused themselves from U.S.
         BANK

      1. JUDGE DARRIN P. GAYLES Exhibit, P.
      2. THOMAS WILLIAMS Exhibit, Q.
      3. JUDGE BARBARA ARECES Exhibit R.


                                           REQUIRED RELIEF



                  Pursuant to Fla. Code Jud. Conduct, Canon 3E(1), Fla. Rule 2.160
         (A) (H), Fla. Statute 112.312 (8) and Federal Rules of Civil Procedure
         Rule 60, Plaintiff requires Relief from the June. 25. 2010 Final judgment
         Order TExhibitJ. based upon the stated facts, just terms, cited
         misconduct, Rule 60 grounds and newly discovered banking real estate
         fraud by court officers.
                  Said Reopening Relief would require the vacating of his order and
         Recusal of Judge Valerie Schurr from this and any future related U.S.
         BANK banking real estate cases in this District. The Dismissal Order
         Relief also requires that all parties be reinstated to their prior positions
         in this action (Dismissal with Prejudice) requiring Clerk issuance of
         Summons upon the Defendants and-allow the-filing of a Motion to
         dismiss theJiinal-Judgment forxau'ser^foimds and reasons stated herein
         filed.
USCA11 Case: 24-13671           Document: 10    Date Filed: 11/29/2024     Page: 87 of 178

                                     CERTIFICATE OF SERVICE
                   I HEREBY CERTIFY that on 5th day of Jan. 2020 a true and
            correct copy of the foregoing was provided via this Court's etectronic
            filing system to the attorneys of record



                            C

       /
      Maurice symonette
       15020 S. RIVER DR.
       MIAMI FL. 33167




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           USCA11 Case: 24-13671        Document: 10                  Date Filed: 11/29/2024           Page: 88 of 178

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           USCA11 Case: 24-13671                       Document: 10          Date Filed: 11/29/2024                 Page: 89 of 178     7

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                   4.         The Notice of Lis Pendens filed by Plaintiff and recorded in the public records of M1AMI-DADE

           County, Florida, regarding the below-described property:

                               LOT 105, BISCAYNE GARDENS SECTION F PART 1, ACCORDING TO
                               THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 44, PAGE 46, OF
                               THE PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA.


           be and same hereby is canceled, vacated, discharged and shall be of no further force or effect, and the Clerk is hereby

           directed to record this Order to reflect same.
                   5.        The Final Summary Judgment heretofore entered on August 09, 2007, be and the same hereby is set

           aside and shall be of no further force or effect,

                    6.       The Plaintiff requests that the original Note and Mortgage be returned to the Plaintiff and

           photostatic copies shall be substituted in their place.

                   DONE AND ORDERED in Chambers in MIAMI-DADE County, Florida, this                                            day of

                                             , 2010.



                         JUN 2 3 2010                                         E R. MANNO SCHURR
                                                                     Circuit Court Judge

          Copies furnished to:                                                                         VALERIE MANNO SCHURR
          Florida Default Law Group, P.L.                                                              CIRCUIT COURT JUDGE
          P.O. Box 25018
          Tampa, Florida 33622-5018
          All parties on the attached service list.
          F07012148- M010502
          GMAC-CONV—abiven




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     FORM 6                         FULL AND PUBLIC DISCLOSURE OF                                                                                  2008
                                       I FINANCIAL INTERESTS
                                                                                                                                   COMUSSION ON E7HCS
                                                                                                       FOR OFFICE                     DATE RECEIVED
                                                                                                       USE ONLY:
            *"*~~—AUTO-J-OlOrr 331 t2 P2     0                                                                                        M C t- 798*
            Hon Valene R Manno Schurr
            Circuit Judge                                                                                           ID Code!
            Judicial Circuit (11 Th)
            Elected Constitutional Officer
            Dade County Courthosue Rm 1105
            73 W Flagler St
                                                                 PROCESSED                                          ID No              210380
            Miami, FL 33130-1731
                                                                                                                    Conf. Code
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                                                                                                                    P. Req. Code

                                                                                                                Manno Schurr, Valerie R.
  CHECK IF THIS IS A FILING BY A CANDIDATE            □

                                                                 PART A - NET WORTH
  Please enter the value of your net worth as of December 31. 2008. or a more current date. (Note: Net worth is not calculated by subtracting your reported
  liabilities from your reported assets, so please see the instructions on page 3 ]
                              My net worth as of                            3A        20£fflL was $       28QD' 3S7. 00.
                                                                     PART B - ASSETS
  HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported in a lump sum i* 'heir aggregate value exceeds $1,000. This category includes any of the following,
   If not held for investment purposes: jewelry; collections of stamps, guns and r jrnsmatic items; art objects: household equipment and furnishings; clothing
   other household items; and vehicles for personal use

    The aggregate value of my household goods and personal effects (do? '’fc-     ibovo) is $      !&>, am • m
  ASSETS MDAflDUALLY VALUED AT OVER $1,000:
  _____________ DESCRIPTION OF ASSET (specific description la/equlrod - see Instructions p.4)                                           VALUE OF ASSET

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                                                                PART C - U ABILITIES
 LIABILITIES IN EXCESS OF $1,000:
                 NAME AND ADDRESS OF CREDITOR                                                                                        AMOUNT OF LIABILITY



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                  NAME AND ADDRESS OF CREDITOR                                                                                      AMOUNT OF LIABILITY


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       FORM 6                     FULL AND PUBLIC DISCLOSURE OF                                                                                    2009
                                       FINANCIAL INTERESTS
                                                                                                        FOR OFFICE
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          Hon Valerie R. Manno Schurr
          Circuit Judge
                                                                     PROCESSED                                      ID Code


          Judicial Circuit (11Th)
                                                                                                                    ID No
          Elected Constitutional Officer                                                                                                  210380
          73 W FLAGLER ST DADE COUNTY COURTHOSUE RM
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          1105
          MIAMI. FL 33130                                                                                           P. Req. Code


                                                                                                                  Manno Schurr, Valerie R.
 CHECK IF THIS IS A FILING BY A CANDIDATE            □

                                                                   PART A - NET WORTH
  Please enter the value of /our net worth as of December 31, 2009. or a more current date [Note Net worth is not calculated by subtracting your reported
  Itebitittes from your reported assets, so please see the instructions on page 3.J
                          My net worth as of                 \)        L        l    . 20       was $        ^    ^ __± ^ S L-



                                                                     PART B - ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported in a lump sum rf their aggregate value exceeds $1.000 This category includes any of the following.
   «f not held for investment purposes. Jewelry, collections of stamps, guns, and numismatic items, art objects, household equipment and furnishings: clothing;
   other household items, and vehicles for personal use

   The aggregate value of my household goods and personal effects (described above) is $_

 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
               DESCRIPTION OF ASSET (specific description is required - see Instruct                  P-4)                              VALUE OF ASSET

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             NAME AND ADDRESS OF CREDITOR
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      USCA11 Case: 24-13671       Document: 10      Date Filed: 11/29/2024         Page: 92 of 178

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                     American                                         based in
                                       i              , and incorporated in
                                   .       It is the parent company of U.S.
                     Bank National Association, which is the 5th
                                                     . The
                     company provides banking, investment,
V *

                     mortgage, trust, and payment services
                     products to individuals, businesses,
                     governmental entities, and other financial
                     institutions. It has 3,106                       and 4,842
                          , , primarily in the Midwestern
                              ,    and has approximately 72,400
                    employees.              The company also owns - ■■••r,
                    a processor of credit card transactions. U.S.
                    Bancorp operates under the second-oldest
                    continuous national charter, originally Charter
                    #24, granted in 1863 following the passage of
                    the                          . . Earlier charters have
                    expired as banks were closed or acquired,
                    raising U.S. Bank's'charter number from #24 to

                    #2. The oldest national charter, originally
                    granted to the -                              __________
                       _______ , is heldby----------                  rwfrieh-rt
                    obtained upon its merger with


                                              U.S. Bancorp



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          USCA11 Case: 24-13671                   Document: 10              Date Filed: 11/29/2024                Page: 93 of 178
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   3

                         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICLCL CIRCUIT «
                                 IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                              CIVIL ACTION

             US BANK, N.A.,                                                                   I
                   Plaintiff,

                                          CASE NO.           2007-12407-CA
             vs.                          DIVISION           32                               i


                                                                                              SPACE for reco     ONU F.S §0520



            LEROY WILLIAMS; MARK WELLS; FRANKLIN
            CREDIT MANAGEMENT CORPORATION; CITY
                                                                                                                     ... g .*
                                                                                                                                 ro
            OF NORTH MIAMI;                                                                                                      <_n
                       Defends nt(s).                                                                                            -o
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                                                                                                                                            O
                                                                                                                                      cP     a
                                                                                                                             v
                                                                                                                             V        • •
                                                                                                                                             -o
             FINAL ORDER DIS1VUSSFNC.CASE. CANf                            FORECLOSURE SALE. CANCELING                                      OT

                                                            PHOTOSTATIC COPIES


                    THIS CAUSE having come on before the Court, ex parte, pursuant to the Motion filed by the Plaintiff; pursuant

            to Section 702.07 Florida Statutes (2005), and the Court being otherwise fully advised in the premises, it is,

                    ORDERED AND ADJUDGED as follows:
                                                                                                                                                  I
                    1.       The case be and the same hereby is dismissed, but without prejudice to the future rights of the Plaintiff to

            bring an action to foreclose the mortgage which is the subject matter of the instant cause.

                     2.      All Counts of the Complaint against Defendants: LEROY WILLIAMS; MARK WELLS;

            FRANKLfN CREDIT MANAGEMENT CORPORATION; CITY OF NORTH MIAMI; are hereby dismissed.



                   3.        Any scheduled foreclosure sale is canceled.




                                                                                   Serial: 13666522
            FILE_NUM8ER; F07012148                                                 DOCJD: M010502
                                                                                                  !




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       x
                                                                IN THE CIRCUIT COURT OF THE
                                                                11 ™ JUDICIAL CIRCUIT IN AND
                                                                 FOR DADE COUNTY. FLORIDA

                                                              GENERAL JURISDICTION DIVISION

                                                                         CASE NO: 2007-12407-cal

                 US Bank ,N.A.                                   April 1,2010
                     Plaintiffs)

                 Vs.

                 Leroy Williams
                      Defendant(s)

                         ORDER OEJQISMISSAL WITH PREJUDICE

                   This action was heard on the defendants motion to dismiss for lack of prosecution
                 Served on April 11,2008. The court finds that (1) notice prescribed by rule 1.40 (e)
                 Was served on April 11,2008; (2) their was no record activity for the year preceding
                 Service of the foregoing notice; (3) no stay has been issued or approved by the court
                 And (4) no party has shown good cause why this action should remain pending.
                 Accordingly,
                  IT IS ORDERED That this action is Dismissed for lack of Prosecution with Prejudice
                  DONE AND ORDERED in chambers, at Miami, dade county, Florida this 31 th day of
                  March, 2010.


                            APR 06                APR 06 m
                                                                         ClR'eOlT COURT JUDGE


                                                                                      as®

       Cc-

                                                                 STATE Of FLORIDA, CO’JKTY OF M.AV-COE
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        Address:       15020 SOUTH RIVES DRIVE
                       MIAMI, El 22167
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                                        ALLONGE TO NOTE


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             Homecomings Financial is owned by GMAC-
             RFC, an international financial services
             corporation which earns major profits each
             year, such as $2.9 billion in 2004. Register your
             Homecomings Financial Network Complaint

             Homecomings Financial Network - Big...
             www.bigclassaction.com/lawsuit/homecomings_fin...


                                                             Feedback



             PEOPLE ALSO ASK


             Where is the homecomings financial mortgage
             company located?


             When did homecomings financial go out of
             business?


             Is there a GMAC Bank that accepts mortgages?          \/



             Attestation Report - GMAC Mortgage, LLC                               c^y
             and Homecomings...
            https://www.sec.gev/Archivos/odgar/data/138332...           Tt

            We have examined GMAC Mortgage, LLC (the
            "Company"), for itself and its affiliated servicing
            participant Homecomings Financial, LLC (both
            subsidiaries of Residential Capital, LLC), compliance
            with the servicing criteria set forth in Item 1122(d) ...




            HOMECOMINftSJIMAMfflAbi LLC, a
    USCA11 Case: 24-13671              Document: 10           Date Filed: 11/29/2024             Page: 97 of 178
I



                                            AFFIDAVIT OF FACT
                                                                                             4



      STATE: OHIO
      COUNTY: FAIRFIFXD                                                                                                     '■




      The undersigned. Wesley Jan'is. Trustee for CUSIPONE Trust, hereby states and confirms that l»c is of
      lega l age and competent to state on belief and personal knowledge that the facts set forth herein, as duly
      noted below are true, correct, complete and presented in good faith, establish that:
                                                                                                                        <



              I.      The CUSIP numbers attached for LEROY WILLIAMS, for an account bearing number
      /001 76105062733202, were searched through independent databases, confirmed with trading desks, and
     at least one interest was confirmed as per the reports issued and attached as a result.

                      The Fund Manager, or other custodians) of the accounts of the fund(s) ma> have access
     It) internal records indicating detailed data about the percentage of interest as held for the account of
     LEROY WILLIAMS.

             3.       More than one fund may have an interest in the accounts of LEROY WILLIAMS.

     FURTHER AFFIANT S^YETH NOT.


    • Signed and sealed this                                            in the Year of our Lord, two thousand
      tweniv-two (2022).


                                                                        X
                                                       All Rights Reserved.
                                                                    /
                                                       For WES LEY JARVIS


                                                       Wesiev J. Jams, trustee           _


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USCA11 Case: 24-13671             Document: 10            Date Filed: 11/29/2024        Page: 98 of 178

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                                                     JURAT
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  Stale of   y,. r\,   .                     )

  Subscribed and Affirmed                    )

  County of } -«                             >



          On       ;                                                    \
                                   ..1- * 2022 Kforc mc- _ '        ‘     .* » A l        (notary public)
  personally appeared Weslev J. Jarvis I j personally known to me or IsJ proved to me on ihe basis of
  satisfactory evidence, to be the person whose name is subscribed to above and acknow lodged to me that
  he executed the same in his authorized capacity.

  I now'affix my signature and official seal to these affirmations.
                     ^                                    (Signature)


 Notary Public State of__   .Cih.                                       Seal:
 My Commission fxpircs:         ’*/ iU 1




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USCA11 Case: 24-13671          Document: 10      Date Filed: 11/29/2024
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                                                                              Page: 99 of 178



                           Your CUS1P Results are as follows:
                                                                         V



 “ — LEROY WILLIAMS (AGGT 100176105062733202 IMINJ)
     Fidelity Advisor Strategic Real Return Fund
     Symbol:                         FSRAX
                                     i nrf yyi 'urn
     CUS1P:                          315912873

    Inception Date:                 9/7/2005
    Net Assets:                     $462,624,000.00 as of
                                    12/3/2021
    Portfolio Assets:               $462,624,000.00 as of
                                    12/3/2021




    A little about the Fund:

    Fidelity Strategic Real Return Fund seeks real return consistent with reasonable
    investment risk by investing in domestic and foreign issuers using a neutral mix of
    approximately 30% of inflation-protected debt securities, 25% floating-rate loans and
    20% REITs and other real estate related investments.




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                                                                Exh. V V Pg.2
 USCA11 Case: 24-13671              Document: 10        Date Filed: 11/29/2024         Page: 100 of 178
verification. Upon your written request within thirty (30) days after the receipt of this
provide you with the name and address of the original creditor, if the original creditor Is
the current creditor.
                                                                                 if'

You arc notified that this default and any other legal action that may occur as a result thereof mam be pegoraed
to one or more local and national credit reporting agencies by Franklin Credit Management CdpuMm

Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or desoMfcat «f
such a scrviccmcmber. may be entitled to certain protections under the Servicemembers Crvi Sjefcf Act
(“SCRA") regarding the servicemembers interest rate and the risk of foreclosure. SCRA aad txs&m sswe
laws provide important protections for >00. including prohibiting foreclosure under most eircunrwr—nrs If you
are currently in the military service, or have been within the last twelve (12) months. AND joined    r signing
the Note and Security Instrument now* in default, please notify Franklin Credit Managemeai Corporation
immediately. When contacting Franklin Credit Management Corporation as to your military service, you must
provide positive proof as to your military status. Servicemembers and dependents with qucsucoe about the
SCRA should contact their unit's Judge Advocate, or their installation's Legal Assistance Officer Bosaoowncr
counseling is also available at agencies such as Military OneSource (wwav.militaryencsource.mil;
1-800-342-9647) and Armed Forces Legal Assistance (http://legalassistancc.law\af.mil), and through
HUD-eertified housing counselors (http://apps.hud.gov;ofFices/hsg/slMicc/hcs.cfm). You cm also contact
David Bchlcr toll-free at 201-604-4503 if you have questions about your rights under SCRA.

For help exploring your options, the Federal government provides contact information for housing counselors,
which you can access by contacting the Department of Housing and Urban Development at
https ://apps. hud.gov/ofliccsrtisgfsfh/hcc/hcs.cfin or by calling 1-800-569-42S7.


Sincerely.

Franklin Credit Management Corporation
101 HUDSON STREET. 24TH FLOOR
JERSEY CITY, NJ 07302
1-800-650-7162


Wiring Instructions: PNC Bank, N.A 249 Fifth Avc. Pittsburgh. PA 15222 ABA: 031 207 607 Bank Swift
Code: PNCCUS33 -required for International payments- Account number: S02 636 1855 Franklin Credit
Management Corp - General Depository 101 Hudson Street. 24TH FLOOR/Suite 2500 Jersey City. NJ 07302




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Page 2 of 5                                                                                           23bS2bSSMS
USCA11 Case: 24-13671           Document: 10                         Date Filed: 11/29/2024                                  Page: 101 of 178
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                 Tfeh lastrumeni Prepared By:                                                               *:«•:-**X COUNTY. FLORIDA


                                                                                            Exh. RR pg.1
                 Afte? Recording Return To:
                 LANCASTER MORTGAGE HANKERS
                 2*3 INDEPENDENCE BLVD                                                                                                               -
                 WARREN, NEW JERSEY 07059
                 Loan Number: 150008387




                                                                MORTGAGE
                 DEFINITIONS

                 Words used in multiple sections of this document are defined below and other words are deter m Secdocs 3.11.
                 13.18.20 and 21. Ceruin rules regarding the usage of words used In this document?* »i»          « Sectioo 16.

                 (A) "Security Instrument" means this document, which is dated OCTOBER 20, TCCS                              .together
                 with all Riders to this document.
                 (B) "Borrower* is LEROY WILLIAMS, AN UNMARRIED MAN



                 Borrower is the mortgagor under this Security Instrument.
                 (C) “Lender" is LANCASTER MORTGAGE BANKERS

                 Lender is a LIMITED LIABILITY COMPANY                                                                       organized
                 and existing under the laws of NEW JERSEY
                 Lender s address is 20 INDEPENDENCE BLVD, WARREN, NEW JERSEY 07059

                 Lender is the mortgagee under this Security Instrument.
                 (D) "Note" means the promissory note signed by Borrower and dated OCTOBER 20, 2005
                 The Note states that Borrower owes Lender ONE MILLION FIVE HUNDRED TSJCOSANB AND
                  00/100                                                                 Dollars (U.5.11. SCO, C33.00                  )
                 plus interest. Borrower has promised to pay this debt in regular Periodic Payments rod torn* fee dear to tYU oot later
                 than NOVEMBER 1. 2035
                 (E) "Property* means the property that is described below under the heading "Tneaferuf Rights is the Property.'
                 (F) "Loan* means the debt evidenced by the Note, plus interest, any prepayment charts and tee charges due under
                 the Note, and all stuns due under this Security Instrument, plus interest.




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                Book23966/Page3465                          CFN#20051193500                                               Page 1 of 18




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        USCA11 Case: 24-13671                          Document: 10                        Date Filed: 11/29/2024                                Page: 102 of 178
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            "v'
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                                     (C) 'Ridtn" meant all Riders lo this Security Instrument that are UKWi to henoMC ?h ffl1Huii« .«■» m*                    -XJ l-C:


8-L -                                w be executed by Borrower |cbeci bo* as applicable! ___           __________
                                                                                                                              JFtUOA
                                         Q Adjustable Rate Rider                 □ Condominium Rider
                                         □ Balloon Rider                         Q Planned Unit Oevelopmea SbOer               £ anoidhwdhi
                                         Q 1-4 Family Rider                      n Biweekly Payment Rider rfjaiKggaC CR IS
                                                                                 U                                 SECSSSTS JJBET
                                     (H) " Applicable Law" meins all controlling applicable federal, state acd fcn#i
                                     administrative rules and orders (that have the effect of law) as well as all appfeaMi
                                     opinions.
                                     (D "Community Asanciation Ones. Fees, and Assessments" means tl tea., fern, mrnmm                 mmrnt anr^p
                                     that ate Imposed oa Borrower or Ibe Property by a condominium tusodaac*. Immmmb
                                     organization.
                                     CJ) "Electronic Funds Transfer" means any transfer of funds.
                                                                                                                                                 r. m
                                     magnetic tape so as to order, instruct, or authorize a financial inititsrba at Mi                    . 'MC3 sea
                                     includes, but is not limited to. point-of-sale transfers, automated teller nirtnai x
                                     telephone, wire transfers, and automated clearinghouse transfers.
                                     (K) "Escrow Hess" means those Rems that are described in Section 3.
                                     (L) "Miscellaneous Proceeds" means any compensation, settlemeal, mrt df Wign ■■.••p—ArrujOy »
                                     third party (other than insurance proceeds paid under the coverages tectai o fanss'Shcr V-tmuNfr an. «r
                                     destruction of. the Property: (ii) condemnation or other taking of aB or my past irf~iis        jM ii—ijmi t *

                                     CM) “Mocigagt Insurance* means Insurance protecting Lender agaiaatdK »unpMUMittC.w*nihiiwu fs * —

                                     plus (ii) any amounts under Section 3 of this Security Instrument

                                     regulation. Regulation X (24 C.F.R. Pan 3SOO). as they might be emended tu rim n— « ii WAn «r
                                     successor legislation or regulation that governs the same subject earner- As sr—         ----- -
                                     "RESPA* refers to all requirements and restrictions that are Imposed Is rqprdfcma'
                                     even if the Loan does not qualify as a "federally related mortgage fan*” mrim SE5RA-
                                     (P) "Siirrirmrln Tntrrrrtnf Bnrminrr"itinmany piny thr fir riirs ft n'ftoTnaur, i—ms m mt As
                                     party has assumed Borrower s obligations under the Note and'or dab Secern* hunausw..

                                     TRANSFER OF RIGHTS IN THE PROPERTY

                                     This Security Instrument secures to Lender: (i) the repayment tt hr Uaa wa*- ifTtmwnisi,        usd
                                     modifications of the Note: and (H) the performance of Borrower s       Uhi       mmmmrmm Ssocsy
                                     Instrument and the Note. For this purpose. Borrower does hereby werASgr-         ntrusuiS'U.^ur Or
                                     following described properly located in the
                                                COUNTY                                     of          kxoc-sc*.
                                                   (Type of Recwdfng jurUdtcboo]                                             mt-    i*v




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                                     FioaiOA-Srate Fendy-Fanrae Mas/Fraddia Mac UNFOSM lASTRUMOrt
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USCA11 Case: 24-13671          Document: 10                        Date Filed: 11/29/2024                                        Page: 103 of 178


                                                                                                          Exh. RR pg.3


                  A.P.N. S: 0622280113400




                  which currently has the address of 1977 NE 119TH ROAD

                  KUVR A/K/A NORTH MIAMI                   . Florida         33181                                                   r* '


                               *C«yl                                           l&f Cade.

                       TOGETHER WTTH ail the improvements now or hereafter erected aa •»                         mm aB
                  appurtenances. and natures oow or hereafter a part of the property Ah reptaccmnan
                  covered by this Security Instrument. All of the foregoing is referred to ta that Smm*» A

                       BORROWER COVENANTS that Borrower is lawfully seised of (he                                                aw nghi
                  to mortgage, great aad coevey the Property aad that the Property is__________ _                                  res of
                  record Borrower warrants and will defend generally die title to the Proper* apanarfN                            aApm
                  to any encumbrances of record

                        THIS SECURITY INSTRUMENT combines uniform covenants for nM —                                               ■ wsA
                  limited variations by Jurisdiction to constitute a uniform security nscruranu cwmktag

                         UNIFORM COVENANTS. Borrower and Lender covenant and apt m
                         1. Payment of Principal, interest. Escrow Items. Prepayment Charge*                     k. larmierAat
                  pay when due the principal of. and interest oa. the debt evidenced by the tuner mdse*                  aad last
                  charges due under the Note. Borrower shall also pay funds for Escrow '                          \
                  under the Note and this Security Instrument shall be made in U S careers                   d         dkact ar taher
                  instrument received by Lender as payment under the Note or this Securiri                       m -mta;
                  Lender may require that any or all subsequent payments due under the Nat* and                       hr              is
                  one or more of the following forms, as selected by Lender: fa) cash fht                                         check
                  treasurer's check or cashier's check, provided any such check is drawn pt mm
                  by a federal agency, instrumentality, or entity; or (d) Electronic Funds TramAa
                         Payments are deemed received by Lender when received at the log—>                                   • wl adSrr
                  location as may be designated by Lender in accordance with the notice pmwarns as:          m
                  any payment or partial payment if the payment or partial payments are amriA
                  may accept any payment or partial payment insufficient to bring the Lana                                   *
                  hereunder or prejudice to its rights to refuse such payment or parts! —                        hut               m mm
                  obligated to apply such payments at the time such payments are accapted V mafci                     f as          mmt
                  its scheduled due date, then Lender need not pay interest on tuuppbed funds Lama



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                  Form 30(0 1»1                              Rage 3 of 15
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                BooK23966/Page3467                          CFN#2005119350C                                                  3 age 3 of 18
USCA11 Case: 24-13671                Document: 10                         Date Filed: 11/29/2024                                 Page: 104 of 178

                                                                                                                                Exh. RR pg.4
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              until Borrower nukes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
              time. Lender shall either apply such funds or return them tn Borrower if not applied earlier, such funds will be
              applied to (be outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
              which Borrower might have now or in (he future against Lender shall relieve Borrower from making payments doe
              under the Note and this Security Instrument or performing (he covenants and agreements secured by this Security
              Instrument.
                    2. Application of Payments or Proceeds. Except as otherwise described in this Section 2. alt payments
              accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under die Note;
              (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
              Payment in the order io which it became due. Any remaining amounts shall be applied first to late charges, second
              to any other amounts due under this Security Instrument, and (hen to reduce the principal balance of the Note.
                    If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
              amount to pay any late charge due. the payment may be applied to the delinquent payment and (be tele charge- If
              more than one Periodic Payment is outstanding. Lender may apply any payment received from Borrower to the
              repayment of the Periodic Payments if. and to the extent that, each payment can be paid in full. To the extent that
              any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may
              he applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
              as described in (be Note.
                    Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
              shall not extend or postpone the due date, or change the amount, of the Periodic Payments
                    3. Funds for Escrow Items. Borrower shall pay to Lender on (be day Periodic Payments are due under the
              Note, until the Note is paid in full, a sum (the ‘Funds') to provide for payment of amounts due for (a) taxes and
              assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
              Property; (b) leasehold payments or ground rents on the Property. If any: (c) premiums for any and ail insurance
              required by Lender under Section 5: and (d) Mortgage Insurance premiums, if any. or any sums payable by Borrower
              to Lender in Ueu of the payment of Mortgage Insurance premiums io accordance with the provisions of Section 10.
              These items arc called "Escrow Items." At origination or ai any tune during the term of the Loan. Lender may require
              that Community Association Dues. Fees, and Assessments, if any. be escrowed by Borrower, and such dues, fees and
              assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
              under this Section. Borrower shall pay Lender the Funds for Escrow Hems unless Lender waives Borrower's
              obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
              Funds for any or all Escrow Items at any time Any such waiver may only be in writing In the event of such waiver.
              Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for winch payment of
              Funds has been waived by Lender and. If Lender requires, shall furnish to Lender receipts evidencing such payment
              within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
              shall for all purposes be deemed to he a covenant and agreement contained in this Security Instrument, as the phra»
              "covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to
              a waiver, and Borrower fails to pay the amount due for an Escrow Item. Lender may exercise its rights under Section
              9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount
              Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
              15 and. upon such revocation, Borrower shall pay to Lender all Funds, and io such amounts, that are then required
              under this Section 3.
                    Lender may. al any time, collect and hold Funds io an amount (a) sufficient to permit Lender to apply the Funds
              at the lime specified under RESPA. and (b) noi to exceed the maximum amount a lender can require under RESPA




              FLORIDA-Strata Famty-Fama MaWFraekNa Mac UNIFORM INSTRUMENT                           occMaple cwaenep «»«<»'*/
              Form 3010 lftl                                Rag* 4 of 15




             Book23966/Page3468                         CFN#20051193500                                               Page 4 of 18
         USCA11 Case: 24-13671        Document: 10                        Date Filed: 11/29/2024                                  Page: 105 of 178


                                                                                                                  Exh. RR pg.5

                                                                                                                                         *
                            Leader shall estimate the amouat of Fuads due on the basis of current data and reasonable estimates of expenditures
                            of future Escrow Items or otherwise in accordance with Applicable Law.
                                  the Funds shall be held In ah Institution whose deposits are Insured by a federal agency, instrumentality, or
                            entity (including Lender, if Lender is an institution whose deposits are so insured) of ui any Federal Home Loan
                            Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender
                            shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
                            the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
                            such a charge. Unless an agreement is made In writing or Applicable Law requires interest to be paid on the Funds.
                            Leodet shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
                            in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
                            annual accounting of the Funds as required by RESPA.
                                  If there is a surplus of Funds held in escrow, as defined under RESPA. Lender shall account to Borrower for
                            the excess funds In accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA.
                            Lender shall notify Borrower as required by RESPA. and Borrower shall pay to Lender the amount necessary to make
                            up the shortage in accordance with RESPA. but in no more than 12 monthly payments. If there ts a deficiency of
                            Funds held in escrow, as defined under RESPA. Lender shall notify Borrower as required by RESPA, and Borrower
                            shall pay to Lender the amount necessary to make op the deficiency in accordance with RESPA. but in no more than
                            12 monthly payments
                                  Upon payment in full of all sums secured by this Security instrument. Lender shall promptly refund to Borrower
                            any Funds held by Lender
                                  4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
                            the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
                            Property, if any. and Community Association Dues. Fees, and Assessments, if any. To the extent that these items
                            are Escrow items. Borrower shall pay them in the manner provided in Sect km 3.
                                  Borrower shall promptly discharge any Hen which has priority over this Security Instrument unless Borrower,
                            (a) agrees in writing to the payment of the obligation secured by the Hen in a manner acceptable tu Lender, but only
                            so long as Borrower is performing such agreement; (b) contests the Hen in good faith by. or defends against
                            enforcement of the Hen In. legal proceedings which It) Lender's opinion operate to prevent the enforcement of the lien
                            while those proceedings are pending, but only until such proceedings are concluded: or Ic) secures from the holder
                            of the lien an agreement satisfactory to Lender subordinating the Uen to this Security Instrument. If Lender
                            determines that any part of the Property is subject to a lien which can attain priority over this Security Instrument.
                            Lender may give Borrower a notice identifying the Ken Within 10 days of the date on which that notice is given.
                            Borrower shall satisfy the Hen or take one or more of the actions set forth above in this Section 4.
                                  Lender may require Borrower to pay a one-time charge for a teal estate tax verification and/or reporting service
                            used by Lender io connection with ibis Loan.
                                  5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
                            Property insured against loss by fire, hazards included within the term "extended coverage." and any other hazards
                            including, but not limited to. earthquakes and floods, for which Lender requires insurance. This insurance shall be
                            maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
                            requires pursuant to the preceding sentences can change during the term of the Loan The insurance carrier providing
                            the insurance shall be chosen by Borrower subject to Lenders right to disapprove Borrower's choice, which right shall
                            not be exercised unreasonably. Lender may require Borrower to pay. io connection with this Loan, either; (a) a one­
                            time charge for flood zone determination, certification and tracking services; or (b) a ooe time charge for flood zone
                            determination and certification services and subsequent charges each time re mappings or similar changes occur which
                            reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of



                            FLORIDA-Smote Family--Fannie Maa/Fredd* Mac UNIFORM INSTRUMENT                         OoeMapte tffbcrxm «n'nw
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                           Book23966/Page3469                          CFN#20051193500                                              Page 5 of 18




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                     USCA11 Case:Jr- 24-13671             Document: 10                         Date Filed: 11/29/2024                                   Page: 106 of 178

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                                      iay fees Imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
                                      determination resulting from an objection by Borrower.
r . ■'
                                             If Borrower fails to maintain any of the coverages described above. Lender may obtain insurance coverage, at
                                      Lender s option and Borrower 's expense Lender is under no obligation to purchase any particular type or amount
                                      of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower. Borrower's
                                      equity in the Property, or the contents of tbe Property, against any risk, hazard or liability and might provide greater
                                      or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
                                      obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed
                                      by Lender under this Section S shall become additional debt of Borrower secured by this Security Instrument These
                                      amounts shall bear Interest at the Note rate from the date of disbursement and shall be payable, with such interest,
                                      upon notice from Leader to Borrower requesting payment.
                                            All insurance policies required by Lender and renewals of such policies shall be subject to Lender 's right to
                                      disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
                                      additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires.
                                      Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
                                      form of insurance coverage, not otherwise required by Lender, for damage to. or destruction of. the Property, such
                                      policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
                                      payee.
                                             In tbe event of loss. Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
                                      proof of loss if not made promptly by Borrower Unless Linder and Borrower otherwise agree in writing, any
                                      insurance proceeds, whether or not (be underlying insurance was required by Lender, shall be applied to restoration
                                      or repair of the Property, if tbe restoration or repair is economically feasible and Lender 's security is not lessened.
                                      During such repair and restoration period. Lender shall have the right to hold such insurance proceeds until Lender
                                      has had an opportunity to inspect such Property to ensure the work has been completed to Lender’s satisfaction,
                                      provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for tbe repairs and
                                      restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement
                                      is made in writing or Applicable Law requires interest to be paid on such insurance proceeds. Lender shall not be
                                      required to pay Borrower aoy interest or earnings on such proceeds Fees for public adjusters, or other third parties,
                                      retained by Borrower shall not be paid out of the insurance proceeds and shall be tbe sole obligation of Borrower
                                      If the restoration or repair is oot economically feasible or Lender's security would be lessened, the insurance proceeds
                                      shall be applied to the sums secured by this Security Instrument, whether or not then due. wltb tbe excess, if any. paid
                                      to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                                            If Borrower abandons tbe Property. Lender may file, negotiate aod settle any available insurance claim and
                                      related matters. If Borrower does not respood within 30 days to a notice from Lender that the Insurance carrier has
                                      offered to settle a claim, (hen Lender may negotiate and settle tbe claim. The 30-day period will begin when the
                                      notice is given. In either event, or if Leader acquires the Property under Section 22 or otherwise. Borrower hereby
                                      assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
                                      under the Note or this Security Instrument, and (b) any other of Borrower’s rights (other than the right to any refund
                                      of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
                                      are applicable to the coverage of tbe Properly Lender may use the insurance proceeds either to repair or restore the
                                      Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
                                            S. Occupancy. Borrower shall occupy, establish, and use tbe Property as Borrower's principal residence
                                      within 60 days after the execution of this Security Instrument and shall continue to occupy the Properly as Borrower's
                                      principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which




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                                     Book23966/Page3470                           CFN#20051193500                                               Page 6 of 18




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        USCA11 Case: 24-13671                 Document: 10                           Date Filed: 11/29/2024                                    Page: 107 of 178
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                             consent shall not he unreasonably withheld. or antes* extenuating circumstances exist which are beyond Borrower s
    w                        control.
                                   7. Preservation. Maintenance and Protection of the Property; Inspection. Borrower shall oot destroy.
                             damage or impair the Property, allow the Property to deteriorate or commit waste on the Properly Whether or not
                             Borrower Is residing in the Property. Borrower shall maintain the Property In order ro prevent the Property from
                             deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section S that repair or
                             restoration is not economically feasible. Borrower shall promptly repair the Property if damaged to avoid further
                             deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, ortke taking
                             of. the Property. Borrower shall be responsible for repairing or restoring the Property only if Lender has released
                             proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
                             a series of progress payments as the wort is completed If the insurance or condemnation proceeds are not sufficient
                             to repair or restore the Property. Borrower is not relieved of Borrower 's obligation for the completion of such repair
                             or restoration.
                                    Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause.
                             Lender may inspect (he interior of the improvements on the Property Lender shall give Borrower notice at the time
                             of or prior to such an interior inspection specifying such reasonable cause.
                                   S. Borrower's Loan Application. Borrower shall be in default if. during the Loan application process.
                             Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
                             materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
                             material information) in connection with the Loan. Material representations include, but are not limited to.
                             representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
                                   9. Protection of Lender's Interest in the Property and Rights Under (his Security Instrument. If (a)
                             Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
                             proceeding that might significantly affect Lender s Interest in the Property and/or rights under this Security Instrument
                              (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
                             attain priority over this Security instrument or to enforce laws or regulations). or (c) Borrower has abandoned the
                             Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Leader's interest in the
                             Property and rights under this Security Instrument, including protecting and/or assessing the value of tbe Property,
                             and securing and/or repairing the Property. Lender s actions can include, but are not limited to: (a) paying any stuns
                             secured by a Uen which has priority over this Security Instrument: (b) appearing in court; and (c) paying reasonable
                             attorneys' fees to protect its interest in tbe Property and/or rights under this Security Instrument; including its secured
                             position in a bankruptcy proceeding. Securing the Property indudes, but is oot limited to. entering the Property to
                             make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
                             other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
                             under this Section 9. Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
                             Lender incurs no liability for oot taking any nr ail actions authorized under this Section 9.
                                   Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
                             Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
                             payable, with such interest, upon notice from Lender to Borrower requesting payment.
                                   If this Security instrument is on a leasehold. Borrower shall comply with all the provisloos of tbe lease. If
                             Borrower acquires fee title to (he Property, the leasehold and the fee title shall not merge unless Lender agrees to the
                             merger in writing.
                                   10. Mortgage Insurance. If Lender reqnired Mortgage insurance as a condition of making tbe Loan. Borrower
                             shall pay the premiums required to maintain tbe Mortgage Insurance in effect. If. for any reason, the Mortgage
                             insurance coverage required by Lender ceases to be available from the mortgage insurer that previously provided sucb



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                            Book23966/Page3471                           CFN#20051193500                                                  Page 7 of 18




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    USCA11 Case: 24-13671                Document: 10                          Date Filed: 11/29/2024 Exh.
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                                                                                                                 of 178




                  insurance and Borrower was required to make separately designated payments toward I be premiums for Mortgage
                   Insurant Borrower shall pay tbe premiums required to obtain coverage substantially equivalent to ibe Mortgage
                   Insurance previously in effect, at a cost substantially equivalent to tbe cost to Borrower of tbe Mortgage Insurance
r                 previously lo effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
                   Insurance coverage is oot available. Borrower shall continue to pay to Lender the amount of the separately designated
                  payments that were due when tbe insurance coverage ceased to be in effect. Lender will accept, use and retain these
                  payments as a non-re fundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be ooo-refundable.
                  notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
                   interest or earnings on such toss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
                  coverage (in tbe amount and for the period that Lender requires) provided by an insurer selected by Lender again
                   becomes available, is obtained, and Lender requires separately designated payments toward tbe premiums for
                   Mortgage Insurance. If Lender required Mortgage Insurance asa condition of making tbe Loan and Borrower was
                   required to        separately designated payments toward tbe premiums for Mortgage Insurance. Borrower shall pay
                   tbe premiums requited to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
                   Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
                   Lender providing for sucb termination or until termination is required by Applicable Law. Nothing in this Section
                   10 affects Borrower’s obligation to pay Interest at the rate provided in the Note.
                         Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur
                  if Borrower does not repay the Loan as agreed. Borrower is mu a party to the Mortgage Insurance.
                         Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
                  agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
                  conditions that are satisfactory to the mortgage insurer and tbe other patty (or parties) to these agreements These
                  agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
                  may have available (which may include funds obtained from Mortgage Insurance premiums).
                         As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
                  entity, or any affiliate of any of tbe foregoing, may receive (directly or indirectly) amo ants that derive from (or might
                  be characterized as) a portion of Borrower s payments for Mortgage Insurance, in exchange for sharing or modifying
                  the mortgage insurer’s risk, or reducing losses If such agreement provides that an affiliate of Lender takes a share
                  of the insurer’s risk in exchange for a share of the premiums paid to Ibe insurer, the arrangement is often termed
                   "captive reinsurance.' Further:
                         (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
                  Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
                  for Mortgage Insurance, and they will not entitle Borrower to any refund.
                         fb) Any sucb agreements will not affect tbe rights Borrower has • if any - with respect to the Mortgage
                  Insurance under the Homeowners Protection Act of 1*9® or any other law. These rights may hxhtde the right
                  to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have Ibe
                  Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums
                  that were unearned at the time of such cancellation or termkiation.
                         It. Assignment of Miscellaneous Proceeds: Forfeiture. All Miscellaneous Proceeds are hereby assigned to
                  and shall be paid to Lender.
                         If the Property is damaged, sucb Miscellaneous Proceeds shall be applied to restoration or repair of the Property,
                  if the restoration or repair is economically feasible and Lender s security is not lessened. During sucb repair and
                  restoration period. Lender shall have the right to hold sucb Miscellaneous Proceeds until Lender bas had an
                  opportunity to inspect sucb Property to ensure tbe work has been completed to Lender’s satisfaction, provided that
                  sucb inspection shall be undertaken promptly. Lender may pay for tbe repairs and restoration in a single disbursement



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                 Book23966/Page3472                           CFN#20051193500                                                 Page 8 of 18




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USCA11 Case: 24-13671                           Document: 10                          Date Filed: 11/29/2024                                   Page: 109 of 178



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                                 13. Jdlniaiul^fYfr^lJaUHiy: Cosigners: Successors and Assign* pound. Borrower covunicrs »w) ipw
                           Oat Borrower' s obligations and liability shall be joint and several. However, any Borrower who co-signs this Security
        --------- 1------ Instrument but does hot execute the Note (a "co-signer'): (a) is co-signing this Security Instrument only to mortgage.
                           grant and convey the co-signer s interest in the Property under tbe terms of this Security Instniment. (b) is not
                           personally obligated to pay tbe sums secured by ibis Security Instrument; and (c) agree; that Lender and any other
                           Borrower can agree to extend, modify, forbear or make any accommodations with regard to tbe terms of this Security
                           Instrument or the Note without the co-signer's consent.
                                 Subject to tbe provisions of Section 18, any Successor in interest of Borrower who assumes Borrower's
                           obligations under tbit Security instrument in writing, and is approved by Lender, shall obtain ail of Borrower's rights
                           aad benefits under this Security Instniment Borrower shall oot be released from Borrower s obligations and liability
                           coder this Security Instrument unless Lender agrees to such release in writing Tbe covenants and agreements of this
                           Security instrument shall biod (except as provided in Section 20) and benefit the successors and assigns of Lender.
                                 14. Lou Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
                           default, for the purpose of protecting Lender's interest in tbe Property and rights under this Security Instrument,
                           including, but not limited to. attorneys' fees, property inspection and valuation fees In regard to any other fees, the
                           absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed
                           as a prohibition on the charging of such fee Lender may not charge fees that are expressly prohibited by this Security
                           Instrument or by Applicable Law.
                                 If the Loan is subject to a taw which sets maximum loan charges, and that law is finally interpreted so that the
                           Interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
                           then; (a) any such loan charge shall br, reduced by tbe amount necessary to reduce tbe charge to the permitted limit:
                           and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
                           Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
                           to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
                           prepayment charge (whether or not a prepayment charge is provided for under tbe Note). Borrower s acceptance of
                           any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
                           have arising out of such overcharge.
                                 15. Notices. All notices given by Borrower or Leoder in connection with this Security instrument must be in
                           writing Any notice to Borrower In connection with this Security instrument shall be deemed to have been given to
                           Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
                           means. Notice to aoy one Borrower shall constitute notice to ail Borrowers unless Applicable Law expressly requires
                           otherwise. The notice address shall be tbe Property Address unless Borrower has designated a substitute notice
                           address by notice to Lender Borrower shall promptly notify Lender of Borrower's change of address. If Lender
                           specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
                           through that specified procedure There may be only one designated notice address under this Security instrument
                           at any one time. Aoy notice to Leoder shall be given by delivering it or by mailing it by first class mail to Lender's
                           address stated herein unless Lender has designated another address by notice to Borrower. Any ootice in connection
                          with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender.
                           If an> notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
                           requirement will satisfy the corresponding requirement under this Security Instrument
                                 16. Coverntng Law; Severability; Roles of Construction. This Security Instniment shall be governed by
                          federal law and the law of the jurisdiction in which tbe Property is located. All rights and obligations contained in
                          this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might
                          explicitly or implicitly allow the parties to agree by contract or It might be silent, but such silence shall oot be
                          construed as a prohibition against agreement by contract In tbe event that any provision or clause of this Security



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                    Book23966/Page3474                              CFN#20051193500                                                 Page 10 of 18




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USCA11 Case: 24-13671
             5*                      Document: 10                         Date Filed: 11/29/2024                                   Page: 110 of 178
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                Instrument or the Note conflic ts with Applicable Law. such conflict shall not affect other provisions of this Security
                instrument or the Note which can be given effect without the conflicting provision
                      As used in this Security instrument: (a) words of the masculine gender shall mean and include corresponding
                neuter words or words of the feminine gender: (b) words in the singular shall mean and include the plural and vice
                versa; and (c) the word "may’’ gives sole discretion without any obligation to take any action.
                       17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument
                       IS. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18. 'Interest in
                oe Propeny' means any legal or beneficial interest in the Property, including, but not limited to. those beneficial
                interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
                of which is the transfer of title by Borrower at a future date to a purchaser.
                       If all or any part of the Propeny or any Interest in the Propeny is sold or transferred (or if Borrower is not a
                natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent.
                Leader may require immediate payment in full of all sums secured by this Security Instrument. However, this option
                shall nut be exercised by Lender if such exercise is prohibited by Applicable Law.
                      If Lender exercises this option. Lender shall give Borrower notice of acceleration. The notice shall provide a
                period of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower
                oust pay all sums secured by this Security tnsuumem. If Borrower falls to pay these sums prior to the expiration of
                this period. Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
                on Borrower.
                       19. Borrower s Right to Reinstate After Acceleration If Borrow er meets certain conditions . Borrower shall
                have (be right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a)
                five days before sale of the Property pursuant to any power of sale contained In this Security Instrument: (b) such
                other period as Applicable Law might specify' for the termination of Borrower's right to reinstate: or (c) entry of a
                judgment enforcing this Security Instrument. Those conditions ate that Borrower: (a) pays Lender all sums which
                then would be due under this Security Instrument and the Note as If no acceleration had occurred; (b) cures any default
                of any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security instrument, including,
                bet not limited to. reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
                purpose of protecting Lender's interest in ihe Properly and rights under this Security Instrument: and (d) takes such
                action as Lender may reasonably require to assure that Lender's interest In the Property and rights under this Security
                Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
                Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
                as selected by Lender; (a) cash; (b) money order, (c) certified check. bank check, treasurer s check or cashier s check,
                provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
                or entity; or(d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
                secured hereby shall remain fully effective as if no acceleration bad occurred However, this right to reinstate shall
                not apply In the case of acceleration under Section 18.
                      20. Sale of Note; Change of Loan Sendeer: Notice of Grievance. The Note or a partial interest to the Note
                (together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
                result in a change in (he entity (known as the 'Loan Servicer') that collects Periodic Payments doe under the Note
                and this Security Instrument and performs other mortgage loan servicing obligations wider the Note, this Security
                Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
                of the Note. If there is a change of the Loan Servicer. Borrower will be given written notice of the change which wiU
                state the name and address of the new Loan Servicer, the address to which payments should be roadeand any other
                information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and lhereafter
                the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations



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    USCA11 Case: 24-13671                    Document: 10                          Date Filed: 11/29/2024                                    Page: 111 of 178       I
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                to Borrower will remain with the Loan Servicer or be trnisfeurd to a successor Lots Servicer and are not assumed
                by the Note purchaser unless otherwise provided by (he Note purchaser.
                       Neither Borrower nor Lender may commence. Join, or be joined to any judicial action (as either an individual
                litigant or the member of a class) that arises from the other party s actions pursuant to this Security Instrument or that
                alleges that the other party has breached any provision of. or any duty owed by reason of. this Security Instrument,
                until such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements
                of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such
                notice to take corrective action. If Applicable Law provides a time period which must elapse before certain action
                can be taken, that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
                acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given
                to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to cake corrective action
                provisions of this Section 20.
                       21. Hazardous Substances. As used in this Section 21: (a) ‘Hazardous Substances" are those subsumes
                defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
                gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticide and herbicides, volatile solvents,
                materials containing asbestos or formaldehyde, and radioactive materials: (b) "Environmental Law" means federal
                taws and laws of the jurisdiction where the Property is located that relate to heahb. safety or environmental protection;
                (c) "Environmental Cleanup* includes any response action, remedial action, or removal action, as defined in
                 Environmental Law and (d) an "Environmental Condition* means a condition that can cause, contribute to. or
                otherwise trigger an Environmental Cleanup.
                       Borrower shall not cause or permit the presence, use. disposal, storage, or release of any Hazardous Substances,
    • v         or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do. nor allow anyone else
                to do. anything affecting the Property (a) that is la violation of any Environmental Law. (b) which creates an
                 Environmental Condition or (c) which, due to the presence, use. or release of a Hazardous Substance, creates a
                condition that adversely affects the value of the Property The preceding two sentences shall not apply to the
                presence, use. or storage on the Property of small quantities of Hazardous Substances that are generally recognized
                to be appropriate to normal residential uses and to maintenance of the Property (including, but not limited to.
                 hazardous substances in consumer products).
                       Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
                action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
                 or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but no*
                 limited to. any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (r) any
                 condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
                Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that
                any removal or other remediation of any Hazardous Substance affecting the Property is necessary. Borrower shall
                promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any
                obligation on Lender for an Environmental Cleanup.

                     NON'UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                     22. Acceleration: Remedies. Leader shall gfve notice to Borrower prior to acceleration following
                Borrower's breach of any covenant or agreement In this Security Instrument (but not prior to acceleration under
                Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action
                required to cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by
                which the default must be cured: and (d) that failure to cure the default on or before the date specified in the
                notice may result in acceleration of the sums secured by this Security Instrument, foreclosure by judicial



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               Book23966/Page3476                            CFN#20051193500                                                 Page 12 of 18




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    USCA11 Case: 24-13671                    Document: 10                         Date Filed: 11/29/2024                                 Page: 112 of 178




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                pructcdieg and sale of tbe Property. TV notice shall further Inform Borrower of the right to reinstate after
                acceleration and the right to assert in tbe foreclosure proceeding the noa-esfetmce of a default or any other
                defense of Borrower to acceleration and foreclosure. If the default is not cured on or before the date specified
                in tbe notice. Lender at its option may require immediate payment In full of all sums secured by this Security
                Instrument without further demand and may foreclose this Security Instrument byjudicial proceeding. Lender
                shall be entitled to collect all expenses incurred in pursuing (he remedies provided in this Section 22, including,
                but not limited to. reasonable attorneys' fees and costs of title evidence.
                      23. Release. Upon payment of all sums secured by this Security Instrument. Lender shall release tins Security
                Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
                Instrument but only if the fee is paid to a third party for services rendered and the charging of (he fee is permitted
                under Applicable Law.
                      24. Attorneys' Fees. As used in this Security Instrument and tbe Note, attorneys' fees shall include those
                awarded by ao appellate court and any attorneys' fees incurred Id a bankruptcy proceeding.
                      2$. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any action, proceeding,
                claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any way related to (his
                Security Instrument or the Note.




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USCA11 Case: 24-13671             Document: 10                             Date Filed: 11/29/2024                  Page: 113 of 178




                                                                                                         Exh. RR pg.14
                      BY SICKING BELOW. Borrower accepts and agrees lo the terns and covenants contained in this Security
                Instrument and in any Rider executed by Borrower and recorded with it




                                                                  (Seal)                                           (Seal)
               LEROY WILLIAMS           Borrower                                                                Borrower
               1977 NE 119TH ROAD, NORTH
               MIAMI, FLORIDA 33181




                                                         _ (Seal)                                                  (Seal)
                                                         •Borrower                                             -Borrower




                                                         — (Seal)                                                  (Seal)
                                                         -Borrower                                             -Borrower




               Signed, sealed and delivered in the presence of-




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USCA11 Case: 24-13671                  Document: 10                        Date Filed: 11/29/2024                                 Page: 114 of 178




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                STATE OF FLORIDA
                COUNTY OF'

                    The foregoing instrument was acknowledged before roe (bis         oJO         <t*yof QcAj-1               }   y^si__
                by LEROY WILLIAMS j                                                                                       i


                who is personally known 10 roe or who has produced      Vt^v c-N o}/
                a identification.                                                          CTfpr of IdewifieiOotv



                             **JV2*o. Michelle Ans«:)-w '•
                            A^^Cc.maiiisvo ' tt>'-                            Signature
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                                                                              Name of Notary



                                       (Seal)                                 Title



                                                                             Serial Number, if any

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                USCA11 Case: 24-13671                 Document: 10          Date Filed: 11/29/2024              Page: 115 of 178
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                                                                                                    Exh. RR pg.16
                                                               Exhibit A                                  4                                    \
                                                                                                                                               i
            V




                 LOT 103, BLOCK 14, SANS SOUCI ESTATES, according to the Plat tbreof as recorded in Plat Book 50, Page 86 of
                 the Public Records of Mami-Dade County, Florida

                 Parcel Identification Number: 0622280113400

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                 .Sfc **=aer                                                                                     DoubleTImec




                       3ook23966/Page3480                      CFN#20051193500                                Page 16 of 18



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USCA11 Case: 24-13671                Document: 10                           Date Filed: 11/29/2024                            Page: 116 of 178




                                                                                                                       Exh. RR pg.17
                                                PREPAYMENT RIDER                                                                4
                                                                                                                                                         '!
              Lout Number:     15000639?

              Date:   OCTOBER 20. 2005 *                                                                                                                 i
              Borrow er(s)     LEROY WILLIAMS                                                                                                            *
                                                                                                                                                         I

                      THIS PREPAYMENT RIDER (the 'Rider') is made this 20 th day or OCTOBER
              2005                             . and is incorporated into and dull be deemed to amend and supplement
              the Mortgage, Deed of Trust or Security Deed (the "Security Instrument") of (be same date given by the
              undersigned ("Borrower’) to secure repayment of Borrower s promissory note (the "Note”) in favor of                                    !
              LANCASTER MORTGAGE BANKERS, A LIMITED LIABILITY COMPANY                                                                                !
              (“Lender '). The Security Instrument encumbers the Properly more specifically described in the Security                                I
              instrument and located at                                                                                                              i
               1977 NE 119TH ROAD, MIAMA A/K/A NORTH MIAMI, FLORIDA 33181
                                                                                                                                                     !
                                                                                                                                                     i
                                                            IProperty Address)

                      ADDITIONAL COVENANTS. In addition to the covenants and agreements made to the Security
              Instrument. Borrower and Lender further covenant and agree as follows

              A.       PREPAYMENT CHARGE
                       The Note provides for the payment of a prepayment charge as follows:

                         4       . BORROWER'S RIGHT TO PREPAY; PREPAYMENT CHARGE
                                 I have the right to make payments of Principal at any time before they are due.
                      A payment of Principal only is known as a "Prepayment." When I make a Prepayment.                                              i
                      I will tell the Note Holder io writing that 1 am doing so I may not designate a payment
                      as a Prepayment if I have not made all the monthly payments due under the Note.
                                The Note Holder will use my Prepayments to reduce the amount of Principal that
                      I owe under the Note However, the Note Holder may apply my Prepayment to the                                                   f
                      accrued and unpaid Interest on the Prepayment amount, before applying my Prepayment
                      to reduce the Principal amount of (be Note If 1 make a partial Prepayment, there wil) be                                       V
                      no changes In the due dates of my monthly peyment unless the Note Holder agrees in
                      writing to those changes.
                                If the Note contains provisions for a variable interest rate, my partial Prepayment
                      may reduce the amount of my moolbJy payments after the lint Change Date following my
                      partial Prepayment. However, any reduction due to my partial Prepayment may be offset
                      by an interest rate increase. If this Note provides for a variable interest rate or finance
                      charge, and the interest rate or finance charge at any time exceeds the legal limit under
                      which a Prepayment penalty is allowed, then the Note Holder's right to assess a
                      Prepayment penalty will be determined under applicable law.                                                                    '
                                                                                                                                                 I
              MU.TISTATE PREPAYMENT ROER • SPP                                               OadtUpfcflAnu hm<»iw
              6/03                                            P«0« 1 Of 2                           mtw.Mmipc.Mffl
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           BooK23966/Page3481                      CFN#20051193500                                                    Page 17 of 18
USCA11 Case: 24-13671          Document: 10                          Date Filed: 11/29/2024                                Page: 117 of 178
                                                                                            OR BK 23966 FG                      3482
                                                                                            LAST PAGE



                                                                                                                              Exh. RR pg.18
                                    If within TWELVE                t 12          ) months from the date the Security
                          Instrument is executed I make a full Prepayment or one or more partial Prepayments, and
                          (be total of all such Prepayments m any 12-momh period exceeds twenty percent (20%)
                          of the original Principal amount of the loan, I will pay a Prepayment charge in an amount
                          equal to SIX               (6          ) months advance interest on the mount by which
                          the total of my Prepayments within any 12-month period exceeds twenty percent (20%) of
                          the original Principal amount of the loan.
                                    Notwithstanding the foregoing provisions. I may make a full Prepayment without
                          paying a Prepayment charge in connection with a bona fide and aras-length sale of all or
                          any part of. or any legal or beneficial interest in. the Property within the first 12
                          months of the term of the Note The phrase ''bona fide and amviength sale’ means a sale
                          in which all of the parties involved in the transaction, including without limitation, the
                          buyer, seller, tender, real estate agent or broker, are independent of one another and
                          unrelated by familial or financial interests I agree to provide tbe Note Holder with any
                          and aD evidence reasonably requested by the Note Holder to substantiate that the sale of
                          the Property is bona fide and arms-lengtb.

                          BY SICNfNC BELOW. Borrower accepts and agrees to tbe terms and provisions contained in this
                 Rider.




                                                       Uy'ISeal)                                                  — (Seal)
                 LEROY w:                              -Borrower                                                  ■Borrower




                                                       _ (Seal)                                                   — (Seal)
                                                       -Borrower                                                  -Borrower




                                                            (Sea))                                               — (Seal)
                                                        Borrower                                                 -Borrower




                 MUETtSTATE PREPAYMENT RIDER SPP                                              OooMigdee%ra«> tosmmu
                 6/OJ                                            Page 2 of 2




              Book23966/Page3482                       CFN#20051193500                                                  Page 18 of 18
                    STATE OF FLORIDA. COUNTY OF DAO*
                    t HERS BY CERTIFY trial th« harapotop m a ttw and
                    frAFntf* tnov of (hi erfe^ft m on fll*
                    ofrica November
                    HARVEY RUVTR CLERK. C*                           County Court*

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USCA11 Case: 24-13671                 Document: 10            Date Filed: 11/29/2024                 Page: 118 of 178
                                                                                    Exh. W Pg4


                         FrankunCredit
                              WiKOiM:st COLORATION*




                               Loss Mitigation Options and Eligibility Requirements
             Ys\ ~ ramjpss kun <er\icer. we understand that you max he experiencing financial difficulty with
            raaLsg yvso mortgage pay merits and would like to discuss your options to make your mortgage payment
            ^trd±6r          w;il determine if you qualitS based on your financial situation. Please see the workout
            i’jbs'ss end cVziinlJ* requirements below lor the loan that is the subject of this Notice or filing.

            Kno* \ocroptkms:

            •        Repayment Plan - A temporary agreement, which allows for repa> mem of the unpaid past-dire
            debt along uhh ewainued regular mortgage pax ments. The unpaid past due debt max include prmctpuk
            ♦merest. fees, and »rr costs incurred by the lender.

                      FJLiHitx Requirements for this option require a portion of the unpaid past due debt as a down
                      pay tnem w ith the remainder of the unpaid debt being spread out over a pen >d t1 mmlhx \ .a
                      xxiil make the additional payment along xvith y our regular monthly mintage pay ~erl. In order
                      to qualify for this option, you must be able to make the required payments as corned b the pkn.

                    Deferment Plan - A temporary agreement which allows stimv pay merits to be suspended until a
           future date . at which time those payments must be repaid, or arrangements made to repay them over an
           agreed upon period (usually 3-6 months).

                      Eligibility Requirements for this option are determined by the ability to pay, the current value of
                      the home and the hardship suffered. This option is only available lor mortgage loans where the
                      property is the borrower's primary residence

           •        Loan Reinstatement If you have the financial ability to bring your loan current, your
           lender/serx jeer will accept the funds needed to bane the kern current until the day of your fbredosure
           sale. In addition to the monthly mortgage payment, late charges and other amounts due on your loan
           obligation you max be required to pay all outstanding attorney's fees and costs of collection.

           •        Loan Modification - A loan modification allows you the option to repay the loan on newly
           agreed upon terms, which may include lowering the interest rate, placing amounts past due at the end of
           the loan, and/or extending the term of the loan.

                      Eligibility Requirements for a loan modification are determined by the ability to pay (which may
                      require a down payment towards the unpaid past due debt and completion of a trial period plank
                      the current value of the home and hardship suffered.




           1 | " ,,




 VVCFPB 45DAY         Rev. 07 2(121
 Page 4 of 5
USCA11 Case: 24-13671              Document: 10               Date Filed: 11/29/2024                  Page: 119 of 178
                                                                                   Exh.V V Page 5


                        FranklinCredit
             tf vou have explored nil of the option*, above and arc still unable lo continue making vour monthly
             mortgage payment. here arc some options to assist won in avoiding foreclosure:

             •        Deed-ln-Eieu - An op«k*n that afiows you to voluntarily deed your property to the owner of your
             mortgage in order to av ok! foreckwure In return, you agree to vacate the property on :in agreed upon date
             leaving the propeny in ‘broom swept” condition V»m (mist alkn* the lender ser\ icer access to inspect
             your property (w hich may include the interior of the home! should such a request be made.

                     Eligibility Requirements include your inability to pay the debt Your lender may ask you to
                     complete a financial questionnaire t which may revjuire a hardship letter). In addition, there can
                     be no other liens or judgments against the property other than your mortgage obligation that is
                     currently in default. In other words, title must be “dear and marketable". In some circumstances,
                     your lender may want you to prove that your taxes, insurance, and utilities are current.

             •        Short Sale - I his option allows you to avoid foreclosure by selling y our property for less than the
             total amount owed on the account (subject to agreement by your sen icer lender). W hile the Short Sale
             releases the lien on the property, it does mu necessarily absolve the borrower of any remaining debt, for
             both senior and junior liens. Franklin Credit Management Corporation reserves the right to pursue the
             deficiency balance on behalf of its client w here state law allows.

                 In order to be eligible you must no longer be able to maintain the mortgage payments, and you mu't
                 demonstrate that the current property value is below your current indebtedness. Ihe lender may ask
                 you to complete a financial questionnaire twhich may require a hardohip letter) in order to evaluate
                 your ability u> pay the debt I he property must have been listed with a real estate agent. You must
                 also ha ve a buyer willing to purchase the property ft* the current fair market value. You must
                 provide a Real Estate Purchase Agreement {with no contingencies). Estimated Settlement Statement
                 and Listing Agreement to the servicer for rev iew. If requested, you must allow the lender ^erv icer
                 access to appraise'value your property.

             •           Settlement - This option allows you to avoid foreclosure by settling the debt for less than the
             total amount owed on the account (subject to agreement by your sen icer lender), and ah** resulting in the
             release of the serv icer lender's lien on your home.

                     Eligibility Requirements include your inability to pay the debt. You may be retired to complete
                     a financial questionnaire (which may require a hardship letter), provide proof of income, a copy
                     of your financials, a pay off letter from the any other mortgages on the poverty, and may need to
                     provide other documents roquined u* establish your eligibility. All settlement agreements are also
                     subject to client approval,

            \ ou must take the first step by contacting us, at 1-800-650-7162. Monday through Friday. 8:00am -
            5:00pm FT. You may also write to us at 101 Hudson Street. 24,h Floor. Jersey City. \J 07302 or
            email us at (iiHUnient\aJranUim rcdit.mtn . Be sure-luinclude-vour-name-amHrnnrnunihf r in vnur~~
            TOTrespondence.                                   ___________________________________ _________

            Please he adv iscd that this letter does not constitute a commitment to approve any workout plan.




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 W CFPB 45 DAY      Rev. 07 2021
 Page 5 of 5
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USCA11 Case: 24-13671
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                                   Document: 10
                                          V*
                                                    Date Filed: 11/29/2024
                                                                        Exh.Page: 120 of 178
                                                                             W Page       1


   Sent Via First-Class Mat**

   1 I/17/2021

   LEROY A WILLIAMS
   15020 S RIVER DR
   MIAMI, FL 33167-1035

   Loan Number:              0001920274
   Property Address:         15020 S RIVER DR
                             MIAMI. FL 33167-1035

   Dear LEROY A WILLIAMS:

   To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
   case, this notice is for informational purposes only and does not constitute a demand for payment or an
   attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
   prov ide us with the attorney's name, address, and telephone number.

   This is a legally required notice. Wc arc sending this notice to you because you are behind on your mortgage
   payment. Wc want to notify you of possible ways to avoid losing your home. We have a right to invoke
   foreclosure based on the terms of your mortgage contract. Please read this letter carefully.

   Your payment to Franklin Credit Management Corporation, the Servicer of the above-referenced loan acting on
   behalf of Wilmington Savings Fund Society. FSB. not in its individual capacity but solely as Certificate
   Trustee of Bosco Credit 11 Trust Series 2010-1, is currently delinquent. If you are unable to bring vour account
   current, Franklin Credit Management Corporation offers loss mitigation programs designed to help resolve
   delinquencies and avoid foreclosure. These services are provided without cost to our customers.

   Call us today to learn more about your options and instructions for how to apply.

   David Bchlcr
   101 HUDSON STREET, 24TH FLOOR
   JERSEY CITY. NJ 07302
   201-604-4503
   Monday through Friday 8:00 AM - 5:00 PM ET

   For more information, v isit vvww.franklincrcdit.com or email us at Documcnis@franklincredit.com.

   If you need help, enclosed arc application instructions and a ItsToT loss mitigation programs for which you may
   be eligible (most are subject ro lender approval).

   Franklin Credit Management Corporation is a debt collector, this is an attempt to collect a debt and any
   information obtained will be used for that purpose.

   Unless you notify us within thirty (30) days after receiving this notice that von dispute the validity of this
   debt or anv portion thereof, we will assume this debt is valid. If you notify us in writing within thirty (30)
   days from receiving this notice that you dispute the validity of this debt or any portion thereof, we will
   obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or


   \V_CFPB_45DAY           Rev. 07/2021
   Page I of 5                                                                                          23L55bSSMS
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 USCA11 Case: 24-13671      Document: 10                 Date Filed: 11/29/2024   Page: 121 of 178




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                         Wets Fargo - Banking. Credit Cards. Loans,
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     USCA11 Case: 24-13671                          Document: 10             Date Filed: 11/29/2024                     Page: 122 of 178
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                                                Miarri-Dade County Clerk - Civil / Probate Justice System - Doctet Information

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                                  Civil / Probate Justice System - Docket Information
 BACK TO SEARCH RESULTS                                                 ALL PARTIES                                                 START A NEW SEARCH




                                                                                                                                                          1
 A                                                    US BANK (NA) vs WILLIAMS, LEROY
                                   * Click on BOOK/PAGE of a particular docket to see the Image if it is available *


           Case Number (LOCAL): 2007-12407-CA-01       Dockets Retrieved: 48                                              Filing Date: 04/26/2007
           Case Number (STATE): 13-2007-CA-012407-0000-01                                                            Judicial Section: 32
      Date        Book/Page                    Docket Entry                                                      Comments
                                             LETTER OF
  04/07/2011                                                                                             FROM MACK L WELLS
                                          CORRESPONDENCE
                                        NO FURTHER JUDICIAL                      ORDER FILED IN CASE # 00-8186 CA01 AND IN SHARE
  11/04/2010
                                              ACTION                                                 DRIVE
  10/14/2010                                        MOTION:                         TO VACATE LAST ORDER & RETAIN ORIG.ORDER
                                          MOTION TO VACATE
  09/28/2010
                                              DISMISSAL
 08/06/2010                                          TEXT                                  RETD ORIGINAL NOTE AND MORTGAGE.
                  27343 / 949                                                         BK:27343 PG:0949 VACATING, DISMISSING,Ctt.
 06/25/2010          Pages: 3
                                             COURT ORDER
                                                                                          SALE,RELEASE LIS PENDENS, ETC..
                                                                                    ATY:00071675 R: 5058 TO DISMISS CASE,CANCEL
 06/20/2010                                         MOTION:
                                                                                              FORECLOSURE SALE,ETC.
                                          FINAL DISPOSITION
 06/18/2010
                                             DOCUMENT

 04/07/2010 27244 / 4193                     COURT ORDER                                        BK:27244 PG:4193 OF DISMISSAL
                     Pages 1
                 .. -                                            W7+K ,             /DISMISS FOR LACK OF PROSECUTION WITKp-
 04/07/2009 J^t'ZAbeL                                            ?*'>”**■           W.,            PREJnn.rr
 09/09/2008                                    OBJECTION:                          TO WRITTEN DISCOVERY^MTN TO STRIKE OR,..ETC
                                                                                                                                                           zM
 09/09/2008                                         NOTICE:                      THAT PLTFF HAS RESPONDED TO DEFENDANT,..ETC
                                            LETTER OF                                 FROM MACK WELLS TO DISMISS FR LACK OF
 08/15/2008
                                         CORRESPONDENCE                          -------------- ------------- PROSECUTION
                                            LETTER OF                                FROM MACK WELLS TO DISMISS FOR LACK OF
 08/15/2008
                                         CORRESPONDENCE                                          PROSECUTION

 09/17/2007 25944 / 542                      COURT ORDER                         BK:25944 PG:0542 CANCELING FORECLOSURE SALE
                     Pages 2
 09/14/2007                           PROOF OF PUBLICATION                                                      PUB DATE .
 09/14/2007                           PROOF OF PUBLICATION                                              PUB DATE :08/31/2007
 09/12/2007                                         MOTION:                                    TO CANCEL FORECLOSURE SALE
                                                                                      ATY:88888888 R: 145184 SET ASIDE FJUD AND
 09/10/2007                                         MOTION:
                                                                                                  RECONSIDER STAY

hl^»^AM(wv2.miarri-dadede<1tconVd\il/Search.aspB(                                                                                                        1/2
       USCA11 Case: 24-13671         Document: 10               Date Filed: 11/29/2024                   Page: 123 of 178
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    3/7/2014   »                     Miami-Dade County Clerk- Civil / Probate Justice System - 0octet Information
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                                                                                                                                 f
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                                                                                                                                          Ll
     09/10/2007                           TEXT                                            $50 FEE PD/RCPT 145184
  » 08/30/2007                    NOTICE OF SALE
                                                                       WRITTEN REQUEST, DISPUT VALIDITY OF ALLEGED
     08/24/2007                           TEXT
                                                                                          LOAN
                               CERTIFICATE OF MAILING
     08/14/2007
                                  FINAL JUDGMENT
     08/13/2007                   NOTICE OF FILING:                          ORIGINAL MORTGAGE AND ORIGINAL NOTE
    08/13/2007                    NOTICE OF FILING:                          AFFIDAVIT OF AMOUNTS DUE AND OWING
    f)8/13/2007                           TEXT                                           FINAL DISPOSITION FORM
     08/13/2007                           TEXT                                              SALE DATE 09-14-2007

     08/09/2007 25872 / 4163      FINAL JUDGMENT                     J $ 491500.11 BK:25872 PG:4163 DN01 DN02 DN03 DN04
                   Pages 6

     07/26/2007                        DEFAULT                                                           DN03
                               NOTICE OF DEFAULT NOT
     07/26/2007                                                                                    DN01 DN02 E
                                      ENTERED
     07/19/2007                 NOTICE OF HEARING-                                     MOTIONS 08/09/2007 10:00 AM
     07/19/2007                 MOTION FOR DEFAULT
                               MOTION FOR SUMMARY
     07/19/2007
                                    JUDGMENT
    07/19/2007                 NON-MILITARY AFFIDAVIT
     06/12/2007                 SERVICE RETURNED                                    BADGE # 1552 P 05/23/2007 DN02
    06/12/2007                  SERVICE RETURNED                                    BADGE # 1552 P 05/12/2007 DN01
                                                                         SUMMONS RTD NON-SERVED UNK SPOUSE OF
    06/12/2007                            TEXT
                                                                                       whjl;ams
    06/12/2007                  SERVICE RETURNED                                     BADGE # 118 P 05/02/2007 DN03
    06/12/2007                           TEXT                                        SERVICE RTD SERVED TENANT
    06/12/2007                           TEXT                                        SERVICE RTD SERVED TENANT
    06/12/2007                  SERVICE RETURNED                                    BADGE # 1300 P 05/01/2007 DN04
    06/06/2007                           TEXT                       OPPOS.TO PLNFS M ORT. FORE CLOSURE COMPLT ETC.
    06/06/2007                           TEXT                         WRITTEN REQU.FORMAL PROTEST,&DISPUTE ETC.
    05/23/2007                        ANSWER                                            ATTORNE Y:00314021 DN04
    04/30/2007 25576 / 1873        LIS PENDENS                                                 BK:25576 PG.1873
                   Pages 1
    04/26/2007                      COMPLAINT
    04/26/2007                      CIVIL COVER
-----04/26/2007                  SUM MONS ISSUED                                           DN01 DN02 DN03 DN04
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   BACK TO SEARCH RESULTS                                  ALL PARTIES                                               START A NEW SEARCH

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                USCA11 Case: 24-13671                        Document: 10               Date Filed: 11/29/2024     Page: 124 of 178
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       U.S. Bancorp
       Article Talk

            Language                                                                                                          'CX Watch    / Ed t

          VS fio.n* * frd'-ccfs here For ethef us* 8, c« £jrl o? * 10 o   j 1 ’^'cr

       U.S. Bancorp (stylized as us bancorp) is an American ber* ho d ng cc'npc*', based in s/"'reopc s V "nesota, and incorporated in
       Delaware. * It is the parent company of U.S. Bank National Association, and is the fifth largest banking institution in the Un ted States.
       The company provides banking, investment, mortgage, trust, and payment services products to ;ndiV(dua!s, businesses, governmental
       entities, and other financial institutions. It has 3,106 branches and 4,842 outerratea :c cr mach tcg, pnmanly .n the Western and
       Midwestern United States. *' It is ranked 117th on the Fcrurd 500,f and it is considered a c/s-.cmccl y r; porter*. oonk by the Francs'
       Stability Boaro, The company also owns Elavon, a processor of credit card transactions tor merchants, and Elan Financial Services, a
   credit card issuer that issues credit card products on behalf of small credit unions and banks across the U.S.-'

       U.S. Bancorp operates under the second-oldest continuous national charter, originally
   Charter #24, granted in 1863 following the passage of the None he! Bank Act. Earlier                                 U.S. Bancorp
   charters have expired as banks were closed or acquired, raising U.S. Bank's charter
   number from #24 to #2. The oldest national charter, originally granted to the F rst                          [T^bancorp
   National Bank of Ph adeiohia, is held by Weils Fargo, which was obtained upon its
   merger with Wachovia. 8 /


        := Contents
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                                   *       i   /        w                       , \     > AT .
                                                                                              ! •'

                                                   /A
   ^ History                       V   '




   The U.S. Bank name frst appeared as United States National Bank of Portland,
   established in Portland, Oregon, in 1891 1 In 1902, it merged with Ainsworth National
   Bank of Portland, but kept the U.S. National Bonk name.                   it changed its name to the
                                                               jl


   The central port of the franchise dstes from 1864, with the formation ol First National
   Bank of Minneapolis. 1 In 1929, that bank merged with First National Bank of St. Paul
   (also formed in 1864) and several smaller Upper M dwest banks to form the First Bank
USCA11 Case: 24-13671      Document: 10                         Date Filed: 11/29/2024                    Page: 125 of 178



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                  Wachovia apologizes to black
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                          Economic Trends to Watch in 2022 t
                          JPMorgan Chase
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        USCA11 Case: 24-13671 Document: 10 Date Filed: 11/29/2024                       Page: 128 of 178


                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
                              MIAMI DADE COUNTY FLORIDA CIVIL ACTION


        -   MACK WELLS
            Plaintiff
                                                               Case No. 201Q-61928-CA01
            v.                                                                                                         •**   i
                                                                                                                                 /a
                                                                                                                                  ;
            U. S. BANK NA. AS TRUSTEE FOR                                                     .         %       r=
            RASC 2005AHL3                                                                                       rn
                                                                                                        cO        -n
            Defendants,                                                                           i •             o
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                          MOTION AND AFFIDAVIT FOR RELIEF. RECUSAL. VACATION OF
                                   ORDERS AND MEMORANDUM OF LAW


        Pursuant to Florida Stat. 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
        Plaintiff Mack wells hereby files this Motion for Relief & Recusal and Supporting Memorandum regarding
        the Dec. 19 2017 Judge John Schlesinger* review of the record and Final Judgement Order, Exhibit. J. based on
        the following facts, new Information, just terms, judicial misconduct, fraudulent grounds and discovered
        conflict of personal investment interests on Financial Disclosures of Judges and officers ofthis Court (Exhibits
        #B) Attached-U.S. Bank NA. Special Situation Property Funds Account Pace 42. IFRS 2018 Tables 9-13.
        SEC Filings-US Bank Florida Subsidiaries, Judge Schlesinger Financial Interests & Property Disclosures).
                                                      \
                                                      ■*<>.




        Florida Rule 2.160 (Hi Savs A Judee mav Vacate his orders for Conflict ofInterest Theodore R. Bundv V.
        Judee John A. Rudd FL Rule 2.160 (D) (11FL Code Jud. Conduct. Canon 3E(fl A Judse sffall
        himself where impartiality mwhi reasonably be questioned Rule 2.160 (HI (11 grounds to disqualify is
        party fears Judge is Biased FL Statue 112312(81 Judge can V have a conflict ofInterest!

         Judge Schlesinger must Recuse himself for an open obvious Conflict of Interest because he’s doing
        business with US Bank and helping them to make money so that he can make money by foreclosing
        and taking (stealing) our property while acting as the Judge on the case on our property, not on case’s
        Merits but for to make him and them money Illegally. Here’s proof. US BANK is US BANCORP,
        Exhibit,A. And US BANCORP is Morgan Stanley, Exhibit B1 and B2, and Morgan Stanley is Morgan
        Stanley Brokerage, Exhibit H. Judge John Schlesinger is doing business with US Bank (Morgan
  USCA11 Case: 24-13671            Document: 10        Date Filed: 11/29/2024         Page: 129 of 178
Stanley) as seen in his FORM 6 page, 3.line,6. From Tallahassee called FULL AND PUBLIC
DISCLOSURE OF FINANCIAL Exhibit, C. Which is a major Conflict of Interest. Judge John
Schlesinger is worth 5.8 Million (Investigated) with Zero debt Schlesinger has done business with
MERS Exhibit, N. as seen on the public record Exhibit, F. Who is the Entity that is the entity who
assigned our Mortgage to US BANK, Exhibit, G. Judge Schlesinger has ruled in favor of US Bank
And That is a major Conflict of Interest as I said Judge Schlesinger is also doing business with
Morgan Stanley, Exhibit, L and B. Who is the same as JP MORGAN Exhibit, D. Who is doing
business and is apart of Chase Manhattan Bank, Exhibit. M. that Judge Schlesinger was doing business
with and got his properties from, Exhibit.L. Judge Schlesinger is doing business with all of the entities
that he's Judging on against us and there's more. I have found that our case was directed to him in this
Pool who all do business with US Bank MERS and others.


                                       FACTUAL BACKGROUND


    1. On Dec. 19,2017, Defendant Judge John Schlesinger issued a final Judgnol crier Exhibit.A against
    Plaintiff Mack Wells for amounts due and owing on same mortgage that was dismissed with
    Prejudice in former case no: 07-12407CA01 where U.S. Bank could never produce the
    promissory Note though they were asked by the Judge several times but never did bring it forth,
    Exhibit I. A judge cannot change another Judge's ORDER!
   2. And also on Dec. 19,2017, Judge John Schlesinger issued the final order Judgement order acting as
   a quasi-defense attorney for US Bank his personal investment Partner to make money together.
   3. Plaintiff Mack Wells has now subsequently provided the United States Department of Justice
   (DOJ) on specific newly discovered whistle blower information and records regarding millions of
   dollars in exposed fraudulent foreclosure claims made by the Defendants U.S. Bank, Clerks and
   Court officers in this action. Exhibit, O.



                                        MEMORANDUM OF LAW


        The Defedants maintains timely Constitutional due process civil rights for Florida Rule
   2.160 (H) and Federal Rule 60 Relief to close this case with the original Dismissal with
   Prejudice in our Defendants favor with requirement of Judge Schlesinger* s Recusal based on
   exposed financial conflicts of interests Fla. Stat.112.312 (8V9).

    Rule 2.160 (H) and FRCP Rule 60, relieffiom .Judgment Or Order, and to vacate Order .
USCA11 Case: 24-13671                                      Document: 10                Date Filed: 11/29/2024                     Page: 130 of 178
     Their is to be no conflict of interest with the Judge and the Plaintiffagainst DEFENDANTS.
     LIKE


     (1) mistake, inadvertence, surf>me( or excusable neglect;

     (2) newly discovered evidence that with reasonable diligence, could not have been discovered in
     time to movefor a hew trial wider Rule 5?(b}i


     3. Fraud whether previously called intrinsic or extrinsic, misrepresentation or misconduct by an
       Opposing party


                    A Judge is expected to Recuse himself pursuant to 28 U.S, C. § 455 Under § 455(a),
     Recusal is mandatory in “any proceeding in which his impartiality might reasonably be
     questioned.'1 Under § 455(b), a judge is expected to disqualify himself whenever any of the five
     statutorily prescribed criteria can be shown to exist in fact; even if no motion or affidavit seeking
     such relief has been filed, and regardless of whether a reasonable person would question the
 judge's impartiality.
                Section 455(b) he shall also disqualify himself in the following circumstancess.

 (4): He knows that he, individually or as afiduciary, or his spousedrminorchild residing in his
 household, has a financial interest in the subject matter in controversy or in a party to the
 •     *   ..   *         •****"*■   *   ’*.**   *.**   ******   *    *.**   •**   *    *   *   •   **   *   **   ******   •*   ***   ***   '**   *   *   *   ***•   ,




 proceeding, or any other interest that could he sithstah/idliy affected by the outcome ofthe
 proceedings

     (d)(4) ‘finmcial itueresf' means ownership ofa legal or eqttitafde Merest, however small



                                                                     CONCLUSION

            This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
     >ased on new :                                                                                                                                       i, fraud,
 misconduct, and discovered evidence unknown at the time of the original Complaint filing
 Plaintiff could not reasonably know the financial dealings with Defendants of a yet to be
 assigned judge before the original Complaint filing As previously displayed by his Dismissal
 Order, due to cited improper financial conflicts of interest, Judge Schlesinger was incapable of
 impartially and without animus against Pro-Se Plaintiff or to exercise unbiased judicial duties
 required for due process justice in this case.

                Judge Schlesinger has creditor loan history and business with Defendant U.S. Bank N.A.
 USCA11 Case: 24-13671           Document: 10        Date Filed: 11/29/2024       Page: 131 of 178
   MERS and JPMorgan that caused preferential Quid Pro Quo treatment by his .sua sponte review
   and Final Judgment Order. Judge Schlesinger has significant exposed investor financial interests
   in the subject matter in controversy and with Defendants U S. Bank N.A. that will be
   substantially negatively affected     by the outcome of that proceedings when the Plaintiff
   “ultimately prevails and promotes in paid for adds in the media. Because people can't win when
   the Judge is on the side of the Banksters to steal property and money off their Prey!

        Example of Judges who already recused themselves from US Bank
1. JUDGE DARRIN P. GAYLES Exhibit, P.
2. THOMAS WILLIAMS Exhibit, Q.



                                     REQUIRED RELIEF


         Pursuant to Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the
   Dec.19, 2017 Final jud        t Order fBxhibit J. based upon the stated facts, just terms, cited
   misconduct, Rule 60 grounds and newly discovered banking real estate fraud by court officers.
         Said Reopening Relief would require the vacating of his order and Recusal of Judge
   Schlesinger from this and any future related U.S. Bank NA.banking real estate cases in this
   District The Dismissal Order Relief also requires that ail parties be reinstated to their prior
   positions in this action (Dismissal with Prejudice) requiring Clerk issuance of Summons upon the
   Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
   and reasons stated herein filed
                                                    &


                                                         #4
                                                            MACK WELLS
                                                         15020 S. RIVER DR.
                                                          MIAMI, FLA. 33167

                                     CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on 12th day of Feb., 2020 a true and correct copy of the
   foregoing was provided via this Court’s electronic filing system to the attorneys of record



                                                        MACK WELL!
                                                      15020 SOUTH RIVER DR.
                                                        MIAMI, FLA. 332167
USCA11 Case: 24-13671   Document: 10     Date Filed: 11/29/2024   Page: 132 of 178




                        AFFIDAVIT


     IMACKWELLS SWEAR THAT THIS IS A MOTION AND
     AFFIDAVIT FOR RELIEF, RECUSAL, VACATION OF ORDERS
    AND MEMORANDUM OF LAW AND I AM A WITINESS THESE
    EXHIBITS A, B1, B2, C, D, F, G, H, J, K, L, M, N, O, P, Q, ARE ALL
    TRUE COPYS OF EXHIBITS AND YOUR MOTION FOR
    RECUSAL OF JUDGE JOHN SCHLESINGER



                         SIGNED.
                                       MACK WELLS
                                       15020 S. RIVER DR.
                                       MIAMI, FL. 33167




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                 About U.S. Bank                    ------------ ------- _____
                 US* Bancorp (NYSE: USB) is the parent company of U.S. Baw>
                  one of the largest commercial banks in the United States, and its
                  subsWiffr^ttU S. Bank Wealth Management and US, Bancorp
                 4rff&finSrS&, Inc..The company operates mom than 3,000
                  barring offices and nearly 5,000 ATMs, and provides a
                  comprehensive line of banking, brokerage, insurance, investment,
                  mortgage, bust add payment-services products to consumers,
                 •businesses and ins wmy&.


                   Investment products and services are:

                   Net a Deposit • Not FDIC Insured * May Lose Value •
                   Not Bank Guaranteed * Not Insured by any Federal
                   Government Agency

                 Peru* Bank:
                 tSt Equal Housing tender. Credit products are offered by U S, 8ank hiationat
                 Assoctetky ahdsutyect to normal credit approval. Deposit product* offered by
                 U S Bank National Association. Member FOlC. LeamMore

                 U.S. Baok fenot respondbJefor and does no* guarantee the products, services
                 or performance of U.S Bancorp Investments
                 Fpr UA Bancorp investments:
                 Investment products and aervioes are available through U.S. Bancorp
                 investment*, the marketing name tor U.S. Bancorp Investments, Inc., member
                 ffNfiA and SiPG. an investment adviserand a brokerage subsidiary of U.S.
                 Bancorp and affiliate of tj&.Bank,




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USCA11 Case: 24-13671        Document: 10    Date Filed: 11/29/2024      Page: 134 of 178
                             ■ mitchellmessenciet com                                       Sf
               Chase &Co>. raised their price objective
               on shares of US. Bancorp from $55.50to
               $58.00 and gave the company a “neutral"
               rating in a research note on Monday,
               November 4th. Citigroup lowered shares
                    ,   *t       - ^-------------—-- -------------- --

              rof U.S. Bancorp from a"neutral" rating to
               a “sell” rating and decreased their price
               target forthe stock from $54.00to
              S49.00in a research report on Tuesday
              October 8th. MorganStanleVrestated a
              ‘WtTrratingand issued aSOSTJOTjnce-^
               target (up previously from $6100) on
               shares of US. Bancorp in a research
               report on Monday, November 18th.
               Credit Suisse Group restated a “hold"
               rating and issued a $55.00 price target on
               shares of US, Bancorp in a research
               report on Thursday. September 12th.___
               Finali^UBSGrmipinted^theirprice
               target on shares of US. Bancorp from
               $56.00to $58.00 and gave the stock a
               “neutral* rating in a research report on
               Monday, October 21st. Four investment
               analysts have i fled llieumk with a sell
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USCA11 Case: 24-13671   Document: 10    Date Filed: 11/29/2024   Page: 135 of 178   I
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             principal amount of 3,200% senior notes due 2029.
             In addition, Equinix completed a concurrent tender -
             offer for any and aU of its outstanding 5.375% senior
             notes due 2022.5.375% senior notes due 2023. and
             5.750% senior notes due 2025. which were paid for
             with the proceeds from the senior notes offering.
         /''''IsSSnran Sachs & Co. L1C, BofASecuriSes, Inc.,
           Citigroup Global Marinis Inc., J.P. Morgan Securities
           LLC, Barclays Capital Inc.. Morgan Stanley & CO. tc'
           LLC, MUFG Securities Americas Inc., RftC Capital
           Markets, LLC, SMBC Nikko Securities America, foe.,
           TO Securities (USA) LLC, Deutsche Bank Securities
           inc., ING Financial Markets LLC, BNP Paribas
           Securities Corp., HSBC Securities (USA) Inc., Mizuho
           Securities USA LLC, WeBs Fargo SecurWes, LLC.
           PNC Capital Markets LLC, Scotia Capital (USA) Inc.,
        v^and U.S. Bancorp Investments, Inc. ars all the
         \ underxriters involved in the offering, j      ’

             Equinix, an American multinationalcompany
             headquartered In Redwood City, California, connects
             more than 9,800 companies direefly to their
             customers and partners inside the world's most
             Interconnected data centers. Today, businesses
             leverage the Equinix interconnection platform in 52
             strategic traraete across the Americas, Asia-Padfic.
             Europe, flie Middle East and Africa.
             The Davis Polk corporate team included partners
             Alan F. Denenberg (Picture) and Emily Roberto and
             associates AN DeGolia and Caiflfo Moyfes Cunnane.
             Partner Rachel D. Weinberg provided tax advice and
             associate J. Taytor Arabian provided 1940 Act advice .
             Involved fees earner: Taylor Arabian - Davis Polk &
                        AH Hk/'aIU   l*t«i iU nxIL 0         M/i*.
USCA11 Case: 24-13671                                  Document: 10       Date Filed: 11/29/2024                  Page: 136 of 178     C.
                                                                                                                   £00123.
    FORM 6                            FULL AND PUBLIC DISCLOSURE                                                                       2016
Piece# print or type your name, m#Mng
addmi, agency mm, and poattton below:
                                        OF FINANCIAL INTERESTS                                                     FOR OFFICE USE ONLY;

  LAST NAME - FIRST NAME — MIDDLE NAME:
                                                                                                                   aORlOA
SCHLESINGER                                 JOHN                      CHARLES                                COMMISSION ON ETHICS
  MAHJNG ADDRESS:
73 WEST FLAGLER STREET                                                                                           JUi 03 1117
ROOM 1202                                                                                                            RECEIVED
  CITY.                                            ZIP:         COUNTY:
MIAMI                                             FL            33130
  NAME OF AGENCY:
STATE OF FLORIDA - 11TH CIRCUIT
  NAME OF OFFICE OR POSITION HELD OR SOUGHT:                                                       PROCESSED
CIRCUIT JUDGE
  CHECK IF THIS IS A FILING 8Y A CANDIDATE                Q


                                                              PART A-NET WORTH
 Please enter the value of your net worth as of December 31. 2016 or a more current date. [Note: Net worth is not cal­
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

            My net worth as of                 June 20,               .2017             was $   28.834,751.25


                                                                PART B - ASSETS
 HOUSEHOLD GOOOS AND PERSONAL EFFECTS:
  HouaetiokJ goods and perecnal effects may be reported in a lump sum if their aggregate value exceeds 11.000. This category indudes any of the      • •...   •v

  fallowing, if nol held for Investment purposes: jewelry; collections of stamps, guns, and numismatic Kerns: art objects; household equipment and
  furnishings; clothing; other household items; and vehicles for personal use, whether owned or leased.

    The aggregate value of my household goods and personal effects (described above) is $ 260,000.00

 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
               DESCRIPTION OF ASSET (specific description la required • see Instructions p.4)                                VALUE OF ASSET
1228 Alfonso Avenue, Coral Gables, FL                                                                                    $3,700,000.00
1991 Ben Miller Road, Deep Gap, FL                                                                                          800,000 00
323 ToNgate Shoves Drive, Isiamorada, FL                                                                                  2,000,000.00
CONTINUED ON PAGE TWO

                                                              PART C - LIABILITIES
 LIABILITIES IN EXCESS OF $1,000 (See Instruction* on page 4):
                 NAME AND A00RE8S Of CREDITOR                                                                             AMOUNT OF LIABILITY
NONE -0-                                                                                                                  -0-




 JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
              NAME AND ADDRESS OF CREOfTOR                                                                                AMOUNT OF LIABILITY
NONE                                                                                                                      -0-



 CE FORM 9 • Effective January 1.2017                             (CcrrUrued on reverse ade)                                               PAGE 1
 incorporated toy reference In Rule 3+4.002(1). FAC.
USCA11 Case: 24-13671                              Document: 10                Date Filed: 11/29/2024                          Page: 137 of 178
                                                                                                                                                         4




                                                                 PART D - INCOME
  identity each separate source and amount of inoome which exceeded $1 ,000during the year, including secondary sources of inoome Or coach « compete
  copy of your 2017 federal income tax return, inducting afl W2a, achedites. and attachments. Places redact any social security or account number* before
  attaching your return*. as (he Jaw requires these documents be posted to the Commission's website.

  Q      I elect to fife a oopy of my 2017 federal income tax rehxn and all W2's, schedules, and attachments.   -
          (H you Chech (his b<n and attach a oopy of your 2017 lex return, you need not complete the remainder of Part 0.)
 PRIMARY SOURCES OP INCOME (See inatruettons on page 6):
   NAME Of SOURCE OF INCOME EXCEEDING $1 OOP                                  ADDRESS or SOURCE OF INCOME                                  AMOWT
 tircuitCourt Judge                                            State of Florida                                                    $160,68800
 Santander,LLC (rents)                                         216-218 Santander Ave                                              $63,000.00
 SECONDARY SOURCES OF INCOME (Major customers, clients, etc., of businesses owned by reporting pereon-eee Irebucboneon page 5)
         NAME OF               NAME OF MAJOR SOURCES                              ADDRESS                        PRINCIPAL BUSINESS
      BUSINESS ENTITY             OF BUSINESS’ INCOME                           OF SOURCE                        ACTIVITY OF SOURCE
 Quail Heights                           Property Rental                      P.O. Box850 MeA nee, NJ                   Property Rental
 Four Hearts                             Property rental                      P.O. Box850 McAree, NJ                    Property Rental
                                  PART E - INTERESTS IN SPECIFIED BUSINESSES | Instructions on pqc 6)
                                BUSINESS ENTITY #1                                BUSINESS ENTITY > 2                        BUSINESS ENTITY < 3
 NAME OF                  Santander,LLC                                    Quail Weights, LLC                         Fore kearts, llO
 BUSINESS ENTITY
 ADORESS OF               216 Santander Ave, Coral                         P.O. Box830 McAree, NJ                     P.O. BOX850 McAree, NJ
  BUSINESS ENTITY         o.o-i
  PRINCIPAL BUSINESS      Property Rental                                  Property Rental                            Property Rental
 ACTIVITY
 POSITION HELD            Partner                                          Partner                                    Partner
 WITH ENTITY                                                                                                      -
 I OWN MORE THAN A 5*     Yes                                              Yes                                        no
 INTEREST IN THE BUSINESS
 NATURE OF MY
 OWNERSHIP INTEREST
                          50%                                             333%                                        33.33%

                                                                PART F - TRAINING
                       For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                          Q I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                      STATE OF FLORIDA
                             OATH                                     COUNTY OF ____
  l. the parson whoso name appears at (he                             Sworn to (or affirmed) and subscribed before ms this      ■LSHWof
  beginning of lhi» tom*, do depose on oatti or affirmation
  and say that the information disclosed on this term
  and any attachments hereto is true, accurate,
                                                                     (Signafors of Notary Public-Stale»of Fion*)/f]             Raton A “Tlitoe ufrMn
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  and complete.
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                                                                      (Print. Type, or Stamp Commissioned
                                                                     Personalty Known                   OR Produced identification

  SIGNATURE OF                                                       Type of Identifcabon Produced

 If a certified puwc accountant licensed under Chapter 473. or attorney in good standing with the Florida Bar prepared th» form for you. ha or
 she must complete the following statement:
  __________________________________________ . prepared the CE Form S in accordance with Art. II, Sec. 8, Florida Constitution.
 Section 1123144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief;the disclosure herein is true
 and correct



                         Signature                                                                                       Date
 Pneparstioa of this form by a CPA or attorney does eot relieve the ter of the responsibility to sign the form under oath.

       IF ANY OF FARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE □
 C€ FORM 6 - Efhethtt January 1. 2018                                                                                                              PAGES
 tnoMporatad by rWwanca in Rut* 344.002(1). FAC.
    USCA11 Case: 24-13671      Document: 10   Date Filed: 11/29/2024   Page: 138 of 178

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                                                            $38,000.00
          2008 Boston Whaler
                                                            $70,000.00
          2015 Boston Whaler

                                                             $29,881,734.10
          TOTAL ASSETS:


                                                                         ♦
USCA11 Case: 24-13671                                 Document: 10             Date Filed: 11/29/2024                      Page: 139 of 178


                                                                     PART D-INCOME
  identify each separate source and amount of income which exceeded $1,000 during the year, including secondary sources of income. Or attach a complete
  copy of your 2010 federal income tax return, including all W2s. schedules, and attachments. Please redact any social security or account numbers before
  attaching your return*, as the law requires these documents be posted to the Commission's website.

  □       I diea to fee a oopy of my 2010 federal income tax return and al W2’J. schedules, and attachments,
          [if you check this box and attach a oopy of your 2016 tax return, you need not complete me remainder of Part D.J

  PRIMARY SOURCES OP INCOME (See Instruction* on page S):
    NAME Of SOURCE Of INCOME EXCEEDING $1.000                                    ADDRESS OF SOURCE OP INCOME                                   AMOUNT
 Circuit Court Judge                                                State of Florida                                                 $146,080.00
 Santander                                                          216*218 Santander Avenue, Coral Gables. FL                             72,000.00

  SECONDARY SOURCES OF INCOME (Major customers, clients, etc., of businesses owned by reporting person-see instructions on page 5):
             NAME OF            NAME OF MAJOR SOURCES                              ADDRESS                           PRINCIPAL BUSINESS
         BUSINESS ENTITY           Of BUSINESS' INCOME                            OF SOURCE                         ACTIVITY OF SOURCE
 Quail Heights             Quail Property Rentals                    PO Box 850 McAfee, NJ                 Property Rentals
 Force Hearts                              Fore Hearts Property Rentals           P.O. Box 850. McAfee. NJ                 Property Rentals

                                    PART E - INTERESTS IN SPECIFIED BUSINESSES | lost ructions oa page 6}
                                               BUSINESS ENTITY #1                       BUSINESS ENTITY » 2                  BUSINESS ENTITY#3
  NAME OF                              Santander, LLC
  BUSINESS ENTITY                                                             Fore Hearts, LLC                           Quad Heights

  BUSMESS £N T17Y          216-218 Santander Ava.. Coral Gabte*, FL P.O. Box 850 McAfee. NJ P.O. Box 850 McAfee, NJ
  PRINCIPAL BUSINESS       Property Rentals                         Property Rentals
  ACTIVITY                                                                                  Properly Rentals
  POSITION HELD            Partner                                  Partner                 Partner
  WITH ENTITY
  I OWN MORE THAN A 5%
  INTEREST IN THE BUSINESS Yes                                      Yes                     Yes
  NATURE OF MY             50%
  OWNERSHIP INTEREST                                                33.33%                  33.33%

                                                           PART F- TRAINING
                        For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                           □ i CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                         STATE OF FLORIDA
                               OATH                                      COUNTY OF ____
  I. the person whose name appears at the
  beginning of this form, do depose on oath or affirmation
                                                                         Sworn to (or affirmed) end subscribed before me this      2l        day of
                                                                                                     oJlby
  and say that the information disclosed on INs form
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  and any attachments fwpjp is true, accurate,
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                                                                                                           of Florida)
  and complete.                                                                                                awe***™
                                                                                 MArAd LotvdflM)____________ •efefUe fees May Itnri a
                                                                         (Print Type,         ip Commissioned Name of Notary Public)
                                                       John Schlcsinger
                                                       Circuit CmtjmSP* Known \/                           OR    Produced Identification

         ITU RE                  ING                 OR CANDIDATE        Type of Identification Produced

 Iff          yyublic accountant liccnaed under Chapter 473. Of attorney in good standing with the Florida Bar prepared this form fix you. he or
              Ompfete the following statement
         r                                                     prepared the CE Form 6 in accordance with Art. II, Sec. 8. Florida Constitution.
         112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true
 and correct.



                           Signature                                                                                        Gate
 Preparation of thfe form by a CPA or attorney does not relieve the filer of the responsibility to sign Che form under oath.
       IF ANY OF PARTS A THROUG H E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE □
 C£ FORM «• Effective January 1.2017                                                                                                                   PAGE 2
 Incorporated by retaranea in Rule 34-8002(1 y FAC
USCA11 Case: 24-13671                          Document: 10                Date Filed: 11/29/2024                     Page: 140 of 178
                                                                                            £06133
                                                                                                                                       FLOWQA
                                                                                    PROC ESS E ppomm,sswohew
     Form 6A. Disclosure of Gifts, Expense Reimbursements or Payments, end Waivers of Fees and Charges                               AUG 01 till
    All judicial officers must file with the Florida Commission on Ethics a list of all reportable gifts, reimbursements or direc$£C£|VED
    payments of expenses, and waivers of fees or charges accepted during the preceding calendar year as provided in Canons 5D(5Wa1
    and SDfSMhl Canon 6A(3). and Canon 6B(2i of the Code of Judicial Conduct, by dale received, description (including dates,
    location, and purpose of event or activity for which expenses, fees, or charges were reimbursed, paid, or waived), source's name.

                 1                         ^                     Addles:_I                 < OLO 1^.                                              '{
    Work Teiephone^O^SMfft Judicial Office Held:                                    f^ igCoi-T’ ~~               1

    1.   Please identify all reportable gifts you received during the preceding calendar year, as required by Canons SDtSMal
    SDtSKhl. and 68(21 of die Code of Judicial Conduct

                                                   DESCRIPTION                           SOURCE                            AMOUNT
                     DATE


                                                                                   k )(Q^ Cr~-



     □ Check here if continued on separate sheet
    2.    Please identify all reportable reimbursements or direct payments of expenses, and waivers of fees or charges you received
    during the preceding calendar year, as required by Canons 6AC31 and 6B(2) of the Code of Judicial Conduct

                                                            DESCRIPTION                                              SOURCE
                 DATE                  (Include dates, location, and purpose of event or activity
                                        for which expenses, fees, or charges were reimbursed,
                                                            paid, or waived)


                                          1. if1SE

     o Check here if continued on separate sheet
    OATH
    State of F
    County
                                   <9Ctfc^£/
    u _____ /7                     the public official filing this disclosure statement, being first duly sworn, do depose on oath and say that
    the fectsre^OT                 ove statement are true, correct, and complete to the best of my knowledge and belief

    (Signatu

                                                      ^=l)
    (Signdfirrc of Officer Authorized to Administer Oaths)
                                                                                                    Notary PubOc State of Florida
                                                                                                    Hearn Perez
                                                                                                    My Commotion FF f 83SS7
    My Commission expires C^                       ° ^                                              Cnpmaianaooia
    Sworn to and subscribed before me this'
                          day of           J I of            20 ^
    3/11 (As prescribed in Canon 6).
                       USCA11 Case: 24-13671                    Document: 10   Date Filed: 11/29/2024   Page: 141 of 178

Part E Interests in Specific Businesses


   1      *'■'   ■   *' 1   i ■■■   <n   ni^—*—       ^     i   *        ■



Name of Business Entity                   Patsy 3 Leasing/Trent Boyett
Address                                   Prospect Ave Hackensack, NJ
Principal Business                        Property rental
Position Held                             Partner
I own more than 5% interest               yes
Nature of my interest                     Trent Boyett is a partner owning
                                          33% of Patsy 3,1 own 100% of
                                          Trent Boyett
                                                                                                                               \




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USCA11 Case: 24-13671           Document: 10           Date Filed: 11/29/2024       Page: 142 of 178
                                                                                            P-OOD3
                                                                                                FLORIDA
                                                          PROCESSED COMMISSION ONETHCS
                            Judicial Qualifications Commission Form 6A                        jui 03 no
                                            GIFT DISCLOSURE                                  RECEIVED
    All judicial officers must Hie with the Florida Commission on Ethics a list of all gifts received
    during the preceding calendar year of a value in excess of $100.00 as provided in Canon 5D(5J
    and Canon 6B(2) of the Code of Judicial Conduct
    Name of Judge: JUDGE JOHN CHARLES SHLESINGER                  Telephone: 305-349-7078

    Address: 73 WEST FLAGLER STREET, ROOM 1202, MIAMI, FL Position: CIRCUIT JUDGE

    Please identify all gifts you received during the preceding calendar year of a value in excess of
    $100.00, as required by Canon 5D(5) and Canon 6B(2) of the Code of Judicial Conduct

    WftRTCgoffilft                                                    Value
      NONE -0-




                                                   OATH
    StateofJEJorida, County of                     £

    i__                           i       the public official Sling this disclosure statement being
    first duly swopndo depose an oath and say that the facts set forth in the above statement are
        i, co rreptanfl complete to the best ofmy. knowledge and belief.

             ■                                  Saicslngor            (NOTARY SEAL)
    (Signature/ .Reporting Official)       Circuit C°«n: Jurige
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    (Signature oj Officer Authorized to Administer Oaths)                 * 4m# «INCONNnnitFFOMtS
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    My Commission expires
    Sworn to and subscribed before me this         day of    jonf
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USCA11 Case: 24-13671             Document: 10            Date Filed: 11/29/2024                                                       Page: 143 of 178
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                        https://www.quora.com/Whats-the-relationship-...                                                                          f.
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                        Apr 12, 2015 • Morgan Stanley was formed by JP
         I.4            Morgan’s family due to a regulation that required                                                                          >

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                        Corp and Investment banks to be separated. JP                                                                              f'4.4
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         k|             Morgan still owns part of Morgan Stanley, though
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         4              they are not major share holders. Bonus answer...
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                        Citigroup vs JP Morgan, whos bigger and bett...
          •I            Jun 14, 2019                                                                                                               Ir£
          4              _ .. .........  _ ......... ....... ...
         3              Are JP Morgan and Chase the same?                                                                                          a.
         4              May 28, 2019
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         4              Are the roots of Morgan Stanley and JPMorga...                                                                             i
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          I             Jul 06, 2015                                                                                                               Sr;.
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         3              Morgan Stanley                                                                                                             J«.
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           'i           www.morganstanley.com                                                                                                     *r •
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         'XExplore Morgan Stanley's Sustainable Investing                                                                                         k'.
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         > Summit, which gathered industry leaders to share                                                                                       vV-
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         J-ideas and insights about innovations in sustainable                                                                                    |
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                |            Chemical Bank, which acquired Chase Manhattan                                                                                                               r-
                |            and assumed that company's name. The present                                                                                                                fc-
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                I            name of company wasformed in 2000, when                                                                                                                    t
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                i            Chemical Bank, which acquired Chase Manhattan   £
                f            aid assumed that company's name, the present    r
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                I            name of company w»t formed in 2000, when Chase Kr:
                |            Manhattan Corporation merged with J.P. Morgan & &-
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                I Headquarters: New York City, Nefw York, United                                                                                                                        l.
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                f Total assets: US$2.765trillion (20191                                                                                                                                 I
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           Mai Stop: CHDLR-C-66                                                               RIMtlHMOC COUNTY* FLORIDA
           Chandler, AZ85224                                                                  LAST PME
           (800) 640-2664




           When noQnM return to:
           MARILYN LILIAN. JOHN SCHLEStNOER
           1226Albnao Awe
           Coral Oeblee,FL 33146


                                           •ATltFACTION OP MORTOAOE
           KNOW ALL MEN BY THE8C PftESBtTS: Mortgage Bearonto Rutotreltoo Sytomi, Inc, the owner and holder of
           a oertato mortgao* dead awaited by
           MARILYN MOJAM, JOHN 9CHLE8MGER
           bearing dale 06/2W003. raoaidad an 00060003 In ODUM Raaoida Book 21000. Page 1901 .
           646692 Intoeoflfeeof toe Ctaik of toe On* C**t of MiAMLOADE County State of Florida, eeeuftog a oertriln
           nole la Oia principal aum of $1 ,000,000.00 Oolera. and certain promieae and oMgaioae aal forth In aaM moifcage
           daadL man Ota property afeualad In aaM Stale and CouMy hereby acknowledge Wl payment and aaMMfon of aaM
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           COUNTY OF MAMOQPA
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USCA11 Case: 24-13671             Document: 10          Date Filed: 11/29/2024            Page: 155 of 178
  interests 1 "Rt"P Rule 6.1 Relieffiom Judgment.

  (bJGrmntdsfin Relitfffrom a Final Judgment. Order, or Prweedingi Oh motion andjitsi term#,
 the court may relieve apcirly or its; legal representative fiom a
 proceedingfprthefplowing reasons; :';f                            ■
  (1) mistake.inadvertence, surprise, or excusable neglect;

  (2) newly discovered evidence that, witk reasomhle M                  could not have been discovered in
  time to move for a hew trial wider Rule 59(b);
   3) Fraud whether previously called intrinsic or extrinsic), misrepresentation, or misconduct by
   An oppossing party


  (c) Timing and Effect of the Motion.
  (I) Amotion under rule 60 (b) must be made within a reasonable time andfor reasons (1) (2) (3)
      No more than a year after the entry of the Judgement or order or the date ofthe proceeding.

 Fed R Ctv. P. & To survive a motion to dismiss, a claim “must contain sufficientfactual matter,
 Accepted as true, "to state a claim to relief that is plausible on its face.11

       Judge is expected to recuse himself pursuant to 28 U.S, C. § 455 Under § 455(a), recusal is
  mandatory in “any proceeding in which his impartiality might reasonably be questioned.” Under
  § 455(b), a judge is expected to disqualify himself whenever any of the five statutorily
  prescribed criteria can be shown to exist in fact; even if no motion or affidavit seeking such relief
  has been filed, and regardless of whether a reasonable person would question the judge’s
  impartiality.
       Section 455(b) he shall also disqualify himself in the following circumstancess.

 (4) He knows that he, individually or as afiduciary, or his spouse or minor child residing in his
 household, has afinancial interest in the subject matter m controversy or inapariyto the
 proceeding or any Other interest that could be substantially affected by the outcome ofthe


  MTJT'Timnciat itneresDmamo^imshmofatenaloreauHahle interest, htnvever small
  (June 25. 1948. eh. 646, 62 Stat. 90H; Pub. L. 93 511 i' l, Oec 5, m4,HSStaL l609: Pub.
  <75 Sm, title II, § 214(a), (b), Nov.6,1978, 92 Slat. 2661; Pub. L. 100-702, title X § 1007, Dav.
  19, 1988, 102 Stal. 4667; Pub. L 101 650, title 111, § 321, Dec. 1, 1990, 10-IStai. 5117.)
                                        CONCLUSIONS

      This Motion for Relief and Recusal is based on wholly new facts, related whistle blower
 information, willful blindness, fraud, misconduct, and discovered evidence unknown at the time
 of the original Complaint filing Plaintiff could not reasonably know the financial dealings with
        USCA11 Case: 24-13671           Document: 10     Date Filed: 11/29/2024        Page: 156 of 178

                                                                                                          h\r
                                         (
                                                         IN THE CIRCUIT COURT CFTHE
                                                         11™ JUDICIAL CIRCUIT IN ^iND
                                                         FOR DADE COUNTY, FLOi LIDA
                                                       GENERAL JURISDICTION DI /ISION
                                                                                       CA
                                                                 CASE NO:2007-12407< i

            USBookJNA.                                    April 1,2010
                   PlatadflCs)

             Vs.
            Leroy Williams
                                                           A
                      ORDER OgJUSM SEAL WITH PREJUDICE

               Thb action Rastewd op Siedefencfaiits motion to dimiwRy lack ofigoaecttion
            Served on April llt200&Tie coot fiacte that (1) notice prescribed by tide 1.40 e)
            Was serrodon April 11,2001; (2) their w» no record activity for tteyoirpnctt ng
            Samoa ofthe foregoing not oasC?) no atayhaa bean Itaoodor approved byfliccnot
            And (4) oo party bet shown good cause why this action should remain pending.
            Amsfody*.........                                                       <. •
             IT IS ORDERED (tuft this action is Dismissed for lack of Prosecution wife Prnm&c
             DONE AND ORDERED 11 chambers, at Miami, dade county, Florida this 3 HI; ctayof
             Munch, 2010.                                                )
                                                                         in
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                                                                             COURT JUDGE


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  CC-                     py                 STATE OF FLORIDA, COUNTY OF QAC r
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                                                                                                  CFN 2004R0A2683?
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                                                                                                    RECORDED 07/26/2004 1213**01
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                                                                                                    NIAM-OAK COUNTY* FLORIDA
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      RECORDING RE0VE5TED >T t RETURN TO:

      ML B« 30014, fisw, NV WS20-9827




         Satisfaction Of Moftgaoa
      WHEREAS tha indebtedness secwMby the mortgage described Wow has bean fully paid and satisfied,
      CHASE MANHATTAN MORTGAGE CORPORATION;
      owner end hold* of tha itabt,henby dedans that tha Sin of said mortgage it forever discharged and satisfied.
      Qritfral Mortgagw: CHEMICAL RESOENTUL MORTGAGE CORPORATION
      OrieM Mntpoar. JOHN SCHLESNGER, MAfOlYNMtUAN
      RotwM in Bril Ceatty, Raritan 10f16JB5 ash*. 198420263 M BoOk 18952m Pap 3797
      Tw 10:0341180040110
      0*1* •fmw'ooK mm Aneom efnrteriR 133400000
      DATE Of SATISFACTION: 07/02W

      NOW THEREFORE, the recorder or dark of said county is haraby instructed to record ton instrument and to
      cancel rebaaa, end ditdiaroo the mortgage in accordance with the rogidotions of said state and coonty.
      OATED: 07/15/2004
      CHASE MANHATTAN MORTGAGE CORPORATION
                       RESIDENTIAL MORTGAGE CORPORATION




      State ef Nevada
      CountY of Wathoi
      On 07/15/2004, before me, tha undersigned a Notary Pubic far said County end State, personally appeared
      Jamifar WeRaca. parsoneffy known tn nw to bo tha parson that ancutad the foragoino instnimnt, »d
      acknowledged that she is Vice President of
      CHASE MANHATTAN MORTGAGE CORPORATION,
      end the! she cxocuted the foregoing instrument pursuant to a resolution of
      its board of dbectoraend that such mention was done ee tha free act end dead of
      CHASE MANHATTAN MORTGAGE CORPORATION.
                                                                                                   STEVEN R. CARSON
                                                                                                 Now* nub*. OM»rf NMH
        NoiarfstevanR Carson                                                                          LflKeMknwiNCMt
        My Commission Expires: 03-15-06                                                          Nx w«wM-&ptai ** an

      tap*** fcy: l N. Harra* fiwlt IMnaonmnt Corpcratiw. 4680 Longtoy Un Suita ML Rwa RY 88»2
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USCA11 Case: 24-13671   Document: 10   Date Filed: 11/29/2024   Page: 158 of 178


            Quora
             Are JP Morgan and Chase the                                      IA
             same?


             What are some simple steps I can take to
             protect my privacy online?
             Many people believe that they can't do anything to
             protect their privacy online, but that's not true.
             There actually are simple...


                              Continue Reading                  \




             1 Answer


                    Dan Mahoney, Executive Director at
                    JPMorgan Chase (^■-present)


             The basic answer Is yes. JPMorgan Chase Is one
             big company. Different names are used for branding
             purposes. The JP Morgan name is used for higher
             end LOB and products like investment banking, the
             largest corporate relationships and private banking
             for the wealthy. Chase is used for lower end
             products retail branch banking, business banking
             (less than $20M in sales) and commercial banking
             (annual sales less than $500M).



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                               Quora                         Sign In             O pen i r, App !


                               Are the roots of Morgan Stanley
                               and JPMorgan Chase the same
                               (i.e. JPMorgan & Co.)? What are
                               their histories?             .


                                 Ad by OuckOucKGo
                                What are some simple steps I can take to
                                protect my privacy online?
                                Many people believe that they can't do anything to
                                protect their privacy online, but that's not true.
                                There actually are simple...

                                                                  Continue Reading                   >



                                3 Answers


                                %i Shreyans Malani, studied at London
                                   School of Economics and Political
                                   Science
                                            Answered Jui ?. 2016

                                JPMorgan Chase & Co. is the parent holding
                                company of Cha $e (Commerieaf Bank) and
                                JPMorgan(investment Bank).

                                John Pierpont Morgan (J.P. Morgan) founded J.P.
                                Morgan & Co., which is the predecessor to Morgan
                                Stanley and JPMorgan Chase.
                                As a result of the Glass-Stegall Act of 1933, J.P.
                                Morgan & Co. was broken up, it spun off its
                                investment banking activities into Morgan Stanley.

                                J.P. Morgan & Co. continued to operate as a
                                commercial bank. However, in the 1990‘s it started
                                to rebuild Its investment banking operations, in—
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                                                                Continue Reading y ■

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                               RELATED QUESTIONS (MORE ANSWERS BELOW)


                               What is the history of JP Morgan Chase as
                               a merchant bank?
                               533 Views


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            amP.GriM                                                                         CFN 2008R0642394
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            RaoonTruat Company                                                                 RECORDED 08/04/2008 14102140
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            MaO Slope CHDLRfC-66                                                               IIIAltMMOC COUNTY r FLORIDA
            Chamfer. AZ 88224                                                                  LAST tm.
            (900) 6404064




            Whan (worm Mum to:
            MARILYN MUAN. JOHN 8CHLE8MGER
            1220MOMOAM
            Coral Qalfet, FL 33146


                                            SATISFACTION OP MORTGAGE

           KNOW ALL MEN BY THE8E PRESENTS: Mortpapa Baabonle RaflMrttlon Syatanw. Inc. Ota ownar and hoMar of
           a          mortpapa daad ewcutad by
           MARILYN MUAN. JOHN 8CHLC&NGER
                           00/29/2003. faoordad on 0006/2003 fe» OHeW RaoonN Book 21000. Papa 1901 , bwkumant«
                      in 0)« o>oa of Om CMik o( tha Cfadt Court of MMWOADE County Slata «T Ftortdh, aaautap a oartaki
           nola ki Ota prtnefcol an of $1 ,000.000.00 Oolara. and oartOto ponfeaa and ofcRpadona aat forth In said mortpapa
           daod. upon Ow popart? tfuafcd In saM Mala and County hamtyacknoMsdpaMpaymMt and                           ofaald
           aala and mortpapa daad. and aunsndvsd* soma as oonoatod, and hantydbacfofta Cfcrtt of Its nMCftoidl
           Court fe> eanoal dm sams of moord.

                                            IN WITNESS WHEREOF tha said Corporation haa oauaad fossa praaonla la oo
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                                            oHoara foaraunfo duly aufoofead, foo IS day of July. 2008




           ATTEST:                                                     Mortpapa Gtockonle RspMnflon System*, tee.



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           Wnfcody Robarteon


           STATE OF ARIZONA
           COUNTY OF MARICOPA
           On 07/10/2006. biters ms. Hpna T. Oawldwtai. Notary PUOOc. pamooaly appawad Polar Lopae paraonaly known
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                            Case 1:l8-cv-22211-DPG Documents Entered on FLSD Docket06/24/2019 Page8 of 8




                               Complaint - Department of Justice

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                               )) THE STATE OF ALASKA,.) 1031W. 4 th. Avenue, Ste ... 420
                               Montgomery Street Front... Virginia, end the District of Columbia by and through their
                               undersigned attorneys...


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            Case l:18-cv-22211-UU Document 8 Entered on FLSD Docket 07/01/2019 Page 1 of 1



                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                            Case No. 18-CV-22211-GAYLES
            CARL ERICKSON

                  Plaintiff,
           v.

           RALPH W. CONFREDA, JR., et al.,

                  Defendants.


                                                ORDER OF RBCUSAl

                  PURSUANT to 28 U.S.C. § 455, die undersigned Judge to whom die above-styled cause is

           assigned hereby recuses himself and refers the case to the Clerk of the Court for reassignment

                  DONE AND ORDERED in Chambers at Miami, Florida this 28th day of June, 2019.



                                                               crxJ
                                                               DARRIN P. GAYLES
                                                               UNITED STATES DK               JUDGE




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                         Case l:18-cv-22211*DPG Document 5 Entered on FL$D Docket 06/24/2019 Page 1 of 8




                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OP FLORIDA
                                                                                               Case No. 18kw-222! 1-GAYLES
                              CARL ERICKSON,
                                           Plaintiff,
                              V.

                              RALPH W. CONFREDA. JR..
                              US BANK NATIONAL
                              JP MORGAN CHASE BANK
                                                                                                 PILED BY/

                                                                                                      m 24 2015
                                                                                                                Mi            ,c.

                              CARL A. LUBETSKY
                              ALAN WASER STEIN                                                        AttHM
                              KENNETH ERIC TRENT                                                      8.0. OF FLA. - MIAMI
                              TERRANCE W. ANDERSON et aL,
                                               Defendants,

                                               • MOTIONS FOR REt.IFF A RECUSAL AND MEMORANDUM OF LAW
                                     Pursuant to Federal Rules of Civil Procedure Rule 60, Plaintiff Call Erickson hereby files
                              this Motion for Relief ft Recusal and Supporting Memorandum regarding the Ruie 26*\ 2016
                              Judge Darrin Gayles sua sponte review of the record and Dismissal Order [Document #4] based
                              on the following facts, new information, just terms, judicial misconduct, fraudulent grounds and
                               discovered conflict of personal investment interests on Financial Disclosures of Judges and
                              officer? of this Court (Exhibits Attached-JP Morgan Chase Special Situation Property Funds FRS
                              Account Page 42. FRS 2018 Tables 9-13, SEC Filings-US Bank Florida Subsidiaries. Gayles
                              Financial Interests ft Property Disclosures)
                                                                  FACTUAL BACKGROUND
                                   1. On June 4°, 2018. Plaintiff Carl Erickson filed a civil action Complaint [Document #1]
                              citing Fraud causes of action for violations of Federal tort laws, banking real estate security
                                      ***** vtaWon. .nd
                                   2. The Complaint was based upon decedent USDC related filings accepted by Don-biased
                              professional jurists that contained verbatim (!) a short and plain statement of the grounds for the
                              court’s jurisdiction: (2) a short and plain statement of the claim showing that the pleader is
                              entitled to retief, and (3) a demand for the relief sought under Fed. R. Civ P. 8.
                                   3. On June 26th 2018, Judge Gayles issued and Dismissal Order a sua spunte review of the

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USCA11 Case: 24-13671           Document: 10   Date Filed: 11/29/2024   Page: 164 of 178
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  IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
  IN AND FOR MIAMI-DADE COUNTY, FLORIDA

  CIRCUIT CIVIL DIVISION

  CASE NO. 2019-030415-CA-01
  SECTION: CA20

  JAMES BUCKMAN                                                                                                                /
       Plaintiffs),                               PER ORDER OF ADM. JUDGE V-.
  vs.                                                                                                                          i.

  LANCASTER MORTGAGE CO
      Defendants)*.
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                                       ORDER OF RECUSAL
                                                                                                                               S’
         THIS CAUSE, came before the Court sua sponte, and the Court being fully advised in                                    T.



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  the premises, it is hereby:                                                           - •: .>          Tj
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         ORDERED AND ADJUDGED                                                           fiO
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                                                                     ■:Ll*g                            ::o
         1. That the undersigned Circuit Court Judge hereby recuses ftirosfelf |g>m further
            consideration of this case.                                 ;^     „      3?
                                                                      ' j      V      o                                        V


         2. This case shall be reassigned to another section of the Circuit Civ& Division in'                                  I
            accordance with established procedures.                                                                K
                                                                                                                               }
                                                                                                                               $*
  DONE AND ORDERED in chambers, at Miami, Dade County, Florida, this 17th day of
                                                                                                                               V



  October, 2019.
                                                    ^^                  ✓

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                                                                                                                               C

                                                 William Thomas                                                    i
                                                 CIRCUIT COURT JUDG^&m f r-n n
                                                                                                                               i
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                                                                        ^Circuit Court                             ;
  Mailing Service List:
  JAMES BUCKMAN, 1977 NE 119TH RD, MIAMI, FL 33181                                                                             x
  MAURICE SYMONETTE, 4711 L J PARKWAY, UNIT 4208, SUGARLAND, TX 77479
  LANCASTER MORTGAGE CO
  ONE WEST BANK
  EMC MORTGAGE BANKERS LLC
  MORTGAGE ELECTRONIC REGISTRATION SYSTEM
  DEUTSCHE BANK NATL TR CO
  MERS
  SERVICING AGREEMENT SERIES RAST 2006 A 8
  RESIDENTIAL ASSET SECURITIZATION TR 2006 A8 +                                                                                i

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    USCA11 Case: 24-13671     Document: 10   Date Filed: 11/29/2024
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    USCA11 Case: 24-13671       Document: 10        Date Filed: 11/29/2024             Page: 166 of 178




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                             MIAMI-DADE COUNTY CLERK OF THE                                                        Contact Us         Mv Account

                             COURTS
                             HARVEY RUVIN

        CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM


           US BANK (NA) VS WILLIAMS, LEROY


                     Local Case Number:     2CC7-012407-CA-01                       Filing pate:   04/26/2007

                                *
                     State Case Number:     132007CA012407000001             Judicial Section:     CAS?


                  Consolidated Case No.:    n/a                                     Case Type:     7 DO NOT US?   Legacy Mortgage foreclosure

                           Case Status:     CLOSED




                Parties
                                                                                                                                  Total Of Parties: 5   +


           A Hearing Details
                                                                                                                                Total Of Hearings: 0    ^


           St Dockets
                                                                                                                                Total Of Dockets: 52    *•




                                                                            Event
                    Number      Oate          Book/Page    Docket Entry     Type          Comments

                     i         02/04/2022                  3ece ot.         Event         RECEIPT#:2410006 AMT PAID:S6.00 COMMENT:
                                                                                          ALLOCATION CODE QUANTITY UNIT AMOUNT 3120-COPY 4
                                                                                          $1.00 $4,00 3121-CERTIFIED 1 $2.00 $2.00 TENDER
                                                                                          TYPE:CASH TENDER AMT:$10.00 TENDER TYPEXHANGE
                                                                                          TENDER AMT:($4.00) RECEIPT 0ATE:02/04/2022
                                                                                          REGIST£R#:241 CASHIER-.DINGUIB

                                                           Cony or.         Event         OF ORDER OF DISMISSAL



                               C4/04/2014                  Tevt             Event         FINAL JUDGMENT OF
           ft
                                                                                                                                  6
                               04/07/2011                  ^etrei c‘        event         FROM MACK L WELLS
                                                           Co’-esponcpnce

                               11/04/2010                  No =ur It'p.r    Event         ORDER FILED IN CASE * 00-8186 CA01 AND IN SHARE DRIVE
                                                           Judies Action
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         USCA11 Case: 24-13671                         Document: 10             Date Filed: 11/29/2024           Page: 169 of 178
                           10/14/2010                      MCI ion:            Ever;    TO VACATE LAST ORDER & RETAIN ORIG.ORDER


                           09/28/2010                      Motion to           Event
                                                           vacate
                                                           0 smissal


                                                           Text                Event    RETD ORIGINAL NOTE AND MORTGAGE.
                           08/06/2010     ,

                                              27343 0949   Court Oroer         Ever*    B: 27343 P: 0949 VACATING, DISMISSING,CXL
                           06/25/2010
       II                                                  (Recordable)                 SALE.RELEASE LIS PENDENS, ETC..


                           06/20/2010                      Me: or.:            Ever;    ATY:00071675 TO DISMISS CASE.CANCkL FORECLOSURE
                                                                                        SALE.ETC.


                            06/18/2010                     mra D soesit on     Even
                                                           0ccjmer>t


                            04/07/2010        27244 4193   Court Order         Even:    B: 27244 P: 4193 OF DISMISSAL
        i                                                  (Recorded e I


                            04?C7/2009                     Text                Event    DISMISS FOR LACK OF PROSECUTION WITH PREJUDICE


                            09/09/2008                     Objection;          Even:    TO WRITTEN DISCOVERY.MTN TO STRIKE OR,..ETC


                            09/09/2008                     Notice-             Event    THAT PLTFF HAS RESPONDED TO DEFENDANT,..ETC
               j.
                            08M5/2008                      uetrer ol           Ever;    FROM MACK WELLS TO DISMISS FR LACK OF PROSECUTION
                                                           Correspondence


                            08/15/2008                     Letter c‘           Event    FROM MACK WELLS TO DISMISS FOR LACK OF PROSECUTION
                                                           Corresoondence


                            09/17/2007        25944.0542   Ccur: Order         Event    B: 25944 P: 0542 CANCELING FORECLOSURE SALE
        1                                       ‘          (Recordable)


                            09/14/2007                     Proof of            Ever;    PUB OATE :08/3l/2007
                                                           Publication


                            09/14/2007                     Proof of            F vent   PUB DATE :
                                                           Publication


                            09/12/2007                     Motion:             Ever;    TO CANCEL FORECLOSURE SALE

                            09/10/2007                     Motion              Event    ATY:88888888 SET ASIDE FJUO ANO RECONSIDER STAY


                            09/10/2007                     Tex:                Event    $50 FEE PD/RCPT 145184


                           08,30/2007                      Notice o* Sale      Ever;


                                    107                    Text                Event    WRITTEN REQUEST, DISPUT VAODTTYTJF“A~ttBCEO~tOAI

                           08/14/2007                      Cert ficate O*      Event
                                                           Mailing :inal                                                      4
                                                           Judgment


                           08/13/2007                      Notice of ctl:ng-   Event    AFFIDAVIT OF AMOUNTS DUE AND OWING


                            08/13/2007                     Notice of F Img     Evert    ORIGINAL MORTGAGE AND ORIGINAL NOTE


                           08/13/2007                      Text                Evert    FINAL DISPOSITION FORM



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USCA11 Case: 24-13671   Document: 10         Date Filed: 11/29/2024    Page: 170 of 178
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               American                                   based in
                                                and incorporated in
                         .    It is the parent company of U.S.
               Bank National Association, which is the 5th
                                               . The
               company provides banking, investment,
               mortgage, trust, and payment services
               products to individuals, businesses,
               governmental entities, and other financial
               institutions. It has 3,106                 and 4,842
                   . , primarily in the Midwestern
                    , and has approximately 72,400
               employees. The company also owns
               a processor of credit card transactions. U.S.
               Bancorp operates under the second-oldest
               continuous national charter, originally Charter
               #24, granted in 1863 following the passage of
               the                   . Earlier charters have
               expired as banks were closed or acquired,
               raising U.S. Bank's charter number from #24 to
              #2. The oldest national charter, originally
               granted to the         ~
                             , is held, by                  which it
               obtained upon its merger with

                                   U.S. Bancorp



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        USCA11 Case: 24-13671             Document: 10        Date Filed: 11/29/2024                &I.ZH
                                                                                           Page: 171 of 178

        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
        CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO: 2024-012330-CA-01
        SECTION: CA25
        JUDGE: Valerie R. Manno Schurr

        MACK WELLS et al
        Plaintiff(s)
        vs.

        US BANK NA et al
        Defendant(s)


                                                ORDER OF RECUSAL

               THIS CAUSE, came before the Court sua sponte, and the Court being fully advised in the
        premises, it is hereby:

               ORDERED AND ADJUDGED

              1. That the undersigned Circuit Court Judge hereby recuses herself from further consideration
                of this case.

              2. This case shall be reassigned to another section of the Circuit Civil Division in accordance
                with established procedures.


        DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 23rd dav of July.
        2024.


                                                                   2()|4-0 1 2330-CA-0'            14 1 0:30 /S




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                                                                     Hon. Valerie R. Manno Schurr
                                                                      CIRCUIT COURT JUDGE
                                                                      Electronically Signed




   Case No: 2024-012330-CA-01                                                                               Page 1 of2
     USCA11 Case: 24-13671      Document: 10     Date Filed: 11/29/2024   Page: 172 of 178




      No Further Judicial Action Required on THIS MOTION

       CLERK TO RECLOSE CASE IF POST JUDGMENT


     Electronically Served:
     maurice symonette, BigBOSS1043@yahoo.com



     Physically Served:




Case No: 2024-012330-CA-01                                                             Page 2 of 2
Case l:24-cv-23015-SC Document 23 Entered on FLSD Docket 09/23/2024 Page 1 of 1
 USCA11 Case: 24-13671       Document: 10       Date Filed: 11/29/2024   Page: 173 of 178

                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 24-23015-CV-WILLIAMS

 MACK WELLS, et a/.,

         Plaintiffs,

 v.

 U.S. BANK N.A., etal.,

         Defendants.


                   ORDER RECUSING JUDGE AND REASSIGNING CASE
       The undersigned District Judge, to whom the above-styled case has been
 assigned, recuses herself and refers the case to the Clerk of Court for reassignment
 pursuant to 28 U.S.C. § 455.

         DONE AND ORDERED in Chambers in Miami, Florida, this 23rd day of August,
 2024.



                                                   KATHLEEN M. WILLIAMS
                                                   UNITED STATES DISTRICT JUDGE


        In accordance with the Local Rules for the Southern District of Florida, providing
 for the random and equal allotment of cases, this cause is hereby reassigned to the
 calendar of United States District Judge Sheri Chappell_____________ .

       All documents for filing in this case shall carry the following case number and
 designation: 24-23015-CV-Chappell_________.

         By Order of Court this 23 day 0f September 2024.


                                                  ANGELA E. NOBLE
                                                  Court Administrator/Clerk of Court


                                          By:
                                                  Deputy Clerk
Case l:24-cv-23015-SC Document 3 Entered on FLSD Docket 08/13/2024 Page 1 of 1
 USCA11 Case: 24-13671          Document: 10       Date Filed: 11/29/2024      Page: 174 of 178
                                                                                       ExVwZH
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO,? 24-cv-23015-DPG

MACK WELLS, et al.,

               Plaintiffs,

v.

U.S. BANK N.A

               Defendants.


                                     ORDER OF RECUSAL

       PURSUANT to 28 U.S.C. § 455, the undersigned Judge to whom the above-styled cause is

assigned hereby recuses himself and refers the case to the Clerk of the Court for reassignment.

       DONE AND ORDERED in Chambers at Miami, Florida this 13th day of August, 2024.




                                                    DARRIN P. GAYLES / /
                                                    UNITED STATES DISTRICT JUDGE
Case l:24-cv-23015-SC Document 5 Entered on FLSD Docket 08/15/2024 Page 1 of 2
USCA11 Case: 24-13671         Document: 10      Date Filed: 11/29/2024      Page: 175 of 178


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 24-CV-23015-RAR

MACK WELLS, et al,

       Plaintiffs,

v.

U.S. BANK N.A., et al,

       Defendants.


                                   ORDER OF RECUSAL

       The undersigned Judge, to whom this case was assigned, hereby recuses himself and refers

this matter to the Clerk of Court for permanent reassignment in accordance with 28 U.S.C. § 455.

       DONE AND ORDERED in Miami, Florida, this 13th day of August, 2024.




                                                   RODOLFO A. RUIZ II
                                                   UNITED STATES DISTRICT JUDGE
Case l:24-cv-23015-SC Document 5 Entered on FLSD Docket 08/15/2024 Page 2 of 2
USCA11 Case: 24-13671         Document: 10       Date Filed: 11/29/2024       Page: 176 of 178
                                                                                               SA7-H
       In accordance with the Local Rules for the Southern District of Florida, providing for

the random and equal allotment of cases, this cause is hereby reassigned to the calendar of United

States District Judge Kathleen M. Williams

       Copies of this Order shall be served on all pending parties of record electronically via

CM/ECF, or via U.S. Mail to any party not authorized to receive electronically notices of filing.

All documents for filing in this case shall carry the following case number and designation:
       24-cv-23015-Williams/Goodman

       BY ORDER of the Court this        15th     day of August, 2024.



                                                    ANGELA E. NOBLE
                                                    Clerk of Court


                                                    By:

                                                      \ZoUstrLis Ktwvp'

copies provided to:
counsel of record
Clerk of Court




                                           Page 2 of 2
USCA11 Case: 24-13671                  Document: 10            Date Filed: 11/29/2024                 Page: 177 of 178




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